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  The Honorable Kiyo A. Matsumoto
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

  Dear Judge Matsumoto:

  I am writing to you to ask for leniency on behalf of Evan Greebel.

  I have known Evan for about 10 years and have always respected his legal counsel. Several years
  ago, when my firm was at a nascent stage and trying to find office space, Evan generously offered
  office space at Katten Muchin & Rosenmann. Furthermore, he offered that he was willing to
  discount his legal services and offer introductions to parties that might help us in our development.
  Evan served as one of the primary attorneys my firm used in a variety of matters relating to mergers
  and acquisitions and financings from 2013 to 2016. During this time, I got to know Evan and
  understand his commitment to his practice of law and his clients. In each instance of any legal
  engagement I provided to Evan, he provided sound and cautious legal advice.

  I also appreciated that Evan always strived to "add value" for us as a client by going above and
  beyond in his willingness to deliver high quality legal services as well as help us with our goals of
  networking with potential investors and sourcing investment opportunities. This was uncommon
  for lawyers to do and in many respects, should command a .. price premium", however, Evan was
  also attentive to our interests as a cost sensitive client. At times, even though there may have been
  an opportunity for Evan to charge significantly higher billings, he made concessions and advocated
  for our interests, even if that meant lower revenue for him. I can also recall a few instances where
  specialized expertise was required and Evan recommended that I seek the counsel of other experts
  as opposed to engaging him. I appreciated that Evan was not trying to maximize his personal
  revenue despite the fact that he had helped us greatly with respect to the office space, and had
  made numerous billing concessions already. I recall a particular transaction, where Evan was very
  thoughtful on his deal structuring advice that protected our interests and investors. In this
  transaction, Evan ultimately advised us to not proceed with the investment despite the material
  revenue opportunity it provided for him after our team discovered certain concerns in due
  diligence. Evan was very much interested in our success, and we respected that enthusiasm.

  Additionally, over the past 10 years I have consistently networked with him Evan within the middle
  market deal making community. Prior to the events at issue, I heard similar stories from my peers
  of how Evan had assisted them in various transactions. Over these years, I have come to respect
  Evan as a family man of three kids, a loving husband and supportive family member to many of
  his relatives and community. On a personal note, Evan recruited me to the Board of Directors of
  a middle market deal making association where we hold 55 events a year attracting a national
  audience of over 8,000 attendees of dealmakers from private equity, legal, accounting and other
  transaction advisors. In addition to his board responsibilities, Evan also chaired the nominations
  committee which recruited the first female president in its 60-year history. I also have attended
  numerous events for this organization where Evan served on public panels to discuss certain topics
  related to deal making in the middle market and always provided conservative commentary.
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  I would like to thank you for taking the time to read my letter. We remain 100% confident that
  your ruling will be the correct and just ruling and thank you for your commitment to our
  community through your impeccable service as a judge. I ask only that you consider all of the
  contributions Evan has made during his career and give due consideration to the progress and
  rehabilitation that has occurred.

  Cordially,




  ~::!£~
  AGI Aura LLC
  Authorized Signatory
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  The Honorable Kiyo A. Matsumoto
  United States District Judge Eastern District of New York
  225 Cadman Plaza East Brooklyn, NY 11201



  Dear Judge Matsumoto:


            First, I want to thank you for taking the time to read this letter. I recognize the case has
  concluded and your time is valuable. I have known Evan for six years since moving to Scarsdale
  with my wife, Jessica. Evan and I have two kids that that overlap in age and attend the same
  school.

           I have had the opportunity to get to know Evan, his wife Jodi and his three kids through
  school, athletic, religious, and social events in town. The most important takeaway I would like
  you understand is that Evan is a very positive contributor to our community. He has been a
  positive influence on his kids as well as others in the community. Evan is a constant face at the
  kids functions, sporting events, and religious gatherings. My son         and Evan's son
  have grown very close over the past three years. Evan is at all of              s activities, whether at
  football, basketball, or lacrosse. Evan is a staple at all their events. He is a positive role model
  for the kids, constantly pushing them with positive reinforcement. His positive and reinforcing
  attitudes has translated into very respectful and well-rounded kids.               and            are
  great kids who are kind, inclusive of others, and respectful of teachers and parents. I really
  believe the best reflection of us as parents and people is how we raise and teach our children.
  In this sense Evan and Jodi have succeeded and are clearly doing something right that a lot of us
  in the community can benefit from being around. I think my children will be become better
  people being around Greebel's children. As a parent that is highest compliment I can give
  someone.

           Again, I appreciate your time reading this letter, I hope I have been able to give you
  some insight into a side of Evan you may not have had the opportunity to see. Evan and Jodi are
  a positive influence in the community; their incredible children are glimpse into the people they
  are. We are lucky to have them as a part of our lives.



  Sincerely,




  Mark and Jessica Anfang
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April 22, 2018



The Honorable Kiyo A. Matsumoto
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

 Dear Judge Matsumoto:
 We are writing you this letter to request leniency in your sentencing of Evan Greebel in the case
 of The United States ofAmerica v. Evan Greebel. We have known Evan and his wife, Jodi, for
 over 8 years. Our children,                    , are best friends with the Greebel's kids,
             and we have become social friends over the years as our family activities overlapped.
 We were shocked the day Evan was taken into custody in 2016 and devastated upon reading the
verdict delivered by the jury during the holidays of 2018.
 We do not know the Evan Greebel portrayed in the media and vilified by the prosecution. We
know Evan as a loving husband and an engaged and attentive father. We can't remember the last
 sporting event or -Bring Your Special Person to School" day that Evan was not present for,
patiently sitting on his knees making an art project with his daughter or throwing batting practice
to his two sons. He devotes a significant amount of his time to his family and relishes in the joy
of their lives. Even with the tremendous stress associated with this trial that he has faced over the
past two years, Evan was always present with the same pleasant demeanor and gracious spirit.
Evan and Jodi have created a wonderful family and have raised their kids to be nice, respectful
young individuals. Despite the jury's verdict, we beg you to not only think about Evan at this
time of sentencing but also to take into consideration the lives of his wife, Jodi, who has had her
world turned upside down or his kids, who thus far have been shielded from the negativity of this
case and to whom losing their father for a significant amount of time would be a devastating
outcome. Please think about all the lives impacted rather the outcome for one individual.
We appreciate your consideration of our plea and hope you can find it in your heart to show
leniency in this case.


Sincerely,

Eitan and Amanda         ter
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                                                  Catherine Auerbach




                                                                                                             May 1, 2018

The Honorable Kiyo A. Matsumoto
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Dear Judge Matsumoto,

The morning I woke up and heard one of our friends had been arrested was devastating for me. I know Evan and the
way he was portrayed in the press was not the man I had come to know and truly care for. I don't understand the
nuances of the case but that is not why I am writing. I am writing to tell you that the Evan Greebel I know is a kind
man and so important to me that we named our third son the same as his oldest. What started out as a joke a few
months before he was born ended up being a lifetime impact on me and my family.

The Evan I know is funny and quick to the punchline. I adore his wife and his children and see how they adore him
back.

The Evan Greebel I know got me to go to the Capital Theatre to watch an 80s cover band when I would never have
thought of doing such a thing. The irony is that Evan had planned this evening with us to help me get over some
personal set -backs in life. When we made the plans, we had no idea what Evan would be facing when it came time
for the concert. Yet, not 5 weeks after his arrest, Jodi and Evan insisted that we still go and they focused on my
issues not theirs. The fact is that Evan is one of my husband's best friends but he and I developed our own rapport
over the years. In that time I have come to love Evan like another member of my extended family. The morning of
his arrest I cried for Jodi and their children. On the day of the verdict, I did not cry and resolved to be strong for my
friends.

I know Evan in a very different way than most. I am the wife of his friend but funnily enough over the last 10 years
I realized Evan always treated me like my own person and respected me for what I had accomplished in life. We
have discussed philosophy on how to raise our children and that is what made me fond of Evan and eventually one
of his biggest fans. Evan always respected me while other husbands treated me like another wife. Evan was even
willing to talk to me about issues I didn't always understand. He was caring and compassionate. I realize through
these events that while our families are quite close, Evan is my friend, a great friend. Nothing breaks my heart more
than thinking there could be a day apart from his children. Evan Greebel may have done something wrong but he
deserves a second chance. He deserves to be with his family. The verdict will follow him all of his life. Please don't
take that life away. Please show Evan mercy because we as a society are better than that.

Respectfully,


C
Catherine Auerbach
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                                           Jason Matthew Auerbach




                                                                                                May 1, 2018

  The Honorable Kiyo A. Matsumoto
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

   Dear Judge Matsumoto,

   Evan has been one of my closest friends for the last 10 years and I am writing to ask that you consider his
   character when he is sentenced later this year. Evan is a friend, a client (I am residential mortgage
   banker) and in fact I am proud to say he was my attorney on several matters. My love and respect for
   Evan run very deep along with my affection for Jodi,

   When I learned of Evan's arrest, I was devastated for Evan and his family. Knowing Evan as well as I do,
   the only word I can use is shock. I was on the phone with his wife within minutes expressing our support
   and our availability to help in any manner. In the over two years that this case moved forward I saw Evan
   several times a month to show him our support. My wife and I have dinner with them regularly and our
   children remained a constant presence in the family's life. I have told Evan and Jodi that our family will
   be there for them no matter what. We showed that support by attending several days of the trial and
   spoke with the family a mere few hours after the verdict. I saw Evan a few days later and make it a point
   to speak with him weekly and see him as often as possible. No matter the outcome of the sentencing, our
   family will be with his family and Evan will not be left alone by us.

   Our family and I in particular will always be there for Evan because he is a friend and someone I trust
   implicitly. I have seen Evan at some of his most intimate moments and know the man who loves his
   family and friends. Evan is honest and I have seen it both in his personal life as well as his business
   life. My bank once retained Evan and his firm to represent us on a lending transaction. When the
   borrower messed up the bill and over paid Katten, Evan advised everyone of this mistake and ensured it
   was corrected. He worked with the borrower to ensure a smooth closing. My bank was especially proud
   to work with Evan due to his honesty and forthrightness.

   As a side note, I wanted to mention something that came up during the trial, specifically the clause in the
   CEOs employment agreement about being let go if the client is convicted of a felony. In 2010, I was
   negotiating my own employment agreement when Evan referred me to one of his partners at Katten. That
   partner included the exact same clause in my employment agreement. Based on the advice I received
   from his partner, I have always believed that to be an appropriate clause. Imagine my surprise when I
   was sitting in court that day and the prosecutor claimed the clause inappropriate.

   They say you see the real character of a man on the golf course and again Evan was always a man of
   character. Many years ago I was playing in a golf tournament with Evan where our opponent was clearly
   cheating, but Evan's even keel and presence kept everyone calm. What I found about Evan was that
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   when I was around him he did the right thing for the right reason and was never once doing it for
   show. He acted the same why in private. I have spent hours with Evan discussing our children and how
   we raise them and how we deal with adversity. Evan is fiercely loyal to his family and seeing his children
   you would know what an amazing person he is. Evan has not gone a day where I have not seen countless
   friends and family surround him, Jodi and the kids - that is a testament to the man Evan has become
   within his community.

   Your honor, following his arrest, Evan has been trying to figure out the next steps in his life. While he
   will never be able to practice law again, Evan's concern for the future is not for himself but for his family.
                                   deserve to grow up with their father in their lives. Whether it is coaching
   baseball or watching a ballet recital, Evan is the rock of his family. Due to the shocking and terribly sad
   death of her brother, Jodi has had to rely on Evan in unimaginable ways.

                                                                                                  . No
   matter what work Evan did over the last 10 years, you always knew his family came first and I hope that
   you will show him the compassion this world so dearly needs to see in today's environment.

   Your Honor, I do not think Society will benefit if Evan goes to jail. In fact, I believe Society will be
   worse off if Evan is taken away from his loved ones - all of us. I hope you will show him extreme
   leniency. I know I shudder at the thought of not being able to call my friend whenever I want or being
   able to get all our families together. Evan is a good man. I hope you will consider that when you
   consider his sente e.

   Respectfull      111:1<-7
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     April 30, 2018


     The Honorable Kiyo A. Matsumoto
     United States District Judge
     Eastern District of New York
     225 Cadman Plaza East
     Brooklyn, NY 11201


     Dear Judge Matsumoto:


     We are writing to urge leniency in the sentencing of our friend, Evan Greebel. My wife
     Erin and I have known Evan since 2012 when our son            was in the same preschool
     grade as Evan and Jodi's oldest son            . Since then, our friendship with Evan,
     Jodi and the entire Greebel family has grown - especially following their move to
     Scarsdale four years ago. Over this time, Erin and I have gotten to know Evan well:
     as a welcoming friend, a devoted member of the Scarsdale community, and a "Fantasy
     Football Commissioner," among other ways. Set forth below are some additional
     thoughts describing how we know Evan.

     Welcoming friend. Erin and I don't have family in the immediate area and are often
     in Scarsdale for the holidays including Thanksgiving, Passover, Yom Kippur, etc. Evan
     welcomes us and others into his home as if we were family. It's never too short notice,
     too many people or too late - we always feel welcome in the Greebel house like we
     are family.

     Devoted member of the community. Most fathers attempt coaching their kids in Little
     League at some point but few do it with the devotion and patience that Evan
     demonstrates.       and            were on the same Little League team last Spring
     that Evan coached. Evan would lead practice every Sunday morning at Quaker Ridge
     and always introduced new drills for the kids to enjoy and learn more about the game.
     Evan would pay unique attention to all the kids on the team, focusing on their specific
     needs and how to help them improve and making them feel like they were part of the
     team.

     Fantasy Football Commissioner. For the past two years, Evan has tirelessly organized
     the Fantasy Football League for our boys and their group of friends. This is a great
     father -son bonding experience but also brings the boys closer together and is an event
     they can look forward to each year. With a group of more than twenty kids, it's not
     easy to be inclusive but Evan goes out of his way to make sure we have a draft time
     that works for as many kids as possible. These events wouldn't be the same without
     Evan's devotion and inclusive mindset.
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     These are just three examples how we have gotten to know Evan and all underscore
     some of his personal attributes. Thank you for your time and consideration and any
     leniency you can offer with respect to Evan's sentencing. Such decision will not be
     regretted based on his personal attributes.


     Sincerely,



     Matthew Bass


             _    Bet-IY2-
     Erin Bass
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      May 1,2018

      The Honorable Kiyo A. Matsumoto
      United States District Judge
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, NY 11201

      Dear Judge Matsumoto:

      I am writing to you on behalf of my friend Evan Greebel. My name is Craig Bender
      and I have known Evan for the past 25 years. It is important to me that you know
      that Evan's recent legal issues have in no way changed my opinion of him as a good
      friend, loving husband and father, and valuable member of our community. Evan
      deserves as much leniency as possible in his upcoming sentencing.

      Evan and I met at the University of Michigan where we were both members of the
      same fraternity. At the time, Evan was highly respected amongst his peers and
      volunteered much of his time as a leader and officer of our fraternity organizing
      social and charitable events. Evan still maintains many strong friendships from his
      time at Michigan.

      After Evan's time at Michigan, he went on to law school and to a successful career as
      a lawyer. Evan was known as a hard worker and a skilled tactician. His colleagues
      admired him and his work was highly valued by his clients.

      Today, Evan and I live in the same town. I see Evan and his family at social
      gatherings and at our local synagogue, where they are active members. Evan is an
      active participant in his children's lives and is a hands-on and attentive parent. His
      family is well liked in the community.

      My letter as well as the others you will receive on Evan's behalf should give you
      comfort in providing Evan the utmost leniency in his sentencing. Should you choose
      to do so, it is a decision that you will undoubtedly not regret.

      Sincerely,



      Craig Bender
Case 1:15-cr-00637-KAM Document 666-2 Filed 08/08/18 Page 16 of 149 PageID #: 21330
                                      JONATHAN & JENNIFER BENNIS




  April 27, 2018



  The Honorable Kiyo A. Matsumoto
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

  Re:        Evan Greebel


  Dear Judge Matsumoto:


  We are writing to you in support of our friend, Evan Greebel. Our families have known each other for 10
  years as members of Fairview Country Club. Over this period of time, we have socialized often with
  Evan and Jodi while watching all of our children grow up together. The Greebel's are a valued and active
  part of the Fairview community which we regard as family.


  We deeply feel that Evan is a valued and positive member of not just our community, but society in
  general. We have witnessed first-hand how Evan has prioritized his family and friends: When trying to
  schedule any social events with Evan, he is clear that his time and responsibilities with his family with
  come first. Additionally, Evan has always been warm and welcoming - frequently asking me to join in
  (whether a golf group or a family dinner together), we have always felt welcomed and included.


  Evan has always had a positive impact on everyone around him from our direct experience with him.
  For these reasons, we would like to respectfully ask for your leniency when considering Evan's sentence.
  We have seen for over a decade how Evan has positively influenced his family and his community - we
  believe that a lenient decision would not be regretted.


  Your time and consideration in this matter are truly appreciated. Thank you in advance for your
  thoughtful decision and please know that the sooner that Evan can return to his family and friends, our
  local community will greatly benefit.



  Sincere!



   0    than and Jennife Bennis
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                                                                                                                                                                                            575 Madison Avenue
                                                                                                                                                                                           New York, NY 10022
                        Dou,,crlasElhEirTiai9,11                                                                                                                      Office: 21 2.891. 7000 I Fax: 212.891.7209
                                                           R EA L ESTATE                                                                                                                        www.elliman.com




                May 1, 2018



               The Honorable Kiyo A. Matsumoto
               United States District Judge
               Eastern District of New York
               225 Cadman Plaza East
               Brooklyn, NY 11201

               Re: Mr Evan Greebel


               Dear Judge Matsumoto,

               I am delighted to write a letter in support of Mr. Evan Greebel. What started out as a business relationship in 2007 has
               become, over the years, a close personal friendship with Evan and his family.

               I would like to introduce myself to the Court. My name is Joan C Billick, I am a real estate broker in Manhattan and have
               been selling residential real estate in Manhattan for 31 years.

               I was introduced to Evan in 2007 when he became engaged to his wife Jodi. Jodi's parents had been customers of mine
               for years before that. I was asked to assist Jodi and Evan in finding and purchasing a home for them that year, and
               again a few years later after their son                was born. Over the course of their two searches, and
               the corresponding closing processes, got to know Evan quite well. At all times he was polite, professional and most
                                                                              I




               accommodating. He always deferred to my professional expertise throughout the entire process and was most
               appreciative of my assistance. Although the process of purchasing an apartment can be overwhelming and stressful,
               Evan always displayed patience and a wonderful sense of humor in order to reach his goal for his family who he
               obviously adored.

               Over the last several years, my relationship with Evan and Jodi has grown from a business relationship to a personal
               and close friendship. Evan and Jodi have a loving relationship as husband and wife and are parents to three beautiful
               children. Evan and Jodi are loving, caring and devoted parents. Having been invited to and attended numerous holiday
               and family dinners and celebrations in their home, I have always observed Evan to be completely devoted to his family.
               He is generous and always most welcoming. Evan is understandably very proud of his family and the life that he and
               Jodi have built together.

              I hope this letter, which is very supportive of Evan, will convince the Court to show Evan leniency at sentencing. In my
              opinion, a show of leniency would be appropriate and would not be regretted by the Court. I hope the Court will find this
               letter informative and give the Court some insight as to Evan Greebel's fine character, If the Court requires any
               additional information, please contact me.
                                                                          F




              Joan C Billick

                                        JOAN C BILLICK

                                        LICENSED ASSOCIATE REAL ESTATE BROKER
                                        DOUGLAS ELLIMAN REAL ESTATE
                                       Chairman's Circle Platinum and Gold Award Recipient
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WITHDRAWAL WITHOUT NOTICE ALL PROPERTY INFORMATION, INCLUDING, BUT NOT LIMITED TO SQUARE FOOTAGE, ROOM COUNT, NIIMRER OF BEDROOMS AND THE SCHOOL DISTRICT IN PROPERTY LISTINGSSHOULO RE VERIFIED BY YOUR OWN ATTORNEY,
ARCHITECT OR ZONING EXPERT EQUAL HOUSING OPPORTUNITY EQUAL HOUSING OPPORTUNITY Cr EQUAL HOUSING OPPORTUNITY
    Case 1:15-cr-00637-KAM Document 666-2 Filed 08/08/18 Page 18 of 149 PageID #: 21332




WESTCHESTER REFORM TEMPLE
      JONATHAN E. BLAKE
                   Senior Rabbi

            JILL ABRAMSON
                  Senior Cantor

             DAVID E. LEVY
                                          April 26, 2018
                Associate Rabbi
    Jewish Learning Lab Director
       AMANDA KLEINMAN
                Assistant Cantor

            DANIEL REISER
                                          The Honorable Kiyo A. Matsumoto
                Assistant Rabbi           United States District Judge
     MIA FRAM DAVIDSON
       Adjunct Associate Cantor           Eastern District of New York
      RICHARD J. JACOBS                   225 Cadman Plaza East
                 Rabbi Emeritus

               JACK STERN                 Brooklyn, NY 11201
                 Rabbi Emeritus

           ELIANA FISCHEL
                 Rabbinic Intern
           ELI KORNREICH
              Executive Director
                                          Re: Mr. Evan Greebel
              SUE TOLCHIN
         Early Childhood


          MARCY R. HARRIS                 Dear Judge Matsumoto:
                      President
          JOAN FRANKLE
        NANCY MICHAELS
         MICHAEL OSTOW
                                          I am writing on behalf of Evan Greebel, in the hope that you will consider this
            ERIKA RUBLIN                  attestation in furtherance of his demonstration of his good character and his positive
       SCOTT SILBERFEIN
                Vice Presidents           involvement in his civic and religious community, as well as his devotion to his
       FRANKLIN SPEISER
                      Treasurer
                                          family-including two aging parents, a wife of ten years, and three young children.
     ELAINE ROSENSTEIN
                      Secretary

            HOWARD BERK
                                          I am the senior rabbi of Westchester Reform Temple (WRT) in Scarsdale, New
             BARRY CITRIN                 York. Ours is the largest Jewish house of worship in Westchester County. Evan's
         LEAH DEMBITZER
          LISA EISENSTEIN                 family has affiliated with WRT for close to forty years. He was raised in our
            MARCY ENGEL
              GIL FISHMAN                 congregation, celebrating both Bar Mitzvah and Confirmation here, and was an
        SHARON FORMAN
       KRISTIN FRIEDMAN
                                          officer in our temple Youth Group. As a teenager, he received the Ner Tamid
           LORI GERTZOG
      MICHAEL GORELICK
                                          award, the highest distinction of merit for Jewish Boy Scouts. His parents, Barbara
             HELENE GRAY                  and Charles, continue to affiliate and are active in temple life, participating in
             ADAM GROSS
       DARA GRUENBERG                     weekly Shabbat services. I have known them for 15 years. It has always been
          WARREN HABER
              SARA LEVINE                 evident that this is a particularly close-knit and caring family.
                 JON MARK
               JAY MUSOFF
            ELLEN RABINA
    MICHAEL ROSENTHAL
                                          Dedicated service to the Jewish community has been a theme throughout Evan's life.
          DAVID SHUSTER                   His brother Rob and he set up a scholarship at the Hillel of the University of
             VIVIAN SKI AR
            BEN ZIPURSKY                  Michigan. During law school, Evan established a Jewish Group for Graduate
                       Trustees

         SUSAN GROSZ
                                          Students and Young Professionals through Hillel of Greater DC. He was active in
  CAROLE PRINCER LEVY                     the New York City chapter of the UJA-Federation, going through their Emerging
      Women of Reform Judaism
                                          Leaders training and eventually serving as the chair of the Loan Task Force which
 JEFFREY UNDERWEISER
          President, Men's Club           provided low- or zero -interest loans to underprivileged populations including
   WILLIAM A. BLUMSTEIN                   women in Israel, Arab Israelis, and Ethiopian Israelis.
           HELENE GRAY
              AMY LEMLE
      LISA R. MESSINGER
     MARJORIE L. MILLER                    When Evan and his own family moved back to Scarsdale in 2014, they promptly
       WILLIAM S. MILLER
         ELLEN SUNNESS                    joined WRT and enrolled their son               in our nursery school. Last year, his
     ROSEMARY BERDON
 IRVING BERKELHAMMER
                                           daughter         began in our                  program. Evan and his wife Jodi are
     JOSEPH BERNSTEIN
  NORMAN L. BLUMSTEIN
                                           deeply invested in their family's Jewish heritage and education and are hands-on
         IRVING H. ISAAC
DR. ROWLAND L. MINDLIN
                                           parents in all manner of temple activities, especially those that serve others, such as
       CLIFFORD H. RICH
         ALFRED RONALD
                                           our regular drives that provide food and necessities for disadvantaged members of
    ULRICH SCHWEITZER                      our wider community. They have continued to give back to others through their
          SEYMOIJR SIMS
      EDWIN. J. STEEFEL
     RALPH WIENSHIENK
    DR. MILTON M. ZARET
                Past Presidents
                     deceased

                                            255 MAMARONECK ROAD, SCARSDALE, NEW YORK 10583-7299 TEL: 914-723-7727
                     FAX: 914-723-5946   REt. SoLooL: 914-723-5224 ECC: 914-723-5493   EMAIL: office@wrtemplc.org WEBSITE: www.wrtemple.org
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   involvement in UJA-Federation of Westchester. Additionally, Evan volunteers at the weekly soup
   kitchen of the Hebrew Union College in Manhattan, which provides New York City's homeless and
   hungry with a hot meal served with the kind of hospitality and attentiveness more commonly associated
   with nice restaurants.

   Evan is a courteous, caring, and upstanding member of our community. He has been a pillar of support
   for his wife Jodi since the tragic death of her brother in 2015,
                                   And, of course his young children adore him and rely on him. His absence
   would have a devastating impact on his family. In my role as the congregation's spiritual leader, I would
   ask you to consider the needs of Evan's family as you evaluate his case. In such evaluation, I hope you
   will consider this letter favorably.

   If I can be of assistance to you, please do not hesitate to reach out. You can email me at
                             , or call me at Westchester Reform Temple, 914.723.7727.

   With shalom - in peace,




   Jonathan E. Blake
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    The Honorable Kiyo A. Matsumoto
    United States District Judge
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, NY 11201




    Dear Judge Matsumoto:

    My husband, Roman Braslavksy, and I live in Scarsdale, NY. Roman works in real estate investing for GI
    Partners in Greenwich, CT and I am an advertising and marketing consultant.

    Roman and I are friends and neighbors of Evan Greebel. His middle son,             , and our older
    daughter were together at                                               and are now together in
                  at                            Evan's daughter,       , and our son are together in the
    program at                                 We have spent countless hours with Evan and his wife
    socializing, on the sidelines of soccer games and volunteering together at school events.

    Evan and Jodi were some of the first people that we met when we moved to Scarsdale over three years
    ago. Evan and his family were very welcoming to us. In fact, they are known throughout our community
    as friendly, kind and always ready to help. Evan offered himself immediately as a resource to us as
    newcomers to town. Advice, recommendations - whatever we might need - Evan and Jodi were
    around the corner if we needed anything.

    My husband and I have been with Evan at countless birthday parties where he goes out of his way to
    not only carefully attend to his children, but also to listen and take care of anything that any child
    around him needs. As that example would indicate, he is a kind, attentive and supportive father and
    husband who is incredibly involved in everything his children do.

    We are aware of Evan's current legal situation and still fully support him because we know everything
    above to be the truth about his strong character and values. We ask you, Judge, to please be lenient in
    his sentencing. My husband I believe that you will not regret this decision.

    Thank you for your time and consideration,




    Roman + Rohini Braslaysky
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  The Honorable Kiyo A. Matsumoto
  United States District Judge Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

  Dear Judge Matsumoto:

   am very lucky to say that 1 have known Evan Greebel for over ten years. Evan is the husband of my
  dear friend, Jodi, who I have known for over 25 years.

  You cannot find people who are better than Evan and Jodi. They have hearts of gold and are the most
  generous friends you could ever ask for. When both of my parents passed away back to back over the
  last ten years, Evan and Jodi were there to help pick my family and me up. When my parents passed
  unexpectedly, I didn't have a family home to spend the holidays. Evan and Jodi immediately welcomed
  me into their home with open arms and have become my "new family." In addition, I had many
  challenges with finding a new apartment during some very difficult personal times, and Evan and Jodi
  put me in touch with people who were able to help on all fronts. They are always selfless with their
  time and I feel very blessed to have them in my life. When you walk into Evan and Jodi's house, you can
  feel the immediate warmth that surrounds them, their family, friends and loved ones. They are people
  who others want to be around. I cannot think of more caring, thoughtful or sincere individuals.

  Over the years, I've also had the pleasure of getting to know Evan and Jodi's three young beautiful
  children. They are charismatic, polite, and genuine - direct reflections of their amazing parents, Evan
  and Jodi. Like their parents, Evan and Jodi have instilled their kids with morals, great work ethics, and
  integrity in everything that they do.

  Despite Evan's Legal situation, I fully support Evan and his family - Evan and Jodi are two amazing
  people who make my life so much better.

  With very warm regards,

  Jaymie L. Brill
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                                                                                   April 2018


      The Honorable Kiyo A. Matsumoto
      United States District Judge Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, NY 11201

      Dear Judge Matsumoto:


      I have had the pleasure of knowing Evan Greebel for over I 0 years, ever since his wife,
      one of my dearest friends, fell in love with him. I have known Evan's wife, Jodi, since we
      were 12 years old. Jodi is one of the kindest and most generous people I know: she has a
      heart of gold and only surrounds herself with others that possess these qualities. So when
      she told me Evan was the man she wanted to spend the rest of her life with, I had no
      doubt that Evan was a man of the highest level of integrity, kindness, and honor. Jodi is
      what you call a 'good egg' (in fact, she's the best egg), and in Evan she found her match.
      Over the years, as I got to know Evan, and his character, it reminded me of all the reasons
      I gravitated toward Jodi when we first met.

      Evan and Jodi both come from wonderful families, raised by great parents who instilled
      in them only the highest level of morality and values along with an incredible work ethic.
      They were raised to treat others they way you would like to be treated, raised to know the
      difference between right and wrong, raised to be good people, raised to have a moral
      compass that guides them in everything they do. They are raising children with these
      same qualities, and our world is better for it.

      Sadly, I recently lost both of my parents, in their early 60s, to cancer back to back.
      Needless to say, the holidays have become a very difficult time of year. Evan and all of
      the Greebels welcome both my sister, and me every year into their home and treat us like
      family members. It's the Greebel way. Evan always makes us feel comfortable: what's
      theirs is ours. It's a rare occurrence to go to a "friend's" house, and feel like family.
      That's what it means to know Evan and his family. Evan is gracious, giving, thoughtful,
      and most of all a good person. I always say you can tell so much about a person by the
      children they raise: how their kids behave and treat others. The three Greebel children are
      being led by the incredible example of Evan and Jodi and it's such a joy to watch. They
      are truly special, good-hearted children, filled with kindness - undoubtedly a testament to
      Evan and their mom.


      Finding friends who are real, honest, true, loyal, and stand up for what's right is not easy
      to find. If you can find a handful of people in your lifetime who possess these traits,
      (again, 'good eggs') consider yourself lucky. I am blessed because Evan is one of those
      people. I am undoubtedly a better person for knowing both Evan and his wife, Jodi, and
      proud to call them friends who have become my family.


      With warm regards,
      Taryn W. Brill

               -1/1,j/
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   Justin Brookman



   May 5, 2018


   Judge Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201


                                                  Re: Evan Greebel


   Dear Judge Kiyo A. Matsumoto:

   I am writing today to urge leniency in the sentencing of Evan Greebel.

   My name is Justin Brookman, and I am a public interest lawyer working in Washington DC to protect
   individual rights and to hold institutions accountable for their actions. Previously, I worked at both
   the Federal Trade Commission and the New York Attorney General's office bringing enforcement
   actions against companies engaged in deceptive or fraudulent business practices. I write this letter
   in my personal capacity.

   I first met Evan as a summer associate at the law firm Fried Frank Harris Shriver & Jacobson in 1997.
   Having grown up in Irmo, South Carolina, a New York law firm was a completely foreign world to
   me. Despite our completely different backgrounds, Evan was always incredibly kind to me and
   helped me to navigate my way through law firm life (until I could repay my student loans and
   leave). I absolutely could not have lasted as long as I did without Evan.

   Probably the most notable thing about Evan is his intense commitment to his family. Evan talked
   about his family constantly and always spent much of his free time with his parents and siblings
   (when working at the law firm, we teased Evan about his insistence at living with his parents in
   Scarsdale). These deep ties were only strengthened after Evan and Jodi got married and had
   children. Evan and Jodi were also very supportive of my own family; for instance, they went out of
   their way to throw a baby shower for me and my wife in their Upper East Side apartment, despite
   knowing few of our close family members. Evan's family is his identity, and I am sure it is crushing
   to him that this case has brought disrepute to his family name.
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   Judge Kiyo A. Matsumoto
   May 5, 2018
   Page 2



   I strongly believe that there is a lack of accountability in these times, and far too few persons of
   privilege are held accountable for wrongdoing. However I think it is important to note that Evan did
   not engage in these actions for himself; rather, I believe that he gave the advice that he did out of a
   desire to help the company that he was representing. Unfortunately, Evan had the extreme bad luck
   of working for a preternaturally villainous individual in Mr. Shkreli. Evan's professional career is
   over, and for people outside his family and friends, his work for Mr. Shkreli will always define him.
   However, we that know him know that he is fundamentally a sensitive, devoted, and kind person;
   for the sake of his family, but also for my friend, I urge you to consider a lenient sentence.

   Sincerely,




   Justin Brookman
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      May 8, 2018



      The Honorable Kiyo A. Matsumoto
      United States District Judge
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, NY 11201

      Dear Judge Matsumoto :

      I write to you on behalf of Evan Greebel. I had the opportunity of getting to know Eva n
      when he was a student at The University of Michigan where I was the Executive Director
      of University of Michigan Hillel for more than three decades, part of which time I also
      served as the Jewish chaplain at the Federal Prison in Milan, Michigan. While I am aware
      of the conduct th at led to his conviction, the Evan Greebel I knew was in every way what
      we call a mensch, and a very solid one. He helped to establish a fund for stud ents who
      needed to t ravel home for family emergencies who J11ight otherwise not have been able
      to do so, and w as someo ne everyone could count on. While I fully unders ta nd why we
      are all accoun table for our wrongdoin9s, I also know the good th at. he has done and is
      capable of doing. Evan has much to nive back to our societ y and I ask th at you weigh
      t his when making your sentencing decision.

      Sincerely,



      Michael Brooks


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                                    Jennifer & Nicholas Brown



     April 30, 2018

     The Honorable Kiyo Matsumoto
     United States District Judge
     Eastern District of New York
     225 Cadman Plaza East
     Brooklyn, NY 11201

      Re: Evan Greebel

      Dear Judge Matsumoto:

      Please accept this letter on behalf of our friend, Evan Greebel, as we respectfully ask
      for leniency in connection with his sentencing. We have known Evan and his family
      for nearly ten years, initially making his acquaintance at Fairview Country Club in
      Greenwich, Connecticut.

      Over the years, we have seen Evan evolve as a devoted father to his children and
      caring husband to his wife, Jodi. This attention to his family has remained
      unwavering over the years, through good times and the more trying ones recently
      experienced. His steadfast loyalty as a friend has also been a constant, as evidenced
      by the strong support he has received during his recent challenges.

      We write this letter to respectfully request leniency on Evan's behalf. We hope that
      his strong family values and countless contributions to his community will be
      considered during his sentencing.

      Sincerely,
                      L)
      ennifer & Nicholas Brown
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      April 30, 2018

      Family and Friends of Evan Greebel
      Re: Character and Leniency Letter


      Dear Judge Matsumoto:

      My name is Elizabeth Brucker, and along with my husband Dr. Benjamin Brucker, we
      want to express our sincere belief that Evan Greebel deserves leniency with regard to his
      sentencing. Ben and I have known Evan for the past 8 years. We met in New York City
      after both having our first kids at around the same time and quickly became friends. Four
      years later, we followed each other to Westchester and have remained close family
      friends. Our f         son           and their               son            have been best
      friends since birth. We have raised our kids together, side -by -side and look up to the
      Greebls as parents and as role models. Our kids were in a weekly playgroup together
      where we shared important milestone. First steps, first words. We have very fond
      memories of raising our kids with Evan and Jodi.

      We have spent a lot of time with the Greebel family; from birthday parties, to the soccer
      and lacrosse fields, to skiing weekends. Evan is front and center coaching and cheering
      on all of the kids, giving them the confidence and motivation they need to succeed. He
      connects with kids, always making them laugh and sharing in their good time. He is
      always taking his kids to their next activity, sharing in their joy. It makes him happy
      when he can watch his kids thrive. We have raised our kids together and observed Evan
      to be a devoted, loving, hands on dad who would do anything for his kids, his family and
      his friends. Any time that he is taken away from his family just isn't fair. His kids adore
      him, look up to him, and need him in their lives and they don't deserve to be punished.

      Evan is also an integral part of our community. We attend the same Synagogue in
      Scarsdale (Temple Israel Center) where Evan is an involved congregant. We have spent
      many Friday evening Shabbat services with our kids, helping to instill important Jewish
      values and traditions, which is something that is very important to Evan. Evan has
      demonstrated the importance of giving back to the community when he brought his kids
      to volunteer at a UJA event in the Bronx, at a facility where his grandmother used to live.
      My husband and Evan spent the afternoon with senior citizens, playing card games and
      chatting with them, which I'm sure was a real bright spot in their otherwise lonely day.
      He was not just telling his children how to be charitable but showing them first hand.
      Volunteering and helping others is important to Evan. It is experiences like these that he
      wants to continue to share with his kids. Shaping them to be good-natured, honest,
      generous people just like their Dad.

      Not only is Evan a loving father, and friend he is a devoted husband to his wife Jodi, our
      very dear friend. Jodi is one of the most kind, genuine, sincere and thoughtful individuals
      that we have ever met. There are not enough adjectives to describe the incredibly strong,
      resilient, brave person that she is. Jodi and her family suffered tremendously after the
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      very tragic loss of her brother Mark. Evan was right there by Jodi's side, supporting her
      and helping her through a very emotional time.
                                                            The whole Scarsdale community
      rallied around Jodi and Evan after Mark's passing and yet again after Evan was indicted.
      People just couldn't do enough to help them through this awful time - helping out with
      their kids, dropping off dinners, just to make life a little easier for them. All anyone
      wanted to do was help them, which is true testament to who they are. They would be the
      first to help others who were in need of support. Evan and Jodi have been through enough
      hardship which is why we are strongly requesting leniency. They are a wonderful family
      and tearing them apart would be cruel. They don't deserve to be going through any of
      this.

      Evan is a hard working, loyal, honest, smart and good person. He should not be judged
      solely on the basis of the conduct that led to his conviction. Family comes first for him.
      He has very strong family values and is an essential part of raising his kids to be the best
      that they can be. They need him around. We strongly request you consider his good-
      natured character with regards to his sentencing.


      Respectfully,




      Elizabeth and Benjamin Brucker
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   May 1, 2018

   The Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

   Dear Judge Matsumoto:


   My name is Adam Burk and I met Evan approximately ten years ago through his brother Rob. I
   understand Evan's current situation and can say with full confidence we are a better community
   with Evan Greebel a part of it. Evan is a kind, generous and honest individual who puts his
   family first and has provided me great advice both on professional and personal issues over the
   years. I trust him as a lawyer and friend.

   As way of my own background, I currently work for a global financial services company as part
   of the extended executive leadership team. Previously I spent six years as a financial services
   investment banker and four years as a corporate attorney.

   I consider myself a close friend of the Greebel family. I know Evan as well as his brother Rob,
   sister Gennifer and parents well. My relationship with Evan has been mostly of a personal nature
   although I have periodically sought legal advice. In all of my interactions with Evan over ten
   plus years he has always been a person of character, someone I trust and respect. He has three
   children and a lovely wife who depend on him and who he puts first. Whether Evan is attending
   his niece’s baby naming or his son’s sporting events, he is a dedicated family man who
   understands his priorities and what is important in life.

   During my professional career, I have had the opportunity to explore several entrepreneurial
   opportunities and sought Evan’s counsel on two occasions. One such opportunity was presented
   to me in 2013. An accomplished entrepreneur and I were looking at starting a financial guarantor
   insurance company to insure peer to peer loans. At the time, online peer to peer lending was a
   relatively new and emerging industry. We met with several law firms and most gave us
   the impression that we would be able to address the legal obstacles. The idea we proposed had
   numerous tax and structuring complexities. Evan is an excellent problem solver and strategic
   thinker so we met with him and he provided a straight forward and honest assessment of the
   proposal. After conferring with experts, he informed us that we would need a tax opinion to have
   the appropriate level of comfort to move forward. We appreciated the straightforward advice
   from the outset and decided not to proceed forward. In line with my personal interactions with
   Evan, he was honest and only had the best intentions for us.

   On a personal level, I regularly see Evan. Usually we will connect at a Greebel family event. I
   always enjoy hearing about his children’s latest achievements, sharing stories about my kids as
   he always asks, engaging in idea sharing and getting his view on my latest professional or
   personal question or issue. I value his opinion and over the years his advice has proven to be
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   very helpful. He is extremely smart, intellectually curious and always willing to help. When my
   sister in law started looking to move to the suburbs, I immediately contacted Evan and asked if
   he had any advice. He of course referred them to a great real estate broker who found them a
   home and helped guide them through Westchester with the same care and concern as a close
   friend or family member.

   Today our world and community is very much a better place with Evan actively present in it. He
   is selfless person who truly cares about his family, friends and community. He is a man of
   integrity who has numerous times provided me honest counsel and sought to help in anyway
   way. Today more than ever I support Evan and would seek his advice and counsel the same as I
   would at any time in the last ten years. I pray that my friend will continue to spend his days a
   part of his community helping his family and friends and being able to raise his children.


   Best,


   Adam Burk
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                                                                                                    May 2018

      The Honorable Kiyo A. Matsumoto
      U.S. District Judge
      Eastern District of New York
      225 Cadman Place East
      Brooklyn, NY 11201

      Dear Judge Matsumoto:

      My name is Evelyn Carnicelli and I have lived in Scarsdale for over forty years.

      My career has been in teaching in New York City and with the government of Westchester County,
      NY in the Economic Development office for over twenty-five years.

      At the beginning of my service in the Economic Development Office, I initiated a Tourism Program.
      At that time, Evan Greebel was seeking his Eagle Scout Award from the Boy Scouts of America
      after he completed the required projects.

      I knew Evan at this time, since I met him as a preteen.

      Because of his interest in the history of Westchester County, Evan believed he could highlight and
      promote the wonderful historic sites, so he and I worked together on his project, which he called
      "The Westchester County Historic Trail".

      He knew he could encourage tourism and make a difference in the success of this program. After
      visiting numerous sites, together, we picked representative ones.

      The Westchester historic Trail was widely circulated. It went to schools, businesses (real estate
      especially loved it) and places where tourism material was available to the public.

      After visiting the designated sites on the Historic Trail, visitors answered questions about the sites,
      returned the answers to the Tourism Office and received a certificate of completion suitable for
      framing.
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     Evan's idea was innovative and unique. He worked tirelessly over many months to produce the
     product. His enthusiasm was felt over the villages, cities and towns in our county. Responses
     were many and over the months I interacted with Evan, I felt that this young man was very
     intelligent, well directed and sincere in what he did.

     His enthusiasm for the effort was also felt by others at the sites and reflected in the increase of
     visitation, increasing the economic development of our county.

     I truly believe that this focused and valued person exists today. His talent and vision could be so
     useful to so many in our county. I hope you will consider my opinion of his character and goals to
     improve conditions around him when judging him at sentencing.

     Sincerely,



     Evelyn Carnicelli
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 The Honorable Kiyo A. Matsumoto

 United States District Judge

 Eastern District of New York

 225 Cadman Plaza East

 New York, NY 11202



  Dear Judge Matsumoto,

  I am writing this letter on behalf of Evan Greebel, in the hopes to give you some insight into his
  character as you prepare for his upcoming sentencing hearing. I first met Evan almost 18 years
  ago with my now husband, Noel Cimmino. Noel wanted me to meet a particularly important
  friend of his because they grew up together and were practically brothers. Upon meeting Evan
  on a weekend trip, he spent what felt like hours essentially interrogating me. When I queried
  him on his line of questioning, he responded that he needed to make sure that I was going to be
  the right fit and be good to one of his closest friends. Thinking about this moment today, I
  realize that Even could have easily spent the weekend making casual conversation with me.
  Instead, he took the time to truly get to know me because he was so loyal and protective of this
  lifelong friend; moreover, he wanted to make sure that his friend was going to be well cared for
  by any potential significant other. We spent a lot of time together on that trip and after that
  weekend, I felt like he was a brother to me too.

  Over the years, we have spent a significant amount of time with the Greebel family. Even though
  we live far away, Evan has made my family a priority of his and treats my kids like they are his
  own. We have stayed together in each other's homes and I've watched Evan with his wife and
  three children. He is a loyal husband and father and has always put the safety and care of his
  family and those close to him above everything else.

  Professionally, I work in a family court in Michigan and I get the opportunity to see all sorts of
  family arrangements. Week in and week out I see multiple single -parent families that come
  before me that are raising their kids, because they have no other choice. Over the past ten years,
  Evan has taken an active role in raising his three children,                               . From
  the moment he found out that his wife was pregnant until today, Evan has always gone above
  and beyond for his wife and kids. He is a hands-on father who has played an essential role in the
  raising and upbringing of his children. I fear that any absence due to incarceration would create
  a huge hole in the Greebel family, create a tremendous burden on his wife and cause significant
  and irreparable harm to his children at crucial developmental stage of their lives. After years of
  experience watching the effects of single -parent homes on children, it would really sadden me to
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  see these three children grow up without the benefit of having their father present to continue to
  help them mature to adulthood.

  It has been very difficult for those who are close to Evan to learn about the events going on in the
  past few years with his court case. His family and close friends have stood by him and supported
  him through this process, the way that he stands by and supports others he cares about. He is a
  family man and gives a lot back to his local and religious communities. He treats his family like
  royalty and his friends like family.

  Those of us that are fortunate enough to have the opportunity to get to be a part of Evan's life,
  know that he is a caring, compassionate and loyal father, husband, son, brother, son-in-law,
  brother-in-law, uncle and friend. I appreciate the opportunity to give you some input and I am
  hopeful that these letters of support allow you to get to know him in a different light and possibly
  offer him some leniency in your sentencing.



  Very truly yours,



  Ilyssa M. Cimmino

  Friend of the Court Referee
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  The Honorable Kiyo A. Matsumoto
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  New York, NY 11201



  Dear Judge Matsumoto,

  My name is Noel Cimmino and I have known Evan Greebel literally since he was born. Our mothers grew
  up together in White Plains, New York and would get us together at various times during our childhood.
  When I was ten Evan started attending the same summer camp I did and would tag along after myself
  and some of the other older kids and, despite being younger and smaller, would always courageously try
  to hang in with us on the playing fields. I lost contact with Evan for a few years after I finished camp until
  one day in college, who should come across my path but the newly minted freshman Evan Greebel.           I



  gave in to whatever cosmic fate that clearly was pushing us together and Evan has been as close as a
  brother ever since. Accordingly, I write this letter seeking your leniency in Evan's sentencing with the
  heaviest of hearts, the saddest of souls and a pit in my stomach that's been there for the last two years
  as Evan's case has been winding through the justice system.

  Its sadly ironic to me that Evan was convicted of a crime that basically involved him aiding another.
  While the purposes of this service were deemed illegal by a jury of his peers, the fact that his crime
  came while rendering service to others rings true with the Evan Greebel I've always known. Evan was
  well known among his peers at camp as being a voice of reason within the kids of his age group, for
  keeping the peace when flare ups between kids occurred and for getting behind those on his team, even
  when many of those kids would receive more playing time than he did. While not the most athletically
  gifted of the kids, he still was deferred to and sought out by the other kids. In college, Evan was an
  appointed and elected member of the leadership of our fraternity and was looked to fairly constantly as
  a leader of young men and a person who was often called on to arbitrate issues that arose. More
  importantly, Evan usually was our point person with many of the house's philanthropic endeavors.
  Needless to say getting a group of eighteen to twenty-one year college students to give time to
  something other than students and extracurriculars is not an easy task but Evan volunteered for the
  duty and always was successful in the daunting challenge of getting people to see the light and helping
  to do the right thing.

  Most importantly, Evan has become an outstanding adult, friend and member of his community.
  Personally I can account for the scores of times that Evan has hopped on a plane or got in the car to rush
  to the sides of others when a personal tragedy happened. Several years ago when my younger sister was
  diagnosed with cancer it was Evan and his brother who rallied support for her and my parents as we
  were all facing down her diagnosis and treatment. Evan is always the first one to be at major events for
  our group of friends, even though we're spread out throughout the country including my family who
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  reside in Detroit. He's served as a leader in his local religious community and served on various
  committees with United Jewish Appeal. Needless to say, prior to the charges he's now been found guilty
  of, he's had a clean legal record and poses absolutely no threat to society or to anyone related to the
  charges. In fact, I fear the biggest victims in all of this will be his wife and children who will have to be
  without their father and husband for a period of time.

  You have only known Evan Greebel in the context of the crime for which he was accused and convicted.
  I truly hope that the letters of support would paint a different picture for you and that you can find it in
  your heart for the sake of his wife and children to offer him leniency in your sentencing.
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  April 24, 2018

  The Honorable Kiyo A. Matsumoto
  United States District Judge
  Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

  Dear Judge Matsumoto:
  My name is Dr. Vincent Cimmino and I am an Emeritus Professor of
  Surgery from the University of Michigan who is currently working with a
  start-up medical school in Florida, Nova Southeastern University
  College of Allopathic Medicine. I would like to take this opportunity to
  offer some insight into the Evan Greebel that I know.
    Let me begin by saying that I have known Evan his entire life. His
  parents are close family friends that we have known for fifty years. I
  have known Evan since he was an infant but since we did not live in the
  same geographical area I really did not get to him well until he
  attended the same summer boy's camp that my sons attended in New
  York. What quickly impressed me about Evan is that he became a close
  friend of my oldest son Noel, who at that time of his life was shy and
  did not befriend people easily. Once I saw the union they developed I
  knew that Evan had to have some pretty special qualities to have
  become my son's friend. As time passed the two became closer when
  they both attended the University of Michigan and in fact my son was
  his "big brother" in the same fraternity. As a consequence I have spent
  significant amounts of time in Evan's company and have found him to
  be courteous, well-mannered and a pleasure to be around. We
  attended his wedding and have watched him grow into loving husband,
  father and family man.
    He continues to be one of my son's best friends, and one on whom my
  son can depend. It is needless to say very difficult for my wife and Ito
  see him in his current predicament. It does not reflect the individual
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  that we know. I hope you can demonstrate some leniency in his case.
  Thank you for allowing me the time to express my feeling and concern
  for Evan's welfare.

  Sincerely,
  Vincent -M. Cimmino, M.D.,
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                                                  LAw OFFICES
                                          CITRIN & WALKER
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J. FROST WALKER, III
OF COUNSEL
      JFROSTY@BELLSOUTH.NET



                                                 April 16, 2018

       The Honorable Kiyo A. Matsumoto
       United States District Judge
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, NY 11201

       RE: EVAN GREEBEL

       Dear Judge Matsumoto:

               I write this letter in support of leniency for Evan Greebel. I have known Evan for over ten
       years. In those ten years, I have found Evan to be a good person, a good husband, a good
       father, and a good son-in-law. As such, I hope that he is not judged solely on the conduct that
       led to his conviction. I believe it was an aberration contrary to his normal character.

                I have had the pleasure of practicing law in Florida for forty-six years. I have been bond
       counsel for numerous government entities and an Assistant County Attorney for Miami -Dade
       County. Presently, I am the City Attorney of Hialeah Gardens and General Counsel for the
       Hialeah Housing Authority. During these forty-six years, I have met many, many younger
       lawyers. While I have never worked with Evan on a professional basis, I have spoken to him
       about the law. He has always exhibited a great respect for the rule of law and the sanctity of
       ethics. I take pride in my judgment of other lawyers. As such, his conviction was shocking. While
       I know nothing of the facts of his case, I do know of the potential seduction of a charismatic
       client.

                As a man, I have seen Evan at happy occasions, at his wedding and the wedding of his
       sister-in-law. Also, I've seen him at sad and trying times exhibiting tremendous empathy for his
       wife, Jodi, young children,                                 , and especially for his mother-in-law
       and father-in-law, Nancy and Niles, during the mourning period after the tragic death of his
       brother-in-law, Jodi's younger brother, Mark.

               I believe strongly that his work ethic, his industriousness, and his concern and empathy
       for others are assets to our society. Besides being smart, I have found him to be very level -

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   headed and perceptive. Again, I believe that the facts of this case which led to his conviction are
   an aberration, and that our society and his community are best served through leniency to him.
   I strongly believe that Your Honor's leniency would not be regretted and that it will indeed be
   rewarded with Evan's very positive future contributions to his community. Indeed, if Evan were
   ever to resume the practice of law, I would not hesitate to offer him a job. I truly believe in
   Evan's worth.

           I thank you for your attention to this letter.

   Most respectfully,



   Charles A. Citri




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   May 1, 2018


   The Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201


   Dear Judge Matsumoto,


    am Evan's mother-in-law and have known him since he and Jodi began dating 13 years ago.          I   know him to be warm, loving, caring,
   and a very good person . As a husband and father he puts his family first and over the years I have seen that he has an unusually close
   relationship with his parents, siblings, and with us, his in laws.


   Shortly after Jodi and Evan began dating it became apparent to me just how close Evan's family relationships were. His brother, who
   was single and who had recently graduated from law school, was living on the couch in Evan's apartment. He continued to live there
   for a few years, making a lasting impression on me by demonstrating to me what a truly genuine and good person Evan was. It was
   also Evan's strong family values and his idea to initiate the Citrin/Greebel family dinner, hosted weekly by Evan and Jodi, for their
   siblings.


   As a father Evan is very loving, devoted, caring, and hands on in every way. On the weekends both he and Jodi spend all day Saturday
   and Sunday with the 3 children. They run around together to sports, birthday parties and other activities with Evan totally involved in
   the children's lives. He is the kind of dad who is always outside playing with the children, running home on Halloween to go trick or
   treating with them, or simply sitting with them reading a book. He is the dad who can be found taking the boys to buy sporting
   equipment yet he is also the one to pitch in with a bath for the kids or a diaper change. On Friday nights he makes it his business to
   get home in time to celebrate Shabbat with the children in order to instill in the kids a love and understanding of religion and its
   importance in family life. And he is the one to suggest inviting single friends and acquaintances to our family holiday parties, realizing
   that otherwise these individuals would be spending the holiday alone.


   Since the boys have started playing sports Evan has been a coach of their various teams, devoting great time and effort to the
   coaching. I have attended his children's sports events such as baseball games and watched Evan work with each kid on the team,
   always fairly and patiently. He has been a wonderful role model to all the children on his team and has created a team where good
   sportsmanship is more important than winning.


    From the moment Evan joined our family he has been a wonderful husband to our daughter aside from a wonderful son- in- law to us.
   He is very appreciative of whatever is done for him and has been the guiding force for his family. He is a devoted husband and from
   the start has been the kind of husband that any parent would hope for their daughter... loving, respectful, conscientious, and very
   supportive. When our son, Jodi's brother, suddenly passed away 3 years ago, Evan stepped in immediately trying to help us, Jodi, and
   his children cope with our loss.


   Evan's very positive outlook on life has helped all of us cope with the last few very difficult years. I am not sure any of us could have
   done this without him. Jodi and his children need him to be a part of their lives each and every day, especially during these early
   childhood years as he is a vital part of their everyday existence. Without his everyday presence there will be an enormous void and his
   young family will suffer tremendously. Please carefully consider this and grant him leniency in his sentencing.



    Respectfully,



    Nancy L. Citri
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  April 30, 2018


  The Honorable Kiyo A. Matsumoto
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201



  Dear Judge Matsumoto,


  My name is Niles Citrin, and I am Evan Greebel's father in law. As you may know from testimony in the
  trial, I am a certified public accountant, consultant, and business advisor to my clients. I am a co-
  founding partner of the firm Citrin Cooperman & Company, LLP.


  I have known Evan for approximatly 12 years, ten of which he has been married to my daughter. During
  the time they have been married, Evan has been a loving husband, a wonderful father (to three young
  children,                 ). He has also been a wonderful family man, dedicated to his parents, brother
  and sister, and importantly to me, to the Citrin family. Evan has been a very inclusive son-in-law. He has
  always welcomed us to his home, at any and all times. He has always been considerate of my wife's and
  my feelings and constantly inviting us to join them in day to day family activities as well as vacations. In
  February, 2014 for example, Jodi and Evan decided to take their two sons (at that time daughter
  was not yet born) to Orlando to Disneyworld. Evan asked us if we would like to join him, Jodi and the
  boys, for this trip. He very much wanted us to spend time with his children, experience the magic of
  Disneyworld and for the boys to bond and spend quality time with Nana Nancy and Grandpa Niles.
  Moreover, Evan made arrangements for accomodations for all of us to stay together for the entire trip.
  He has not only been a loving husband and father, but a wonderful son in law. I feel blessed to have a
  son in law who treats me like a father and my wife as a second mother, unlike so many people who have
  a son in law (or daughter in law) who keep them at a distance.


  The Disney vacation was only one of numerous experiences that we have shared together as a family.
  Whether it has been holiday celebrations at home, a weekend day at the movies with Evan and the
  grandchildren, being at their home watching a ball game, it all comes down to quality time together as a
  family.


  Almost three years ago, my son Mark (Jodi's brother) died at the age of 27, a tragedy from which we will
  likely never recover. Evan really came through for all of us and was there every step of the way doing
  whatever he could to help us cope with our loss.
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  Only a few months after Mark's tragic death, the FBI and the police shockingly and in an unneccesary
  display of force "knocked on the door" at a much too early hour in the morning and arrested Evan. This
  is a horrible experience for anyone to have to endure, especially considering the people involved; a
  housewife, three young children, and a partner in a law firm indicted for a white collar crime, not some
  violent and dangerous person. Needless to say, Jodi was devastated by Evan's arrest. The "shock and
  awe" tactics of the government were likely designed to have that effect on the whole family, and those
  tactics worked, particularly on Jodi.




  Despite Evan's own plight, he was well aware of how much Jodi and his children needed him through
  this harrowing time in their lives; and he was there for them.


  The government painted Evan to be a bad person. I assure you that he is not a bad person.


  When I first met Evan, he was a young adult, in his early 30's. He is now 44 years old. I have watched
  Evan grow as a person, as an attorney, as a businessman. Over the years, Evan and I would discuss
  business periodically when we would get together, both of us careful not to breach client confidentiality.
  Throughout our many discussions, I always admired Evan for his ethical view on the business of
  "lawyering". Whenever we would speak, Evan always was mindful of doing the right thing and to my
  knowledge always took the high road. Never in all the time I have known Evan did I have any doubts as
  to his integrity and good intentions. truly believe that Evan did not consciously or intentionally do
                                          I




  anything that he knew or believed was improper or illegal.

  As a parent, I have learned that punishment for the sake of punishment does not necessarily achieve
  one's goal of changing the behavior of the person who did the act bringing on the punishment     .   The
  goal of any punishment should be to change the behavior and avert any relapse of the unacceptable
  behavior. To that end, it is important that the person understands what he did wrong so that he can
  correct his behavior.


  Evan was ambitious and proud. He achieved a success that neither of his parents had attained. He
  graduated from a well respected law school , Georgetown, went to work for a large law firm, and
  eventually rose to the status of becoming a partner at Katten Muchin. He achieved success at a
  relatively young age. While he had not yet attained the status of "equity" partner, he was highly
  regarded by his colleagues. This was because Evan was, and still is, a good person, a good colleague,
  friend and lawyer. There is no doubt that as a result of two and a half years of trying to defend himself,
  subsequently being convicted of the charges and enduring the humiliation of the experience, Evan is
  truly humbled.


  While his spirit has not yet been broken, I am deeply concerned for him. Whatever his future may hold,
  I can only hope that he is treated fairly and not excessively punished for his mistakes. It would truly be
  yet one more tragedy for our family if that should happen.

                                                       2
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  As I have stated before, Evan is a good person. He finds himself in the very unfortunate position of
  facing a jail sentence of a duration over which you have complete control. When you mete out Evan's
  sentence, please bear in mind that your decision will affect so many other people, but mostly his wife
  and his three small children. They too will suffer Evan's punishment.


  Evan's parents, my wife, and I will be there to do the best we can to help
  cope with growing up without a father in the home for the length of time he is imprisoned. Evan is my
  daughter's husband and the father of my grandchildren. Having been found guilty of the charges against
  him, there is a price that Evan must pay to society. However, the question is "what price?"    I pray that
  you will have compasssion and mercy on Evan, if not for his sake, at least for the sake of his wife and
  three small children.




  Niles L. Citrin




                                                       3
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     The Honorable Kiyo A. Matsumoto
     United States District Judge
     Eastern District of New York
     225 Cadman Plaza East
     Brooklyn, NY 11201


      Dear Judge Matsumoto:


      My name is Dara Cohen and I am a friend of the Greebel family.

     I was first introduced to Evan's wife, Jodi, in 2014, by a close mutual friend when they
     were moving to Scarsdale. We had moved a few months prior. Our friend introduced us
     because we had sons the same age. Jodi and I became friends quickly, as did our boys.
     It was not long before we introduced our husbands and all became friends.

      Evan had grown up in Scarsdale and so he was incredibly knowledgeable about
      everything in our town- schools, sports, etc. Evan was happy to answer any questions
      and provided us with a lot of information that greatly helped to ease our adjustment into
      life in Scarsdale.

      In the years since we have known the Greebels, I have seen firsthand the kind of father,
      husband and friend that Evan is. Evan is always willing to lend a hand and go the extra
      mile for his friends and his family.

      In the time that we have known the Greebels, we have been fortunate to be able to
      celebrate many wonderful occasions but have also been there for some difficult times.
      We have watched Evan support Jodi through the unexpected death of her brother; it is
      very clear how strong their marriage is and the kind of husband he is- supportive, loving,
      a true rock.

      Evan is a truly dedicated father. We have been together at many children's birthday
      parties, school events and barbecues; it is clear just how much he adores his children.
      He is a very involved father and very present in his children's lives.

      Seeing Evan coach his sons on the baseball field, push his daughter on the swings or
      help his wife clear the table after a dinner they have hosted, show that this is a man who
      is truly devoted to his wife and his family.

      Sincerely,



      Dara Cohen
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   PERSONAL & CONFIDENTIAL

   May 7, 2018

   Adam J. Conrad



   The Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

   Dear Judge Matsumoto:

   I am writing on behalf of Evan Greebel, who has been a friend and occasional business colleague for
   more than 15 years. I have followed Evan's legal situation closely, and feel compelled to offer some
   thoughts on Evan as person and request leniency in his sentencing.

   In my business dealings with Evan, I always felt him to be honest and straightforward, with an
   exceptional work ethic and unwavering loyalty. He has counseled me through both business and
   personal events, always with rational guidance. He has always been available to help, whenever
   called upon.

   While traveling in New York many years ago, I was invited to Evan's home on a Sunday evening for
   dinner with Evan, his wife Jodi, and his siblings Robert and Gennifer. It was my understanding that
   this was a standing family event held every Sunday evening, and I was honored to be included. I
   very much enjoyed the banter among Evan and his siblings, and recall being struck by their strong
   sense of love and admiration for each other, and dedication to family and friends.

   This evening was shortly after the birth of Evan's first child. I could tell that Evan was ecstatic to be
   a father and personally moved by the lifelong responsibility that this entails. Despite his strong
   work ethic and time spent cultivating personal relationships, Evan has always maintained family as
   his top priority in life.

   Despite being many years ago, I recall this evening vividly, and it has always been part of my
   personal "measuring stick" with respect to my own family relationships. I strive to emulate the
   qualities that I have witnessed Evan exhibit in his relationships with family and friends.

   Evan Greebel is a good man, a loyal friend, and a dedicated father. I strongly implore you to
   consider this in your sentencing decision.

   Respectfully,




   Adam J. Conrad
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  CITRINCOOPERMAN®
           Accountants and Advisors




                                                                                    June 1, 2018




       The Honorable Kiyo A. Matsumoto
       United States District Judge
       Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, NY 11201

                                                                                    Re: Evan Greebel

        Dear Judge Matsumoto:

        I am aware of the upcoming sentencing of Evan Greebel and I offer this letter to you to ask for leniency.

        I have had the pleasure of knowing Evan for over 11 years since his marriage to Jodi Citrin, whom I have
        known since her birth. Evan and Jodi have three wonderful children and I know Evan to be an
        outstanding, caring father who is not only very attentive but also very loving. I know how much he cares
        about his children and wife and how much they have all suffered as a result of his legal issues.

       I have also known Evan in a professional capacity. His father in law, Niles Citrin, and I started our
       accounting firm, Citrin Cooperman & Company, together in 1979. I currently serve as the firm's Chief
       Executive Officer. In that capacity, our Partners and I have worked closely with Evan together on several
       clients and I have always found his advice to be thoughtful and professional. I truly believe that Evan is a
       man of integrity and I know my partners and our common clients would agree.

        I respectfully ask that you consider all of the good Evan has done during his life and ask that you be
        lenient. I have no doubt that you will not regret it as I know in my heart that Evan will be a good citizen
        in the future.

                                                                                    Sincerely,




CITRIN COOPERMAN & COMPANY, LLP
529 FIFTH AVENUE, NEW YORK, NY 10017           I     TEL 212.697.1000   I   FAX 212.697.1004           CITRINCOOPERMAN.COM
AN INDEPENDENT FIRM ASSOCIATED WITH MOORE STEPHENS
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July 9, 2018

The Honorable Kiyo A. Matsumoto
United States District Judge - Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Dear Judge Matsumoto:

I can't understate how surreal the experience of writing this letter on behalf of Evan Greebel is for me and
my wife, Randi. Evan is a loving father, a caring and thoughtful friend and a respected member of our
community. While the circumstances that he finds himself in at the moment are obviously relevant, I will
ignore that for the purpose of this letter and would like to highlight to you the Evan Greebel that I know. I
hope and pray that this effort will have some hearing on you as you deliberate the appropriate sentence in
this case. I have faith that you will be fair, and I ask for leniency and compassion on behalf of Evan and his
family.

Randi and I first met Evan shortly after our first child,        was born in New York City in the late fall of
2008. Randi knew Evan's wife, Jodi, from college and they re -acquainted in the city as they worked through
the trials and tribulations of being new moms. Over the years, our friendship has grown, along with size our
families. When we moved to Scarsdale in the summer of 2010, Evan was confident in telling me that he and
Jodi would be joining us in the suburbs in short order. We were obviously thrilled to have them and their
family as neighbors when they ultimately made the move a couple of years after us.

Evan is clearly suited to suburban life. He is extraordinarily devoted to                                 . The
weekends are where Evan and I often cross paths. If I imagine a typical weekend day, Evan is taking
                        to baseball, basketball and then lacrosse, and while on the sidelines (typically while
wearing a U of Michigan hat), he will explain to me the intricacies of the upcoming family harbeque meal
that he and Jodi are planning for their friends. Gathering and meals al the Greebel's home are always fun,
memorable and delicious.

Evan has the ability to be a source of strength and support for those around him, particularly in difficult
times. Unfortunately, I have seen this more than once over the last few years. When tragedy struck Jodi and
her family two summers ago with the death of her brother, I witnessed Evan's compassion and strength first
hand. Ile stepped up to care for a new born        , while shielding his young boys from the difficult
circumstances around them. Most importantly, he was a loving, caring and supportive partner to Jodi.
Throughout the last couple of difficult years, Evan has remained focused and productive. Rather than retreat
from our community, he and Jodi worked together to start at least two companies. Evan is currently working
on a project to improve access to healthcare to those impacted by the recent opioid epidemic inflicting so
many across the country.

In closing, I am no lawyer, nor do I have any legal training. A quick Google search on "what are the goals of
punishment" yielded 5 key points retribution, incapacitation, deterrence, rehabilitation and restoration. The
ordeal of the last two years has surely served as a deterrent to others in the legal profession, and I know that
Evan is undoubtedly in a position to continue being a loving father, husband, friend and productive member
of society.

Thank you very much for taking the time to read this letter and for your consideration of leniency.

Respectfully,


Brian M. Culang
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   April 17,2018

   The Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

   Dear Judge Matsumoto:

   I met Evan roughly 10 years ago when I met my wife. Evan married my wife's best friend and
   in the last several years, I have developed a close relationship with Evan, and the Greebel family.
   Evan always struck me as one of the most hard-working attorneys I know. I come from a family
   of dedicated attorneys (my father, Philip Damashek, was a highly regarded personal injury
   attorney in NYC), and from the time I first spoke to Evan about his work, I wished my father
   were here to introduce them. Like my father, Evan impressed me with his drive and dedication
   to his career. In some ways, Evan also reminded me of my father, who decided my family should
   move to the suburbs of Westchester even though this would be a longer commute for him. They
   both wanted for their families the best educational opportunities, and a suburban lifestyle filled
   with carefree opportunities to be a kid enjoying more space, in a more peaceful setting.

   Evan is a loyal friend to our family, and is always there for us, despite what stress he is going
   through. When I have traveled for my own work, the Greebels have invited my wife and
   children over for dinners, and welcomed them into their warm and loving home. Evan is an
   extremely dedicated husband and father. He truly enjoys the experience of being with his
   children, in every regard, from going to a child's birthday party, to his love for taking them to
   Disney. He is kind and loving with his children always, and despite having a busy work
   schedule in the years I've known him, he always places his family on top of his list of priorities.

   Over the last couple of years, we have been at Evan's side as he has endured extreme stress, and
   what would seem to most as unimaginable disruption to one's life. However, Evan has amazed
   me with a positive outlook and determination to move forward and enjoy the wonderful parts of
   his life - particularly his times with his family. He is a dedicated brother, husband, father, and
   friend, and I am kindly asking that you consider his admirable character and grant him leniency.
   So many of us who know and love Evan and his family, feel strongly that he has been unfairly
   brought into this situation, and I promise you will not regret your decision regarding leniency.

   Sincerely,
   Harris Da     hek
   ;6_-.2
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  April 11,2018

  The Honorable Kiyo A. Matsumoto
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

   Dear Judge Matsumoto:

   I have known Evan since the day my best friend told me she met the perfect match for her, more
   than ten years ago, and have always respected him for his strong values and morals. It was no
   surprise to me that Jodi, who I often describe as having a heart of gold (she simply exudes
   warmth to all who meet her), would choose a partner who held similar values - family, a strong
   work ethic, and a commitment to being a good, honest person. Evan has always impressed me
   with his hard-working ethic and respect for his legal profession. As an attorney myself, I always
   regarded him as an attorney who loved to practice and who took his legal responsibilities
   extremely seriously.

   At the same time, I have had the opportunity to know Evan well, in his role as a loving husband
   and father. Two recent evenings stand out in my mind, in which Evan's devotion to his family,
   and his goodness were both so apparent to me. The first evening was was the end of long,
   exhausting week of the trial, this past winter, and it was a Friday evening. I had brought my
   children over to the Greebel's house to celebrate the Jewish traditional Shabbat meal. Evan
   walked in after a long, draining day in court, and you would never have known it. He was all
   smiles and immediately refocused all of his energies towards his family. After we said the
   traditional prayers, which Evan led for all of us, he put on music to have in the background while
   we ate. He chose Disney music from a soundtrack he knew his children loved - so much warmth
   and love filled the air; you never would have known the stress that he endured that day, and in
   the two years prior. A couple of weeks later, on the Friday prior to Martin Luther King day (his
   trial had ended by this time), we were all sitting down for Shabbat dinner, again at his house,
   with our children. He asked the children to share what they were each learning in school about
   Martin Luther King and with each story, he reiterated the importance of what this admirable
   historical figure stood for, in a way that the children could understand and appreciate.

   My husband and I often say that Evan is a pillar of strength and the grace with which he has
   handled the past two years is amazing. His family spent New Year's day with us, as we share
   many holidays together, and while we were all devastated with the recent news of the recent
   verdict, he immediately put us all at ease, with his humor and good nature. We have all been in
   hard places before, but Evan keeps perspective always. We have unfortunately been through
   other trying times together, including the tragic loss of Jodi's brother just a few years ago. In the
   days and months following his death, Evan was strong, supportive and compassionate to all who
   needed him - specifically his loving wife, and her family. Evan continues to remind us all of
   what is important in life and it is clear that even in times of unbelievable stress or hardship, he
   feels fortunate to have the beautiful gifts of his amazing and always supportive wife, and three
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   healthy children, and through his positive attitude on life, he is a reminder to all of us, about
   what is most important.

   I am kindly asking for leniency given Evan's character and his long history of dedication to
   family. I promise that you will not regret such a decision.

   Sincerely,
   Lara Damashek
                          0A)PacwAwt.
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     The Honorable Ki o A. Matsumoto
     United States Dist ict Judge
     Eastern District of New York 225 Cadman Plaza East
     Brooklyn, NY 112 1


     Dear Judge Matsumoto:
     My name is Nicol Dubbs and I am a friend of the Greebel family.
     We live in the sa e town (Scarsdale), our children go to the same
     schools, and we ar both members at the same club. My family has
     known Evan and t e Greebel family for approximately 5 years.
     Evan has always b en very kind and friendly to my family. We
     often see him in t dad and husband roles of his life at temple/pre-
     school functions a d events, where he is very supportive of the
     temple community. We also spend time with Evan at our club. He
     is always hands-on, enthusiastic, loving and encouraging of his
     children. They are truly sweet, well mannered, and smart kids.
     Evan is a good rol model, kind person and an attentive husband
     and father. He is a so a friend and someone we enjoy being around.
     Please be lenient n Evan's sentencing, as I know his whole family
     would greatly su r with him being away. His children need him.
     Thank you for your time.
     Sincerely,
     Nicole Dubbs
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     The Honorable Kiyo Matsumoto
     United States District Judge
     Eastern District of New York
     225 Cadman Plaza East
     Brooklyn, NY 11201

     Dear Judge Matsumoto:

     We met Evan Greebel more than 11 years ago when he and our
     niece were dating, then got engaged and then married. Evan's
     parents invited our family to their home so that we could all get
     to know one another and our two family's could share our strong
     family values. We spent hours talking to Evan and his family
     learning how Evan shared our values of dedication to our
     families.

     Evan quickly became a close part of our family, spending many
     holidays and weekends together.

     After we moved to Florida, Evan continued the family tradition
     by having the holidays in his home and being sure to include our
     son and daughter in law in their holiday plans.

     Evan is a devoted husband and father. We spent many weekends
     at the beach together. Evan was always busy playing ball with
     his children and getting into the plastic kiddie pool with them
     and being part of their fun.

     When Evan and his family came to Florida, he always made
     time to get together with us. We visited with him and his family
     at his parents home as well as his in law's home. We spent time
     with him and saw what a devoted father he is. He always spent
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     time talking to his children, listening to them and playing with
     them on the slides, in the pool and on the climbing equipment.

     Evan is a kind, loving, thoughtful person. We have been
     privileged to have him as a part of our family. We respectfully
     request you to grant leniency to Evan Greebel. We believe that
     such a decision will not be regretted.

     Sincerely,

     Ava Dvoretz and Michael Dvoretz
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   April 14, 2018


   The Honorable Judge Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza
   East Brooklyn, NY 11201


   Dear Judge Matsumoto:


   I am writing to request your leniency in the sentencing of my "cousin -in-law" Evan Greebel.

   Evan is married to my cousin Jodi and I have known him for 12 years. I am aware of the gravity of
   the crime he was convicted of, but it is still hard for me to reconcile this with the man that I know,
   and I'd like to give you my perspective on who I believe the real Evan is.

   When I think of Evan, I think of two things: a man for whom family holds the greatest importance
   and a man of deep religious convictions. These two characteristics are central to my relationship
   with Evan over the years, as he believes not only in honoring the traditions of his Jewish faith but
   also sharing and them with friends and family alike. This is most evident in the pride and joy I saw
   on Evan's face over the last several years as he listened to his young sons,                       ,
   read the four questions for the first time at the Passover table. I look forward to his youngest
   daughter        giving him similar moments as she grows beyond toddlerhood.

   Perhaps most significant to me personally, is how Evan has made me a part of his immediate family.
   Since my brother and parents no longer live in the area, Evan has always gone out of his way to
   invite my wife and me to holiday celebrations with his own parents and siblings. These gatherings
   have been an important way for me to remain in touch with my own Jewish heritage when I really
   had no other friends or family with whom I could celebrate, and I am so grateful.

   I should add that my wife and I were not the only ones to experience such hospitality. These
   holiday gatherings were often attended by other "wayward souls." Childhood friends and friends of
   friends who have no other place to spend the holidays, all are welcome in Evan's home.

   I cannot give a full description of Evan, without talking about his relationship with my cousin Jodi.    I




   have always appreciated how well Evan treats her, as he's been a devoted and supportive husband
   throughout their marriage. Evan always seems to find a way to make Jodi laugh when we are
   together. And I was always impressed by how he supported her when she launched her organic
   toddler food service and continues to support all her other endeavors.
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   Judge Matsumoto

   April 14, 2018
   Page 2



   I hope that this gives you a better understanding of the Evan Greebel that I know: a loving father,
   devoted husband and a man willing to extend graciousness and hospitality to friends and family
   alike. Extending leniency to Evan is a decision that you will not regret.

   Respectfully,

   Etiaa 7,v -owe,
   Brian Dvoretz
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      May 8, 2018

      The Honorable Kiyo A. Matsumoto
      United States District Judge
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, NY 11201

             Re:     Evan Greebel

      Dear Judge Matsumoto:

      I have known Evan since 1995. I met him at the University of Michigan, through my
      husband. Indeed, my first date with my husband was with Evan and his girlfriend. I have
      no hesitation in saying that Evan is loyal, honest, trustworthy and kind. We have relied
      on his good judgment in both personal and professional endeavors for over 20 years. He
      has always cared deeply about my family.

      We attended Evan’s wedding to his amazing wife, Jodi. I know him to be a devoted
      husband and father to three beautiful children. Up until the last year, when he no longer
      was allowed to, he never missed one of our family’s milestones. He always makes
      himself available when we need him. We love him and his family, and our heart breaks
      for their suffering.

      We have seen firsthand how hard the last few years have been for him and his family. A
      sentence of any jail time would continue to punish a family that never has had any hint of
      trouble in the past. I hope that you keep this in mind, and I respectfully request that you
      be lenient in your sentencing of a good man.

      Sincerely,




      Lisa Entin
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   May 8, 2018

   The Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

          Re:     Evan Greebel

   Dear Judge Matsumoto:

           I write on behalf of Evan Greebel, one of my closest friends for almost 26 years. My
   hope is that with this letter, and the many others that you’ll receive in support, you will have a
   clear picture of a talented lawyer, great friend, better husband, doting son, loyal brother, and
   amazing father.

           Evan and I met my freshman year at the University of Michigan. Although he was a year
   older, we became fast friends, fraternity brothers, and apartment-mates. His parents became my
   “adopted” parents when they visited Ann Arbor, and his brother and sister were my siblings too.
   I had no issues introducing him to a friend of mine from Chicago, and they dated for almost a
   year. The first friend to whom I introduced my wife was him.

           While we initially bonded over common interests in Michigan football, hip hop music,
   raw cookie dough, and girlfriends who were attending colleges in Washington, D.C., his
   intelligence and drive became equally appealing. As two twenty somethings with successful
   fathers as attorneys, he also became a confidante and advisor, especially when I struggled during
   my senior year to commit to going to law school. Even though he was experiencing the
   pressures of his first year of law school, he always took my call, listened to my incessant
   ramblings, and called me on my hypocrisy. He didn’t oversell the experience (how could you
   during your first year), but he told me what I needed to hear. I would be exaggerating to say that
   he convinced me to take the LSAT after two occasions in which I had signed up but flaked out.
   But he certainly played a part in convincing me that I could succeed. This was just one of many
   times over the past two decades where I relied on him for personal and professional advice.

           After Ann Arbor, Evan and I never lived in the same city again. We remained close and
   visited with each other a few times a year. As a fellow attorney, I was impressed with his
   dedication to his profession and his clients. Once, I remember him telling me that he left work to
   watch the Yankees in the playoffs, only to return to the office after the game to work for a few
   hours. When we would see each other at Michigan football games, I was “horrified” to see him
   email clients in the middle of the game. Or take phone calls from clients as we tailgated. Or get
   a few hours of work in during his bachelor party. I haven’t met many attorneys who made
   themselves so accessible. I even think he enjoyed it.

           Evan comes from a great family. His parents are hardworking and generous. His brother
   and sister are incredibly successful. And then there is his wife, Jodi. She made him a better
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   person. As a couple, they are kind and charitable. Beyond being dear friends who have
   celebrated our family’s many simchas and mitzvahs despite living halfway across the country,
   they are great parents to their three children. I visited with Evan and stayed at his home a few
   weeks after he was indicted. No one would have blamed him for being depressed and moody.
   Despite beginning the worst period of his life, you never would have known the burden he was
   bearing when watching him interact with his children. He worshipped them, and they
   worshipped him.

           I have practiced labor and employment law for 19 years, which is my entire legal career.
   I never have handled a criminal case during that time. I have few memories of taking Criminal
   Law in law school. I don’t pretend to understand the subject matter which was before you for
   eight weeks last year.

           I do, however, remember that in order to be convicted of a crime, a defendant must have
   mens rea. In my opinion, Evan does not have a “guilty mind.” Based on his upbringing, his
   values, his integrity and strong moral compass, I do not believe that he would compromise a
   career that he worked so hard to build, all for a few hundred thousand of dollars in legal fees.

          The last three years have been a nightmare for a fine person. He and his family have
   been punished, unfairly in my opinion, for the crimes committed by a client. It is my most
   sincerest and respectful request that you take all of this into account when you consider his
   sentence for this undeserved verdict.

   With respect,



   Rob Entin
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   April 17, 2018

   The Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201


   Dear Judge Matsumoto:

   I am writing to ask for your leniency in the sentencing of Evan Greebel.

   By way of professional background, I am a 2002 graduate of Harvard Law School and chief
   investment officer for a family -office. I have known Evan for approximately fifteen years. Since
   his arrest in 2015, I have followed his case closely.

   Over the years, I have come to know Evan as a loving father to his children and a devoted
   husband. In the summers, Evan would sometimes visit my rental home with his wife Jodi and
   their children. There, I would see firsthand how Evan would attend to their every need, and
   how much joy they had just being together.

   Approximately five years ago, I experienced a significant change in career path. When I sought
   Evan's professional advice, he responded with patience and warmth. He guided me through the
   relevant issues and introduced me to other attorneys as well that helped ease my transition.

   Thank you for your consideration.



   Sincerely,




   Leeor Farhadian
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  The Honorable Kiyo A. Matsumoto
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

  Dear Judge Matsumoto:

  My wife and I had the opportunity to meet Evan and Jodi approximately 10 years ago through
  our daughter Samantha and son-in-law Jeff Reemer. Evan and Jodi have always stuck out
  among their peers as genuine, down to earth, and part of the foundation of their community.
  When our kids first moved to the same suburban town as the Greebel's they were very helpful to
  our kids in becoming acclimated to the area. They provided references and suggestions for home
  owner responsibilities and made many social introductions. They also helped to provide
  guidance in navigating the preschool process. For all of this, we will be forever grateful.

  Evan and Jodi are passionate and highly involved in their town, the kids' schools, and religious
  community. It is clear from the way their family operates that Evan strives, at all times, to be a
  good role model for his children. We have had the opportunity to be with and around Evan and
  Jodi at many family functions. For example, we had the opportunity to see them at an annual
  family Halloween party. A memory that sticks out involves the Greebel family tradition of
  collectively dressing up as the University of Michigan football team. Evan and his oldest son
            dress up in Khaki pants, a Michigan shirt, a hat and clipboard - matching the typical
  wardrobe of coach Harbaugh. It would be heartbreaking to see his kids without their "coach".

  As a seasoned Wall Street professional I have spent over 30 years building business and
  managing teams. I have learned that a business is only as good as its people. I pride myself on
  being a good judge of character and Evan is someone I would have on my team any day. It is my
  sincere hope that you can grant him some leniency in determining Evan's future.


  Sincerely,


               (




  Mark and Mindy Field
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                                        LAUREN FIELDS




                                                                            April 24, 2018


      The Honorable Kiyo A. Matsumoto
      United States District Judge
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, NY 11201

      Dear Judge Matsumoto:

              By way of introduction, my name is Lauren Fields and I am an attorney. I
      have known Evan Greebel since we were teenagers. We grew up in Scarsdale
      together and while Evan is three years older than me, his brother Robert Greebel
      was my classmate and a good friend of mine. Through my relationship with Robert, I
      got to know the entire Greebel family, including Evan. They are a very warm, kind,
      and close knit family.

             Evan and I both moved back to Scarsdale which has given us the opportunity
      to spend more time together in recent years. In addition to being hard working,
      Evan has always been a nice, caring person and a good friend.

              Just a few days before his arrest, Evan helped out my then four-year old
      daughter. It was around dinnertime on a Sunday night and my daughter's eye
      became so swollen that she could barely open it and was in a lot of pain. Given that
      it was a Sunday night, there were not many options of where I could take my
      daughter. She had previously seen Evan's sister, Gennifer, who is a local eye doctor.
      I called Evan to see if he could reach Gennifer so she could advise me where to take
      my daughter for immediate care. Evan was in the middle of a family holiday
      celebration with many extended family members when he took my phone call.
      Gennifer was at his house so he insisted that I bring my daughter over so Gennifer
      could help her. Even in the middle of a family event, Evan opened up his home to me
      and my daughter so she could get the help she needed. Evan came away from his
      guests to make sure we were ok and talked with us the entire time we were at his
      house. Evan is just that kind of a person. He is warm and caring and willing to help
      no matter what he is doing at the time. I will never forget that night for the help
      Evan and his family gave to me but also for the warmth and family closeness that I
      witnessed while at Evan's home.
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              I have known Evan for almost 30 years. He would be one of the last people I
      would believe to have carried out the behavior he was accused of. As a teenager,
      Evan was one of the nicest, most well behaved and hard working kids at our school.
      I have seen him work hard to become a successful lawyer as well as a wonderful
      father. Through the years, I have watched him be highly involved with his three
      children who love and adore him. I still can't reconcile the Evan that I have known
      for the past 30 years with the Evan who was found guilty. While I respect the legal
      system, given what I believe to be Evan's true character, I would encourage a lenient
      sentencing for Evan.


                                                       Sincerely,


                                                       Lauren Fields
Case 1:15-cr-00637-KAM Document 666-2 Filed 08/08/18 Page 64 of 149 PageID #: 21378




      May 1, 2018

      Family and Friends of Evan Greebel
      Re: Character and Leniency Letter


      Dear Judge Matsumoto:

      My name is Brooke Fina, and along with my husband Jeffrey, we want to strongly
      convey that Evan Greebel deserves leniency with regard to his sentencing. Jeff and I have
      known Evan for the past four years. We became friends with the Greebel family shortly
      after they moved to Scarsdale in 2014. We both have      year old boys in
      who have become good friends.

      We have spent a lot of time with the Greebels over the past four years. From standing on
      the sidelines of the sports fields cheering on our boys together, to attending birthday
      parties, we have witnessed Evan to be a very hands on, caring and loving father, husband
      and friend. His wife Jodi and their three kids mean absolutely everything to him. He
      would do anything for kids. His kids need their father around to help raise them into
      being good people just like their dad. They need to observe his charitable, good natured,
      hard working disposition.

      Evan is an integral member of our community. We both attend Temple Israel Center
      where Evan is an involved participant. We carpool our kids to                 together
      every week and we can always rely on Evan to help out with our son             We have
      spent time with Evan and Jodi during the High Holidays and at other events at our
      Synagogue. Sharing Jewish values and traditions with his family is something that is very
      important to Evan.

      Evan is a very devoted husband to his wife Jodi. When Jodi lost her brother Mark a few
      years ago, Evan was by her side, giving her all the support she needed to get through a
      sad and difficult time. Evan and Jodi and their kids have suffered after losing Mark and
      Evans indictment and conviction. They have been through enough challenges which is
      why we are strongly requesting leniency.

      Evan is a good, loyal individual. He should not be judged solely on the basis of the
      conduct that led to his conviction. His family needs him in their daily lives. It would be
      detrimental to them to not have him around. Any time that Evan is taken away from his
      family isn't fair. They need him. His family does not deserve to be punished. We strongly
      request you consider his good-natured character with regards to his sentencing.


      Respectfully,
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      Brooke and Jeffrey Fina
Case 1:15-cr-00637-KAM Document 666-2 Filed 08/08/18 Page 66 of 149 PageID #: 21380



                                            Mark I. Fisher




  April 18, 2018


  The Honorable Kiyo A. Matsumoto
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

  Dear Judge Matsumoto:

  I am writing this letter on behalf of Evan Greebel to urge you to show leniency in the sentencing
  of Evan.

  I have come to know the Greebel family through their membership over the past 10 years in
  Fairview Country Club, including having served on the Board of the Club for the past 2 years
  with Evan's wife, Jodi. I have personally observed the close-knit relationship between Evan, Jodi
  and their 3 young children. Evan is a hands on parent and, from my observation, devotes a
  significant portion of his time at the Club to his children. He limits his infrequent golf playing to
  the early morning so that he has the rest of the day to devote to his family. I have frequently seen
  Evan walking, hand in hand, through the Club with one of his children.

  The Greebel family has suffered tremendous tragedies in the past, including the suicide of Jodi's
  only brother. Imposition of a significant sentence would be devastating to the fabric of the family
  and I urge you to be lenient in imposing a sentence.

  Sincerely,




  Mark I. Fisher
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                   The Honorable Kiyo A. Matsumoto
                   United States District Judge
                   Eastern District of New York
                   225 Cadman Plaza East
                   Brooklyn, NY 11201


                   Dear Judge Matsumoto:

                             We are writing you on behalf of Evan Greebel to ask for leniency in his
                   sentencing. We currently live in Scarsdale where we raise our two sons
                         . Alex works in finance in New York City, while Lindsay, a former first grade
                   teacher, stays on as a homemaker. We met Evan and his wife Jodi approximately 3
                   years ago through our eldest son,                        .          and Evan's son                         attended
                   preschool together at The Westchester Reform Temple near our home in Scarsdale.
                   As                               became fast friends, we also have the pleasure of socializing
                   with Evan and his wife Jodi.
                             Evan has three children:                                                      . We know first hand
                   that Evan is an extremely hands-on father. Many times we witness Evan playing a
                   significant role in his children's daily lives, whether it be coaching their sports
                   teams, attending school functions, or accompanying one of them to another child's
                   birthday party. We see how involved he is with them day to day and feel it would be
                   a travesty for his children to be without their father. Many times I have picked up
                   my son from Evan and Jodi's home in which Evan is refereeing an impromptu
                   hockey game that Evan started with the boys.
                            We ask you to please think of Evan's family. He's a compassionate man with
                   a deep consideration to those he surrounds. Evan is our friend and we look at him
                   only as the amazing father and husband he is,                                                                 are
                   wonderful children who need their father. Please, for their sake, be lenient on Evan.


                                                                                                   Regards,



                                                                                                   Lindsay & Alex Forschner




PAGE 111   RCVD AT 7112/2018 6:14:52 AM [Pacific Daylight Time] ^ SVR:ALFAX0113 DNIS:3515230 CSID: DURATION (ifim-ss):00.35
                                   Case 1:15-cr-00637-KAM Document 666-2 Filed 08/08/18 Page 68 of 149 PageID #: 21382




  The Honorable Kiyo A. Matsumoto
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201


  Dear Judge Matsumoto:

  My name is Adam Forsted. I live in New York City and work in
  the investment management industry. I first met Evan almost 12
  years ago, in April 2006, at a sushi restaurant on the Upper East
  side of New York City.

 I had just started dating my then -girlfriend (and now my wife -
 we recently celebrated our 10th wedding anniversary) with her
 best friend Jodi and her then boyfriend Evan.

 We immediately bonded, w/ much in common as we were both
 big sports fans (he a NY fan, I am from Philadelphia), liked
 good restaurants and enjoyed thoughtful conversation. I
 appreciated his blunt candor, and liked that he was upfront and
 open and quick with a joke. In short, we were fast friends.

 Our friendship has evolved over the last 12 years as families and
 children have each changed our lives for the better, and we've
 grown to understand and relish the responsibilities and duties
 required of us as husbands and fathers and family members. My
 interactions w/ Evan over the last few years have taken place in
 large part with our families as he and his family moved to
 Scarsdale and we remained in the city.

 Our time together has included experiences ranging from
 extended weekends at my in-laws former home in West
 Hartford, CT, where Evan and I took our oldest sons skiing in
sub -freezing weather. We stood at the foot of Sundown Ski
Mountain for  an hour  and a half, in the  hopes  we  could  catch a
glimpse of our children long  enough    to get a picture, or video,  to
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show our wives, and have to remember how much pride and
pleasure we took from our children's time growing up.

I saw first hand how important that role was to Evan, and how
seriously he took it. He was always around to urge everyone to
go outside, and throw a football, or have chicken fights with the
kids in the pool at the Boca Hotel in Florida, and he was always
up for an extended Nerf War battle w/ our 4 boys (his 2 and my
2), in the hallway of my 8th floor apartment in the city.

He was there to accompany              (his oldest child) every
Saturday to the boys first music/sports classes at the 92nd Street
Y for the Mimi/Pepe class. He was there at soccer classes every
week on the Brearley School roof. He was there to teach tee ball
drills to our oldest boys in Central Park, while they blithely
chose to smash insects into the roots of the large oak trees above
rather than heed their dads teachings.

And he was there for Jodi as well. He helped set tables and pour
drinks for their guests at Shabbat dinners. He supported her
entrepreneurial talents as a chef/nutritionist/consultant. They
were the couple that was always first on the dance floor with us
at friends weddings , and last to leave. Evan and Jodi are a great
team, never far apart from each other, and always eager to be
around their friends.

No matter the occasion, Evan is always there to find the humor
and lighten the moment. His kids respond to that by seeking his
answers  and attention, and relishing the time with their dad.

Additionally, I've gotten to know his parents, brother and sister
very well at countless bris, birthday parties, shivas and kids
classes and Evans central role in their lives, as caretaker and
central planner, is obvious. He's the glue in the center of their
lives and his separation from his family would devastate them.
His children are still growing up, and the huge hole he fills as
husband, father, friend and teacher is irreplaceable.

Jodi,                           need Evan home, with them
where he belongs, in the center of their universe, as a family.

Thank you for your consideration                              .




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        The Honorable Kiyo A. Matsumoto
        United States District Judge
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, NY 11201


        Dear Judge Matsumoto:


        My name is Marissa Forsted. I am married and have 2 sons that are similar ages to the Greebel
        boys. I have a Master's Degree in education and run my own business teaching private art
        classes to children. I was fortunate enough to meet Jodi Greebel over 20 years ago when she was
        at Duke and I was at Syracuse University. I was one of her first friends to meet Evan when Jodi
        started dating him. I was a member of the Greebel bridal party and have known Jodi and Evan's
        parents and extended family for years. My family and I have spent holidays withthe Greebel
        family and weekends away together. They are warm, loving people and active and involved in
        their community.


       Jodi and I have been best friends for over 15 years, before our husbands were even a thought.
        But Jodi and I were lucky to each meet men who enjoyed each other's company. My husband and
       Evan became fast friends long before we were married and children were in the picture. But the
       catalyst that solidified our friendship bond was finding out that Jodi and I were both having boys
       just three months apart. These little boys were best friends from day one and they both had very
       proud, incredibly involved Dad's who were always hands on. (Evan is the king of throwing his
       son highest in the pool- as evidenced during our Christmas trips in Florida)


       He is a wonderful father, always ready to do whatever he could to make his children happy, and
       whole children adored him , and always approached him with smiles, ready for the quirky humor
       Evan was quick to use. He was always eager to instill good values in his 3 children like good
       sportsmanship, honesty, loyalty and kindness. I have witnessed him advising my two boys, on
       how to be loving and kind to each other. He is the epitome of a family man. He is a wonderful
       son, interested brother and loving husband.


       Jodi and Evan are both the oldest Of their siblings and have set an amazing example on how to be
       a close family. We all have admired their Sunday night family dinners where Evan and Jodi's
       siblings and spouses would all come together every week. It is rare in this day and age that you
       find people making this commitment to their family, so consistently. In this vein, Evan took the
       lead in showing his family how to love and support each other.


       In addition, he was a loving supportive friend when I needed him most- when my father died last
       November from Brain Cancer, Evan went out of his way to take my children when I needed a
       break, and he was quick to drive into the city, and take the boys as a respite to me. He was
       always there with a hug, or asking what he could do for us, to try and ease our pain.
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   He is a family man who makes his 3 children his true priority. It is his world!! Evan is the father
   who drives to meet my husband ones a month early on a Saturday morning so that our boys can
   see each other. Jodi will be running the other two children around for their activities. and there is
   Evan meeting us at Exit 4 off the Cross -Country Parkway in front of Applebee's w/
   ready to come to us for a sleepover. Evan makes it a point that our boys continue there close
   friendship as best friends no matter the time and effort involved. Evan has 3 amazing children
   that need him. What am i going to tell my son when he can't have his best friend visit because
   Jodi is too busy with the other kids. I ask for leniency in Evans sentencing, as Jodi and there
   children need him to be there to grow up around the vital energy and love that only he provides.




   Thank you,


   Marissa Forsted
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  Troy Foster
  PHONE

  EMAIL




  May 12, 2018

  VIA ELECTRONIC MAIL
  The Honorable Kiyo A. Matsumoto
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

            Re:    Leniency Request on behalf of Evan Greebel
  Dear Judge Matsumoto:

            I hope all is well with you. I write today on behalf of a defendant that is before the
  Court for sentencing, Evan Greebel. I have known Evan since we were summer
  associates together in the Fried Frank summer class of 1997. I was a first -year law
  student from California trying to feel my way through a professional environment for the
  first time, while Evan was a long-time New Yorker in his second year and much more
  seasoned in the ways of private law firms. Evan played the role of an informal peer
  mentor to me and helped me find my way in that summer. It was a kindness that I have
  never forgotten.

         Our paths diverged after that summer as Evan remained in New York and I moved
  on to a clerkship on the Ninth Circuit and a California law firm following my graduation.
  However, we did engage in a similar type of practice, working closely with founders and
  CEOs of companies to help them in fund raising and other types of transactions.
  Unfortunately for Evan, one of his clients appears to have been bent on engaging in
  criminal activity and dragging Evan unwittingly into his plans.
         As a practicing lawyer, I know well the pressures to perform in the setting of a
  large private law firm. The firm where I am currently a partner has over 1,000 attorneys.
  The velocity of our practice requires trust. We have to trust that our partners in


   130249403.1
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  May 12,2018
  Page 2


  specialized practice areas are giving sound guidance. We have to trust that our associates
  are performing the tasks that we assign them with diligence and due care. And, most
  importantly we need to trust our clients to give us accurate information and conduct
  themselves in accordance with the standards of basic decency. Evan's client apparently
  failed on every count, and the resulting fiasco swept Evan up into this case.

         Without trying to relitigate the merits of Evan's case, I am requesting that the
  extenuating circumstances of Evan's situation be considered. I have known Evan to be
  an upstanding citizen, a good father, devoted husband and committed professional. I do
  not believe that there will be any good that comes out of Evan serving a long prison
  sentence. I expect that upon his reentry into society he will have a positive contribution
  in the community. Speaking of which, if community service were in any way a
  possibility, I would urge you to give strong consideration to that option. Evan is affable
  and gregarious and would be particularly effective, I think, in connecting with young
  people; sharing his story as a cautionary tale. In closing, I want to thank you for your
  time in considering this request. I am deeply saddened by this situation but also hopeful
  that some good may yet come from it if the Court is inclined to show mercy to Evan.




                                                Troy Foster




  130249403.1
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                                           Eric Friedland




      April 30, 2018

      The Honorable Kiyo A. Matsumoto
      United States District Judge
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, NY 11201

      Dear Judge Matsumoto:

              I am writing on behalf of Evan Greebel. He and I met in the Fall of 1993 at The
      University of Michigan. We were fraternity brothers in Tau Kappa Epsilon, and as he
      was a year ahead of me in school, he was assigned to be my "big brother" in the
      fraternity. Our friendship was such that we roomed together in a two -bedroom apartment
      the following year.

              As both his friend and roommate, I knew Evan to be conscientious and
      dependable. All of us in the fraternity recognized Evan's responsible nature, and were
      aware of his career aspirations as an attorney. Accordingly, while he was not a formal
      officer of the chapter, we created a special position for him - he was designated the head
      of "risk management," consistent with his character. I specifically remember one episode
      where, in his specially -designed role, Evan intervened to ensure the safety of several
      young men. There was an event that was constructed to keep members of the fraternity
      outside for hours at a time. The scheduling of this event coincided with historically low
      temperatures in Ann Arbor in January, 1994. Rather than maintain the long-standing
      tradition of the event, it was Evan's decision to break the custom and hold the activities
      indoors, precluding the group from exposure to unnecessary harm and preserving their
      well-being.

              Like many friendships, ours grew apart after college. We largely lost touch, and
      I've seen Evan only a handful of times in the past two decades. Through our brief
      interactions and mutual acquaintances, I know Evan to be a loving husband, father, son
      and brother. While I cannot speak to his legal situation, I humbly ask that Your Honor
      consider leniency when imposing his sentence. Thank you for your consideration.

      Respectfully,




      Eric Friedland
Case 1:15-cr-00637-KAM Document 666-2 Filed 08/08/18 Page 75 of 149 PageID #: 21389



FA0       ALV    ORIN
          MANAGEMENT

      May 1st, 2018



      The Honorable Kiyo A. Matsumoto
      United States District Judge
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, NY 11201



      Dear Judge Matsumoto:


      My name is David Gallo, and I have been a friend of Evan Greebel's since 2010. I know Evan
      through his younger brother Rob, who is a very close friend of mine, and through Evan's younger
      sister Gennifer, who I also know quite well. I run a large New York -based investment firm called
      Valinor Management which I founded in 2007, several years after graduating from Harvard
      Business School.

      While Evan isn't a very close friend, I have had many interactions with him because of my close
      relationship with his brother Rob. Evan has been to my house many times, we have played
      sports together, I've been to "Greebel family" occasions with him, and so on. I've witnessed very
      closely how he's treated everyone around him. He has always been kind, warm, ethical,
      generous, and helpful. I've also watched how he is with his three children (a wonderful father),
      how he treats his wife Jodi (like gold), and how he treats his siblings (like best friends). In fact,         I



      believe he allowed his brother Rob to live on his couch for nearly a year when Rob first became a
      practicing attorney in New York City, something I don't think I would do for my own brother!

      Importantly, as a professional investor for nearly 23 years - and one who makes "long"
      investments but also shorts stocks - I have been trained to judge the integrity (or lack thereof) of
      management teams, and have been practicing this skill for my entire career. I can tell you that in
      my judgement, I have never seen - ever - anything that would lead me to even slightly question
      Evan's ethics, honesty, or integrity.

      I therefore would humbly ask that you consider leniency in your sentencing of Evan. I believe
      society would be better off with Evan's active participation in it, and you would not regret this
      decision in the future.


      Sincerely,



      David Gallo




          510 Madison Avenue 125th Floor   I   New York, NY 10022   I   p: (212) 918-5226   I   f: (212) 918-5246
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  The Honorable Kiyo A. Matsumoto
  United States District Judge
  Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

   Dear Judge Matsumoto:

   I first met Evan in the spring of 1997 at Georgetown Law School. I was introduced to Evan in
   the strangest of circumstances: during the first semester of my first year of law school, I was
   the victim of a crime in my apartment building in Washington, DC. Not wanting to remain in
   my apartment after the incident, I tried to find alternative living arrangements as quickly as
   possible. I was alone, in a strange city, far away from my family and I suddenly found myself
   needing a new apartment quickly.

   Evan, overhearing my situation from a mutual friend, reached out and notified me that there
   was an apartment available in his building. Without really knowing me at all, he helped
   facilitate the rental, box up my apartment and move my belongings from my old apartment to
   the new one. And as if that wasn't enough, Evan also walked me to my car in our parking
   garage for months so that I did not have to walk there alone. All of this effort from someone
   who barely knew me and it was done all out of the goodness of his heart.

   We continued to remain very good friends for the remainder of law school, often communting
   to class in the morning and studying together in the evening. I would say that we were as close
   as two friends could be who were not romantically involved. Throughout that time I always
   viewed Evan as smart, honest and loyal. He always exhibited good judgment and impeccable
   character. He was always the one lending a hand or helping others.

   Over the past 20 years I have been lucky enough to remain friendly with Evan and have also
   gotten to know his wife, Jodi and their three beautiful children. Individually and as a family,
   they are generous people who contribute their time to the community.

   I hope that you will take into consideration Evan's lifelong love for his family, generosity and
   kindness during sentencing. Thank you for taking the time to read this.

   Sincerely,

   Lisa Gans
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   To: The Honorable Kiyo A. Matsumoto
   From: Barbara Gattuso
   Date: April 26, 2018
   Re: Evan Greebel


   Dear Judge Matsumoto,

   July 14, 2007 was such a happy day for me and my family. My niece Jodi was
   going to walk down the aisle with the love of her life- Evan Greebel. They had
   been dating for several years, and our family had grown very fond of him. Evan
   was to become my nephew, and I couldn't have been happier. He was a
   respectful young man who was there for all the holidays trying always to be as
   helpful as possible.

   That was many years ago, and now they have three beautiful children of their
   own. Evan has been a loving and kind husband and father. That love and
   kindness was shared also with extended family. I remember that he was in
   charge of the Fourth of July bonfire. He gathered all the cousins and helped
   them roast marshmallows. He took great pleasure in being in charge of this task.
   We adults were impressed watching him safely organize the children and the
   kindness he extended to the children.

   I am asking you, as the judge, to grant Evan leniency. His children need to have
   a father present at this time in their lives as they develop and go forward. Having
   their father's love and kindness can only support them to be loving and kind
   themselves as they mature.

   I do not take lightly your decision to grant leniency, but I also share that you will
   not regret granting leniency to this young man.


   Respectfully,




   Barbara Gattuso
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Case 1:15-cr-00637-KAM Document 666-2 Filed 08/08/18 Page 79 of 149 PageID #: 21393




                            JAMES B. GLUCKSMAN, ESQ.
                                           (01 \ SEI I OR AT LAW
                                      100 BRUSH HOLLOW CLOSE
                                  RYE BROOK, NEW YORK 10573
                                     jbglucksman@yahoo.com
                                          (914) 482-4033
                                      FACSIMILE (914) 305-4967

                                            July 16, 2018

  The Honorable Kiyo A. Matsumoto
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

         Re: Recommendation for Leniency for Evan Greebel

  Honorable Judge:

  As a long-time friend of the Greebel family and a professional colleague of Charles Greebel. the
  Defendant's father, I strongly recommend leniency for Mr. Evan Greebel. I know the family
  from membership in the synagogue. my long-term involvement in the Scarsdale community,
  where I grew up, and from a social club.

  The family is tightly knit, and has a sterling reputation in the community. Unfortunate things can
  happen to people, and it is my experience and belief that this is one of those circumstances. His
  education, training and overall good faith and intelligence can be put to use in community
  service, for the benefit of the People.

  Mr. Greebel is a man of his family and community.My view is that Mr. Greebel has suffered
  significantly for his involvement with an individual who was not a person of honesty. The
  punishment benefits no one and I believe there is little chance of another offense.

  Please strongly consider the minimum possible sentencing, in view of the foregoing.

                                                 Respectfully submitted:



                                                  ames B. Glucksman, Esq.
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                                           Monique Blanco Goihman




   May 1, 2018


   The Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201


   Dear Judge Matsumoto:

   I write to you as a friend of Evan Greebel's family. I have known Jodi, Evan's wife, since college, and we
   have remained close friends for nearly 20 years. I met Evan when they started dating, which was while I
   lived in New York City. What struck me upon meeting Evan was how similar his and Jodi's backgrounds
   were. Both come from warm, close-knit families, had the same religious upbringing and have parents
   who were professionals but also dedicated to their kids. It was only natural for them to emulate this
   dynamic when they eventually grew their own family.

   As a husband, Evan has given his all to Jodi, both emotionally and professionally. A few years ago, Jodi
   endured a significant tragedy when she lost her younger brother. Evan provided immeasurable emotional
   support for her during her grieving, and he also stepped in to help as necessary in the day-to-day care of
   their young children at that time. He has been a pillar of strength for her in the trying times they have
    faced together.

    As their family has grown, Evan has consistently shown the same dedication to his children. His
    weekends are spent at sports games and birthday parties with his kids. We have spent time with them as a
    family when they've come down to Florida, and Evan has consistently shown that he is a devoted father
    and husband. It has been particularly notable to me that despite the stress they have been going through,
    and no doubt, their concern over the pending sentencing, Evan and Jodi have gone out of their way to
    make sure their children can continue to live their lives as normally as possible. It is exemplary of Evan's
    character both as a father and as a person.

    I am writing this letter in an effort to demonstrate the kind of man Evan has always been, and in the hope
    that it can help convince you to grant him leniency in his sentencing. Evan is a devoted family man and a
    valuable member of his community, and I can comfortably say that, should you decide to grant him
    leniency, you would not regret it - and his wife and young children would undoubtedly appreciate it
    tremendously.

    Thank you very much for your time and consideration.

    Best regards,




    Monique Blanco Goihman
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      April 21, 2018

       Katy Goldman




      The Honorable Kiyo A. Matsumoto
      United States District Judge
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, NY 11201

      Dear Judge Matsumoto:

      I am writing to ask for leniency in the sentencing of Evan Greebel.

      My name is Katy Goldman. I am a stay-at-home mom and my husband, Neil, is an
      attorney. Jodi Greebel and I met in Scarsdale in the fall of 2014 and I met Evan soon
      thereafter.

      I know Evan to be a committed father, very involved in his children's lives. I've seen
      him at Little League games, cheering on his son,          , and I've also seen him at
      the playground goofing around with his other son,             The kids are always so
      happy to have Evan there, and it shows by their big smiles.

      I also know Evan to be an incredibly supportive husband to Jodi. When Jodi's
      brother passed away unexpectedly a few years ago, Evan was there for Jodi
      throughout that unimaginable tragedy. I don't know how Jodi would have gotten
      through that time in her life without Evan's support.

      More recently, I've seen Evan attend various functions at our synagogue, Temple
      Israel Center of White Plains. Our children are in religious school together and
      they've had several events this year, which include family involvement. Evan has
      been there to support            along with Jodi,          and their daughter

       I am aware of Evan's legal situation and I support him anyway. It has already taken
       a tremendous toll on him and his family.

        i)qcerely,
       f    ,




           aty Goldman
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       April 19, 2018

       The Honorable Kiyo A. Matsumoto
       United States District Judge
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, NY 11201



       Dear Judge Matsumoto:

       My name is Todd Goldring and I am writing this letter on behalf of my good friend, Evan
       Greebel. I am a Director in Equity Sales at Citigroup.   I   have had a social relationship with Evan
   for nearly 10 years, am friends with his wife, Jodi, and have children of similar age as his
   children.

   I knew from the start that there was something really unique about Evan. I watched what a
   loyal and doting husband he was and what a wonderful father he became to his three children.
   He stood by his wife and was her rock to lean on as she went through an incredibly difficult
   time with the sudden passing of her brother. What makes a man in my opinion is not how they
   handle success but rather how they handle themselves in times of adversity. I have seen Evan
   endure obstacles in his life during the past decade and could not be prouder to call him my
                                                                     I




   friend. have searched long and hard for serious flaws in his character and he has shown time
               I




   and again that he is caring, loyal and good-natured.

   Importantly, he has been a caring friend while I endured my own personal challenges. Over the
   course of the past few years, my wife and separated and then divorced. As anyone going
                                                     I




   through such a situation knows, there were periods of anger, frustration and disappointment
   for me. Through it all, Evan was a supportive friend who helped lift my spirits and for that I am
   grateful.

   Ilast saw Evan a couple months ago while we were together with our children. Despite the
   challenges he has faced and those that are ahead of him, he was surprisingly upbeat and in
   good spirits. His attitude and approach is inspiring to me.

   I    hope that you can see the good man that is before you during sentencing and respectfully
   request you grant him as much leniency as possible. He loves his family, his friends and life very
   much. His absence from my life and that of many others would be very unfortunate - he has a
   lot to offer. Thank you for taking the time to read this.

   Sincerely,



   Todd Goldring
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     The Honorable Kiyo A. Matsumoto

     United States District Judge

     Eastern District of New York

     225 Cadman Plaza East

     Brooklyn, NY 11201



     Dear Judge Matsumoto:

     My name is Jeff Gorman and Evan I met about 18 months ago when my wife and I moved our family to
     Scarsdale, New York. My wife and I met Evan and his family shortly after settling into our new
     community and I realized extremely quickly that Evan was an individual I could relate to. Why was Evan
     someone I felt I could be friends with? Why did Evan leave such a positive impression on me? Evan
     attended the University of Michigan, like I did, and we immediately connected in regards to our passion
     for the University, what the school offers in terms of academics and sports, and the values it instilled in
     us to be successful in life both professionally and personally. It was this common bond that allowed
     Evan and I continue having fruitful conversations every time we encountered each other, whether
     planned or unplanned. Essentially, it wasn't too long after meeting Evan that I considered him one of
     the first friends that I met in my new community. It was then gut wrenching to learn about Evan's legal
     situation, but the first impression can leave a lasting impression, and my impression of Evan was that he
     is an honorable, honest, person and a committed father and friend.

     Evan grew up in the Scarsdale. When I moved into my new home, the outside staircase we have leading
     down to the door that allows for entrance into our basement, was not protected by an enclosure with a
     gate. I spoke to Evan with respect to this situation and he immediately agreed that this was something
     that should be fixed for the safety of my children. Why did I approach Evan? He has children of his own,
     and from prior conversations I had with him, I knew that he valued the safety of his own children.
     Secondly, as a long-time member of the Scarsdale community with a vast network of friends, family, and
     business associates in the area, I felt that he would be the best individual to make a recommendation in
     regards to someone that could make the required repairs to my home. Upon speaking with Evan, he
     agreed that this was super important for the safety of my family. Evan legitimately stopped in his tracks
     to help me. I truly believe this story illustrates just how good of a friend and father Evan is.

    Over this past winter, I had the luxury of coaching little league basketball with Evan. His son,
    and my son,          are the same age and have become friends as well. In fact,          had his first ever
    sleepover at the Greebel's home. Evan was the head coach and I was the assistant coach. Both Evan
    and I played basketball growing up and understand the fundamentals of the game. Watching Evan in
    action was a pleasure. While coaching these young boys, it was blatantly obvious to see Evan's supreme
    qualities shine through. Evan is a great teacher, father and leader. He is funny and passionate, and
    through the season, whether at games or practices we held, the team had fun. Evan kept the
    environment tailored to third grade boys. There was never a moment in time where I felt that the boys
    were not enjoying themselves. In the end, it was Evan's personality that allowed these boys to begin
    loving the game of basketball. There is no doubt in my mind that each player will be returning for fourth
    grade basketball, in large part, thanks to Evan.
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     In the time I have known Evan, he has truly demonstrated to me to that he is fantastic person. He
     values being a good friend, father, and husband. He immediately played a part in making my family feel
     comfortable in Scarsdale. I ask the court to show leniency in regards to Evan's case. Such a decision will
     not be regretted.

     Best Regards,

     Jeff
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     The Honorable Kiyo A. Matsumoto

     United States District Judge

     Eastern District of New York

     225 Cadman Plaza East

     Brooklyn, NY 11201



     Dear Judge Matsumoto:

     My name is Marne Gorman and I am a friend of Evan and Jodi Greebel. We moved to Scarsdale about 18
     months ago, and before we moved the Greebel's were one of the first families we met in our new
     community. We were at visiting day at a new camp that our son was attending to try and acquaint him
     with kids he would be going to school with. During the chaotic visiting period, Jodi and Evan made an
     effort to seek us out, welcome us to town, and let us know that their son,            was excited to meet
             and they looked forward to including him and us. We were very nervous to be moving our son in
     the middle of elementary school to a new area, with new friends, and I will never forget the relief their
     kindness made me feel.

     The Greebel's have been wonderful friends and made us feel welcomed before we even moved. I was
     shocked to learn of Evan's situation as my impression of him and Jodi was immediately positive. I was
     also moved that people dealing with so much would go the extra distance to show compassion and
     interest in others. Regardless of what they are dealing with, Evan and Jodi are always quick to ask how
     we are and to offer their help in any way. Evan coached our kids' basketball team with my husband and
     he was always positive and encouraging for the kids. We have spent a lot of time with the Greebel's and
     their kids,                                 -they are each kind, fun, and happy children -a true
     testament to their parents. This was the reason that we were extremely comfortable and excited for
              first ever sleepover to be at the Greebel's home. He had the best time and we never worried for
     a minute.

     In my opinion, the Greebel's are kind, caring and honest people and I have no doubt that Evan has had a
     positive impact on the community, his children and friends. I am confident that the court will come to
     the same conclusion and allow Evan to be home with his family, where he belongs.

     Respectfully,
     Marne Gorman
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   The Honorable Kiyo A. Matsumoto
   United States District Court
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

   Dear Judge Matsumoto,

   I am proud to tell you that Evan Greebel is my 1st born son. I have been at every
   appropriate court appearance, except when I was needed to take care of Evan’s and
   Jodi’s children, my grandchildren. I was the oldest lady who sat in the front row on
   the aisle. I watched your honor listen to the same testimony that I listened to and I
   sobbed uncontrollably with disbelief when I heard the verdict. I would like to tell
   you more about Evan and our family and beg you to be as lenient as possible. We
   are a family of unassuming people who are not famous celebrities or politicians.
   Evan is not a threat to any society and he is urgently needed by his wife and 3
   young children at home. Since his arrest, he has suffered every second and has lost
   his means of support.

   Through the first computer dating service “Operation Match”, I married the man of
   my dreams. Charles is caring, intelligent, and hard-working. He enjoys being with
   his family and friends. As a graduate of Syracuse Law, he is a sole practitioner who
   engages in family and general law. We bought a fixer-up house with a shared
   driveway on a tiny piece of property in Scarsdale. We wanted Evan as well as his
   brother and sister to benefit from attending a nationally ranked school system.
   Every morning Charles took Evan to elementary school, sometimes by sled, as a
   safety precaution. Charles always volunteered to coach Evan’s sports teams and
   rarely missed a school function.

   My father Irving was a well respected attorney in New York City and Westchester
   County. As a graduate of Brooklyn Law School he defended the average worker or
   professional. Irving’s father died when he was in his twenties and he became the
   sole support for his mother and his three siblings. When his Grandfather Irving
   died, Evan became very protective of his Grandmother Lucille. Since they had a
   strong familial bond, it was natural that she relied on his wisdom and strength after
   she was diagnosed with lymphoma for the 2nd time. Evan’s grandmother was first
   afflicted with lymphoma in 1980. There was no known cure. She enrolled in a
   clinical trial, her only hope. The medicine worked! My mother was a test subject
   for an experimental drug that has saved hundreds of thousands of lives all over the
   world. Nineteen years later, the disease reoccurred with a vengeance, but she had
   developed an immunity to that 1st magic bullet. At that time, Evan was a young legal
   associate. We hoped that a new drug, Retuxin would cure her and be her 2nd magic
   bullet. Unfortunately, Evan’s valiant Grandmother died within seven months.

   Evan loved his grandparents and my mother was his last surviving one. He
   witnessed the benefits of innovative medical treatments. He recognized how they
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   could help families and loved ones. Evan knows that Retrophin is the type of
   company we all want to succeed. He worked tirelessly and unselfishly to support
   the growth of this company that is searching to cure many orphan diseases. Let us
   hope that Retrophin succeeds in discovering so many needed magic bullets.

   Sitting here today, I wish I had taught Evan the skills required to detect a fraudster
   or a liar. Martin Shkreli created Retrophin; without him the company would not
   exist. As one would hope, Evan consulted with many, well-respected legal partners
   in his law firm on behalf of Retrophin and represented the company to the best of
   his ability. His advice and legal actions saved the company millions of dollars
   which would have been spent on numerous expensive, legal proceedings.

   Evan worked overtime and during many holidays for the benefit of Retrophin. He
   worked for the company when his wife was in the hospital having a baby and on
   vacations. While he was attending his brother’s wedding in Pennsylvania or with
   his family on the weekends, he was summoned to do company business. He
   engaged in company discussions during his children’s and wife’s birthdays as well
   as school functions. Most lawyers are not this conscientious and do not sacrifice so
   much for their client. When Evan was hired to represent Retrophin, he was not
   aware of Mr. Shkreli’s unsavory character. He did not realize that an acknowledged
   genius had lied to him or had duped so many investors and employees. My son has
   always pondered his decisions; when he was uncertain he sought the advice of
   others. Evan rightfully relied on his mentor, Howard Jacobs, and other brilliant
   attorneys to provide information and legal documents so he could further
   Retrophin’s legal interests; now, however, he is being punished. As a member of
   the community I question the jury’s verdict.

   Every day, Evan makes me proud to be his mother. As I look back, I realize that I
   never received a dreaded note or phone call about his behavior. My son is the
   oldest of 3 and lives his life as an example to be emulated; a model for his family,
   peers, and colleagues. Evan went to a Jewish preschool for 2 years and started
   religious school in 1st grade. There he learned the meaning of charity and brought
   Tzeduakah (money for the needy) weekly. He became a Bar Mitzvah at Temple
   Israel in White Plains when he was 13. We joined a second synagogue so Evan
   could be confirmed at 15. There he helped rekindle and attend a special high
   school program under the guidance of Rabbinic Intern Aaron Panken. Through this
   program Evan went on many midnight runs to feed the poor. Rabbi Panken was
   selected to be the President of the four campuses which comprise the Hebrew
   Union College. Horribly, he died May 3rd in a single-engine plane crash at the age of
   53. Evan was a member of Aaron’s high school trip to Israel. Rabbi Panken always
   said he was a valuable member of the group and he was grateful that Evan was on
   his trip because of his kind disposition, maturity, and trustworthiness. In addition,
   he relied upon Evan to help manage the other participants and appreciated his
   inquisitiveness and knowledge.
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   Evan was an active Cub Scout for three years and played the violin and the drums.
   While in 4th grade his music teacher required the band to learn the University of
   Michigan fight song. Evan was very upset because his father had graduated from
   its rival college( Michigan State), but he didn’t complain to or criticize his elder.
   Seventh grade may have been the start of Evan’s legal career. Remember Ryan
   White? Ryan was diagnosed with AIDS and was denied his right to go to school.
   Evan chose to defend Ryan during a social studies mock trial. RYAN LOST! Ryan
   would never sit in a classroom with his friends again. EVAN LOST, but won. Evan
   saw the injustice and absorbed the workings of our legal system. His legal path was
   set.

   Evan was the 1st young man in our family to earn the rank of Eagle Scout. He
   proved he was exceptional and as a selected assistant troop leader he mentored
   younger scouts. With the cooperation of the liaison to Andrew O’Rourke, the
   Westchester County Executive, Evan created the Westchester County Historical
   Trail booklet, medal and patch as his Eagle project. Then he was chosen the New
   York State winner of the Sons of the American Revolution’s Eagle Scout Award. The
   award, which is based on his patriotism as well as his knowledge of American
   History and genealogy, was presented at a luncheon at West Point. His twelve inch
   high, brass eagle still sits prominently in my home and he used the monetary award
   for college. Through determination and perseverance, Evan has always been able to
   do his best.

   Since childhood, Evan has demonstrated the personality traits and moral character
   that we hope our children will exhibit. As parents, we try our best to be excellent
   role models for them, in hopes that they will become worthwhile citizens who will
   contribute to the future of our society and aide those in need. Evan interacts with
   people and conducts business every day as a man of integrity and honor. Despite
   his conviction, I know that Evan is still that man and is an asset to his community.

   Evan has always selected the correct path and is a man on whom people can
   depend. One late night, when he was a freshman at The University of Michigan, his
   friend became violently ill. Despite the hour and having class early the next day,
   Evan brought her to the hospital’s emergency room and stayed with her until the
   doctors completed her treatment. At Georgetown Law, he studied diligently to
   grasp the intricacies of the law and how to apply them. Using his legal knowledge
   and skill, he spent countless hours defending the indigent in a special legal
   program. During that time, he read his legal notes to a blind student so she could
   complete her degree. Additionally, for many years he has been mentoring new
   entrepreneurs so they could start businesses in Israel in order to earn a living.

   Before this, Evan had never been in trouble, not even in camp. He is an astute,
   responsible person. When he was 7 years old, he discovered that his 4 day old
   sister had an elevated fever. Through his detection she was administered life
   saving medicine for meningitis and put in quarantine at White Plains Hospital. He
   was the hiker at the back of the group who helped the stragglers. He was the Red
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   Cross life guard who taught swimming to beginners. He was chosen to be the camp
   bus supervisor because of his engaging personality and his ability to entertain the
   young campers with songs and games. Evan succeeded in sports through hard
   work and practice. Every teammate knew he could be relied upon to persevere and
   do his best. When the varsity track team needed a third high hurdler, Evan joined;
   not because he was a skilled athlete, but because he was needed.

   December 15, 2015 changed all our lives. Charles and I were in Florida and then
   the unthinkable happened; our son was arrested. That morning, we returned to
   Brooklyn to stand with our son. As the charges were explained, I choked up and
   almost fainted when I signed the document that pledged our home as collateral.
   We raised an ethical, law abiding man. He has always worked admirably with his
   colleagues and for the best interests of his clients. He is not a kidnapper, murderer,
   embezzler or drug kingpin. I love my son dearly and everyone he meets wants to
   be his friend.

   Your honor, please vacate Evan’s guilty verdict. I think it was clear from all of the
   evidence that he had no intention to break the law or commit a crime. He never
   acted in a sinister or self-serving manner. While this may sound unorthodox, it is
   with tears in my eyes that I beg you to allow me to carry out your sentence in place
   of my wonderful son, Evan. I am 72 years old and have had a fabulous life;
   fortunately the recipient of unconditional love and support from my whole family.
   When Charles and I needed financial help, Evan provided assistance for years, even
   though he went with less. Evan’s family needs him. His 3 young children
                                   need his excellent guidance and love. His wife Jodi
   needs his support and care. I am a good cook, organizer and a very competent
   Reading/Learning Disabilities Teacher. I would be an asset to prison life. I could
   run an educational program, teach computer research or work in the library.

   If you truly believe in your mind and heart that he must be punished, please be
   extremely lenient. Evan has lost so much already. He resigned from his law firm
   and has worked sporadically for the past 2.5 years; never as an attorney. Due to his
   felony conviction, you know he will be disbarred and a dismal future looms over
   him. Please use your discretion and consider probation. Our society may be better
   served if he is allowed to remain at home performing community service to aid the
   poor, write grants for non-profits, help Governor Cuomo’s projects in Puerto Rico,
   assist with public housing, etc. Evan is not a danger to the public and he needs to
   be able to earn a living in order to keep his family off welfare, Medicaid and other
   public assistance. Rather than the Federal government wasting a substantial
   amount of tax-payers’ money on his room, board, clothing, transportation, personal
   items, medical treatment and supervision, please let him stay with his family, serve
   those in need and support those he loves.

   Please show your compassion and impose a sentence that will not tear his family
   apart; you will not be disappointed. You have seen him behave as a respectful man.
   Currently, he is under area arrest and always abides by your guidelines. A few
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   times he received your permission to travel outside your jurisdiction and he
   proved himself to be trustworthy. He did not take advantage of your kindness or
   authority. He was content, but disappointed to miss many life-cycle events even his
   best friend’s daughter’s Bat Mitzvah.

   If you are absolutely convinced that he must go to prison, please consider a prison
   camp for a very short period. Medically, he suffers from numerous food and air-
   born allergies. He needs to receive routine allergy shots and to know the specific
   ingredients in his food. I fear for his safety. He never engaged in martial arts or
   contact sports such as football. I am petrified that unsavory characters will prey
   upon him for their own demented purposes. We practice Judaism and Evan is a
   devoutly, religious man. Please, your honor, he needs to be in a camp with kosher
   food and a Torah so he can continue to reverently pray with his tallis around his
   shoulders to our God.

   I know your honor will consider all the facts and reach a fair and just decision.
   Thank you for your time.

   Respectfully yours,
   Barbara Greebel
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      July 9, 2018

      The Honorable Kiyo A. Matsumoto
      United States District Judge Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, NY 11201


      Dear Judge Matsumoto:

      This is a letter that in my worst dreams I never thought that I would ever have to
      write. I have often written to the Court as a practicing attorney for nearly 50 years,
      but never has it been this hard. I am, however, honored and privileged to write to
      you, your Honor, in support of my son, Evan L. Greebel, and request that you impose
      the most lenient sentence possible. As you may have noticed, I attended
      every hearing and every day of trial; I was there as a concerned father, proud
      member of the New York State Bar and former Chair of the Westchester County
      Bar Association Matrimonial and Family Law Section. I can assure you that you will
      never regret the decision to be lenient because Evan is a supportive, empathetic, and
      honest person who is a tremendous asset to our community.

      I appreciate, in advance, your patience as I would like to share who Evan is today
      and how he has been the same person since childhood. During the course of Evan’s
      trial, I am sure that your Honor saw all of the support he received from members of
      the community. In addition to people who attended from New York, Connecticut
      and Pennsylvania, friends and supporters flew in from California, Florida, Illinois
      and Michigan. They did this because of the positive impact Evan has had on their
      lives and to show how much he means to them. As I will try to explain in
      this letter, Evan worked hard and was successful while at the same time he did the
      right things and spent much of his life helping others and making their lives better.

      My daughter-in-law, Jodi, had a younger brother named Mark. In August 2015,
      approximately three months before Evan’s arrest, Mark suddenly and unexpectedly
      died. He was in his mid-20s and his whole life was ahead. Jodi, like many older
      sisters, was part best friend and part mom. Mark was an intelligent and
      compassionate person who cared about everyone he met. Mark was more than a
      brother-in-law to Evan and despite their 14-year age difference, the two had a very
      close relationship. It is hard to explain the magnitude of this event on Jodi, Evan and
      Jodi’s children, her extended family and our family. To lose any family member
      suddenly is tragic. It is particularly painful when they are young and have a bright
      future. Following Mark’s death, Evan was focused on helping Jodi survive each day
      as she tried to process her brother’s death. Evan also had to care for his two sons,
                               , because Mark’s death has had a profound impact on them.
                 was when his uncle passed away and Evan was forced with the
      unfathomable task of trying to explain to            what happened to his uncle.
                 was not even when Mark passed away, and as a parent and grandparent,


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      I can tell you, it is impossible to explain death to a child that age. Nevertheless, Evan
      tried and despite his efforts,            spent almost a year trying to find his uncle or
      understand where he went. For months, Evan focused on his wife and her parents,
      trying to help them confront each day.

      Mark’s sudden and unexpected death has been an overwhelming event for
      everyone. While Jodi was beginning the grieving process for the death of her
      brother, Evan was arrested. As a result of the combination of Mark’s death and
      Evan’s arrest, Jodi never really had the chance to enjoy the birth of        their
      daughter, or properly grieve the loss of her brother. With Evan unable to practice
      law, Jodi has had to assume additional burdens to help with family financial matters.
      All of the pressure and stress has unfortunately taken its toll on everyone,




      I mention all of this because I was not surprised Evan became the shoulder for his
      wife and in-laws to lean on. Jodi and the children need their husband and father to
      be home with them. In my view,


                          By way of background, during my career, I have been a law
      guardian on numerous occasions in multiple family law matters. I understand the
      impact of a parent being incapable of raising minors and I do not make such a
      statement lightly, Evan, is, and has been Jodi’s primary means of financial support as
      well as emotional support and stability.

      My wife, Barbara, and I try to be as helpful as possible for our grandchildren. We
      babysit when we can and Barbara cares for our grandchildren one to two days each
      week. Jodi uses this time to see clients and try to generate some income. I am
      approaching 75 and my wife is 72, and there is only so much we can do.
      Unfortunately, the events over the past three-years have taken a dramatic toll on my
      health as well. Jodi’s parents are super people and extremely supportive, but
      continue to grieve the loss of their son.

      Evan places Jodi and the kids above all else and I am proud of him, but not surprised.
      From his earliest days, Evan has always looked out for others. This trait, among
      many other positive ones, has flourished throughout his life.

      Evan is the oldest of our three children. He has always been a credit to our family
      and set a positive example for his younger siblings and cousins to follow. From an
      early age, it was clear he would be a supportive and nurturing person. Just before
      Evan’s third birthday, our second son, Robert, was born. Uncommonly, Evan never
      demonstrated any signs of jealousy. Even though he was accustomed to receiving all
      of the attention as the first child, all he wanted to do was teach and help his younger


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      brother and then younger sister. Now, nearly 42 years later, Evan has passed along
      his approach to his own children.           Evan’s oldest son, follows his father’s
      lead and looks to include         , his younger brother, in activities and they both
      look to include

      As Evan aged, he demonstrated the same qualities. He joined the Cub Scouts and
      then Boy Scouts, where he focused on charitable work and community service, while
      rising to the rank of Eagle Scout. He was the only one from his elementary school
      who wanted to be a Boy Scout as it was not a popular activity. For five years, Evan
      balanced scouting with school, sports, preparing for his Bar Mitzvah and all of the
      other activities that arise in the life of a young man.

      Evan progressed through the ranks of scouting and created a historic trail for
      Westchester County, our home county, in connection with earning the rank of Eagle
      Scout. Inspired by The Freedom Trail in Boston, Evan wanted to write a guide book
      of the colonial era historic sites in Westchester. The scope of this project was
      unusually broad and complex. It required multiple in-person visits to numerous
      historic sites around the County and coordination with many others. To help explain
      the significance of this project for a fifteen-year-old young man, I am enclosing a
      copy of the trail booklet.

      Evan also successfully solicited the participation of the Westchester County
      Government. When Evan was in the Eleventh Grade, the Westchester County
      Executive, the Honorable Andrew O’Rourke, held a press conference to announce
      the creation of this historic trail. Evan could have reached his goal by undertaking a
      much simpler Eagle Scout project. He did not have to spend over a year working on
      it, but he wanted to create a meaningful and permanent contribution to
      Westchester. He was not interested in just achieving a goal, he wanted to create
      something lasting and memorable.

      Throughout life nothing came easy and Evan worked hard at school, sports and
      learning to play musical instruments. In all his pursuits, he committed himself to
      being the best he could. This even included helping me, his Father, from time to
      time.

      At a young age, Evan learned that I was an active member of the Lions Club
      International. This is a charitable organization and when Evan discovered the club
      was collecting old eyeglasses to repurpose for those less fortunate, he started
      collecting them to help with the project. What makes this story significant is that I
      did not ask Evan to help. Rather, he saw what I was doing and then one day gave me
      a bag full of glasses that he had collected on his own.

      Evan’s assistance was not limited to helping me when he was a child. As a solo-
      practitioner, it is sometimes challenging finding new clients or collecting fees. At
      times that I struggled financially, Evan generously offered all of the financial support



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      he could afford. No parent wants to look to their child for help, but it is a special
      child who is unselfish and there to help, no questions asked nor conditions imposed.

      As long as I can remember, Evan only wanted to be an attorney. When he was a
      child, I presumed that was his goal because both I and his grandfather were
      attorneys and he saw how much we enjoyed helping people. However, as he started
      adolescence, I realized that he wanted to be an attorney to protect people. That
      desire became apparent to me when he was concerned about sick and disabled
      children. Evan wrote a school paper arguing that a child with AIDS should be
      allowed to attend public school. Remarkably, in the letter, he cited to relevant New
      York and federal statutes that he found from his own research. After he researched
      and wrote the paper, he announced to my wife and I that he wanted to become an
      attorney. My wife asked him why and he stated that he wanted to protect people.
      He could not understand why sick children would be treated differently.

      His interest in the law continued through High School when he obtained an
      internship with a judge on the Appellate Division of the New York State Supreme
      Court. One day, after he completed his daily projects, he was in the Judge’s library
      reading McKinney’s New York Statutes. When a Judge saw him reading this he
      asked Evan why he had not left for the day. Evan said that he was supposed to stay
      at the internship until the end of the day and was reading McKinney’s because it is
      interesting to read New York statutes and cases. I learned this story months later
      when the late Judge Isaac Rubin shared it with me. This story captures two great
      elements of Evan’s personality. He knows the right thing to do and does it and he
      has a natural interest in the law.

      In our family, Evan is a third-generation attorney. When he was growing up, we
      often had Shabbat dinner with his grandparents. Inevitably, Evan would overhear
      his grandfather and I discuss various legal issues. Since we shared office-space, I
      often sought the advice of my father-in-law. I am sure Evan overhead his
      grandfather and I discuss various challenges our clients encountered and how it was
      the attorney’s obligation to anticipate and solve legal problems. During those family
      dinners, Evan also learned that an attorney trusts his client and does not cross
      examine his own client, or its representative, to see if they are lying.

      As a general practitioner, my practice included family law and is now focused on
      general and personal injury matters. Due to the unfortunate types of situations I had
      to help my clients with, I raised my children to be overly cautious and potentially
      even paranoid. Evan often heard about these challenges as I tried to use real life
      examples as teaching opportunities for my children. This has resulted in all of my
      children being hyper aware of potentially adverse events and often trying to stop
      them from occurring.

      Throughout college and law school Evan worked for me and would regularly
      research projects or analyze fact patters. Each time, I told him his focus was to
      figure out a way to identify all of the potential risks my clients faced or to ensure


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      that small problems would not become larger ones. In fact, one prolonged project
      that Evan assisted me with involved tracking assets from a marriage. Evan spent
      months analyzing bank accounts and property transfers and determined that a
      husband had hid millions of dollars in other entities that he controlled. Evan
      researched the issue and determined that the soon to be ex-husband had
      commingled all of his assets. He presented the analysis to me, explained the five-
      factor test that is critical in commingling cases and based on his work I was able to
      successfully contest and unravel the complicated financial web (which included a
      veil piercing argument).

      During the entire course of Evan’s life, my wife and I have been very active in
      helping the less fortunate. In fact, we raised our children to not merely donate
      money to charity, but also time. We have a picture in our house of an 8-year old
      Evan after he successfully completed a read-a-thon to raise money for Multiple
      Sclerosis research. Then, as now, Evan wanted to help those in need and never
      sought any credit for his actions. His willingness to help others includes strangers,
      friends and family. A few notable stories are worth sharing.

         •   During law school, I received an unexpected phone call from an old college
             friend who was the general counsel for a Washington, DC based government
             agency. He told me that a local paper had written about Evan starting a
             Jewish graduate/young professional organization in the DC area for people
             that moved there from out-of-town. Before my friend’s call, Barbara and I
             were unaware of his efforts, and when we asked him, he said a number of
             people he knew were having trouble developing a friend and support system
             in Washington and he wanted to make it easier for them.

         •   When Evan’s maternal grandmother was dying from cancer, he visited her
             daily. To support his mother, who was very depressed, he delayed moving
             for over one year. This meant he commuted an extra 40-60 minutes twice a
             day from Westchester to lower Manhattan.

         •   While a partner at Katten, Evan served as Chairman for the UJA Loan Task
             Force. This committee helped create new businesses in Israel by allocating
             funds to Israeli women, Arab Israelis, Ethiopian Israelis and people who
             recently moved to Israel. During a 2009 trip to Israel, Barbara and I met with
             the committee’s local representatives. They were very impressed with Evan’s
             work and dedication. We visited a number of the businesses that benefited
             from the loans and could clearly see how much the money aided the
             recipients.

         •   Evan is a very active and attentive father and husband. He coaches sports for
             his children, helps them with their homework and leads by example. His
             community demonstrates their faith in him and support by both attending
             his trial and entrusting him to coach their children.



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      I have devoted almost 50 years of my life to the study and practice of law. Evan’s
      grandfather was a lawyer for over 60 years. Yet Evan displayed an interest and love
      of the law in a way that I could never imagine. Evan worked tirelessly to practice his
      craft and made many sacrifices along the way. We often discussed our workloads
      and at no time did I feel that Evan operated in a vacuum. Part of why I encouraged
      him to be a transactional attorney was so he could work in a firm environment with
      trusted colleagues with whom he could discuss issues and receive advice. He did
      not steal from clients, he did not cheat on his tax returns and he thought he was
      preventing a company from being sued so that it could contribute to society (which
      it has). For one to argue that his client did not have too much exposure or that its
      liability was not that significant betrays everything I understand about the law. I
      have always believed liability and legal exposure are binary—one either has it or
      not. If lawyers are now being asked to weigh relative liability and to make
      determinations on exposure, that is putting a burden on the profession that none of
      us are qualified to undertake. More importantly, Evan used the forms that were
      given to him by his senior partners. Based on the testimony I heard at trial, it
      appeared that Evan believed he was doing the correct thing. I am not using this
      letter to question the jury’s verdict, rather I question the message and implicitly
      society’s expectation for attorneys and whether attorneys can meet such unrealistic
      expectations.

      The life of a lawyer can be grueling. Evan sacrificed relationships and his life in
      order to hone his skills and represent his clients. While on family vacations, Evan
      always worked and regularly was late to family events due to client commitments. I
      regularly witnessed him being available around the clock to help associates,
      partners and clients. Throughout his life, he followed the rules and wanted to learn
      as much as possible. To Evan and Jodi, money has not been a focus. Before meeting
      Evan, Jodi left a successful job in finance to become a nutritionist in order to help
      people. While I heard a lot of focus on Evan’s salary, if money was a driving focus for
      Evan he would have left law years ago for a more lucrative career. Evan made a nice
      living, he was lucky and was in position to afford things that I never could, however,
      I do not believe that Evan would ever intend to violate the law or risk his family and
      his law license for anything (much less increased compensation).

      Even during the challenges of the past two and a half years, Evan and Jodi continue
      to teach their children about the importance of charity. Although I mentioned Jodi
      and her parents are still grieving the loss of Jodi’s brother, Jodi and Evan helped
      their children organize a fundraiser for the SPCA in memory of Jodi’s brother
      because Jodi’s brother loved animals.

      I humbly believe it is extremely important that Evan be at home every night for his
      children and his wife.




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      I sincerely hope that this letter helps you realize that a lenient sentence is just and
      appropriate. Evan will not be able to practice law and it is unclear how he will
      support his family. The study and practice of law was Evan’s lifelong passion and all
      he wanted to do since he was a young child. Losing his law license is a punishment
      he will suffer from every day for the rest of his life and directly links to the very
      conduct for which he was tried and convicted. Depriving him of the ability to help
      clients is an on-going and extremely impactful punishment for Evan. However, if you
      must impose an additional punishment, I pray your Honor will consider community
      service or probation.

      Hopefully, your Honor will consider the welfare of Evan’s wife and their three young
      children.

                                                                             Hopefully,
      the Court can be creative in sentencing Evan to community service while letting him
      remain home with his wife and children so he can support them emotionally and
      financially.

      Thank you again for your patience with my letter. I hope this has provided you with
      a more fulsome picture of who Evan is, how he contributes to society and how badly
      his wife and children need him at home with them.

      Sincerely,


      Charles R. Greebel, Esq.




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   June 9, 2018

   The Honorable Kiyo A. Matsumoto
   United States District Judge Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201



   Dear Judge Matsumoto,

   My name is Gennifer Greebel and Evan Greebel is my eldest brother. Often I was sitting
   in the first row of the courtroom observing the case and supporting my brother, a man I
   have admired for 37 years. I am a pediatric ophthalmologist and multiple times Evan
   requested that I not attend the various hearings or the case, so that I could care for my
   patients. He stated that by attending the trial, I would do a disservice to the children I
   treat, and he did not want me to sacrifice my career or patient care. I work in
   Westchester and many of my patients know Evan and his family. My colleagues were
   familiar with Evan from visits to my office. Thus, my office and the families of my
   patients encouraged me to attend the trial. For me, I wanted to be by his side in the
   same way he has always been by mine. Your honor, I am asking for you to show as much
   leniency as possible when deciding his sentence. This decision will not be regretted
   because Evan is needed by his family and is an asset to his community.

   Evan is not just my brother; he is my friend, my mentor, and my advisor. He has
   assumed these valuable roles in my life out of kindness and love, just as he naturally fills
   these roles in the lives of those around him. As your read the following anecdotes
   please know that my brothers and I were raised in a home with loving and nurturing
   parents. Evan never needed to fill a void or take on a responsibility out of duty. His
   honesty, strong moral character, sense of duty, and empathy are characteristics I have
   always striven to emulate.

   One of my first memories of Evan, who is 7 years older, is waking up in his lap during a
   long car trip. He would tell me to lie down, get comfortable and take a nap. Later, he
   would carry me from the car and tuck me into bed. When he was, a teenager he would
   sit on the floor and attend my tea parties, teach me strategy in board games, and
   patiently help me find the next puzzle piece. Many times, my friends and I counted on
   him to chaperone our group while trick or treating. Evan was my biggest fan as he
   cheered me on during numerous soccer, basketball, and softball games and always
   wrapped his arm around me when we lost. I remember following his lead on historical
   trails all over the country and visiting him at the Boy Scout Jamboree. We spent
   countless hours together as he explored historical sites in our home county while
   creating the Westchester County Historical Trail. I was so proud of him and smiled in
   awe as he was awarded the Eagle rank, the most prestigious award in Boy Scouting.
   Through Disney World or various sporting events, he would sit me on his shoulders as
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     we navigated our way through the crowd. On snow days, I would awaken to the sound
     of a shovel scratching the pavement as he cleared the snow from our neighbor's and our
     shared driveway. I would dress quickly, race outside, and attempt to help him and our
     other brother, while pushing my tiny, plastic shovel. Whether times were good or bad,
     Evan was always there for me. His warm and reassuring character fostered an
     unbreakable bond.

     Evan left for college when I was 11, but ensured that our relationship remained strong.
     He frequently called to hear about my day. Our conversations were invaluable and he
     often assisted me in solving various social and academic conflicts. Unfortunately, given
     our age difference, we rarely had long periods of time together. Either he was away at
     college or I at summer camp. I'll never forget my third summer at camp when he
     decided that he and our brother Robert would drive 7 hours to surprise me. To my
     amazement, our Grandma Lucille joined them for the adventure despite the long drive.
     He and Grandma had a very close relationship. Our Grandfather had recently passed
     away after an excruciating year suffering from cancer, and Evan understood that a
     spontaneous trip to Maine would be a special experience for all of us. I think that was
     the first time I realized that Evan is an extraordinary man. As a teenager and later as a
     college student, Evan would schedule time to take me to the movies, treat me to dinner,
     and listen to my stories. From an early age his true sense of right and wrong as well as
     his caring nature dictated his behavior. He is a wonderful brother and a compassionate
     friend, on whom I depend.

     I visited Evan during his senior year at the University of Michigan. I was very excited, as
     it was to be the first time that I was old enough to sit with him in the student section at
     the football game. He invited me to breakfast with his friends and then we took our
     seats. An hour into the game, I started to feel weird. The world was spinning and I was
     sweating even though it was only 40 degrees. Suddenly, I felt as if I were flying. I was
     fainting and had almost fallen over in a crowd of people. Later, I was informed that
     Evan noticed I was behaving unusually. He immediately picked me up, and with me in
     his arms, he navigated through the packed stadium and rushed me to the first aide
     station. His lifeguard training prepared him to react instantaneously; thus, preventing
     me from falling and injuring myself. It was his selflessness, however, that made the
     difference. I fainted in the middle of the most important football game of the season,
     and Evan was and remains a loyal fan. He recognized the importance of helping me and
     missing the big game. I was very lucky he was there care for me. Now, as I treat
     patients in Emergency Rooms, I often see people drop off patients and disappear; Evan,
     however, stayed with me every second.

     When I was 17 and worrying about my college applications and my future, Evan was the
     one who taught me how to balance and manage stress. My softball coach routinely
     mocked my energetic personality and degraded me on the field. Despite my wanting to
     quit the team on which I had played for the last 3 years, Evan helped me be less
     impulsive. While agreeing that my coach was not behaving professionally, Evan


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     explained how to respectfully communicate with my coach and resolve the conflict. The
     problem solving skills which he taught me have been invaluable in my medical career
     whether working with my colleagues or my patients. This was not the first nor the last
     time that Evan acted as a mediator displaying a clear mind with his thoughtful and calm
     demeanor.

     During Evan's first year as a law associate he lived with our parents and helped our
     mother when her mother, Grandma Lucille, died. Later, he moved into a small
     apartment in Manhattan. He welcomed me to live there on the weekends so I could
     enjoy living near my friends and temper the rigors of medical school. I slept on a
     rollaway cot that he stored in his closet as Robert had already claimed the pullout
     couch. It was during this time that Evan initiated our tradition of Sunday dinners
     together and he often prepared my only home -cooked dinner of the week. During late
     nights at school, Evan would quiz me over the phone to help me study. He still claims
     that due to these hours he learned human anatomy and physiology as well as I. Evan
     did not have an older sibling to support him while in law school and he aimed to provide
     me with the assistance he had lacked. To Evan, life is a team sport and I am very
     fortunate to be a member of his team.

     Your honor, I had a scary experience in medical school. I was exposed to blood possibly
     infected with HIV. When Evan heard about this, he left work in Manhattan and was by
     my side in Brooklyn within 45 minutes. He researched the risks of the exposure as well
     as the side effects of the prophylactic medications I was required to take. Even though I
     was the medical student, his research and analysis helped me make the proper
     treatment decisions. For days, I waited anxiously to find out if the patient was infected.
     Evan checked on me numerous times each day throughout this ordeal and helped
     manage my fears and stress.

     As a third year medical student I needed to choose a specialty. While other people
     recommended a career in plastic surgery or dermatology because they guaranteed a
     comfortable lifestyle, Evan advised me to focus on the patient population I wanted to
     treat and the aspects of medicine I found most interesting. We discussed my interest in
     performing surgeries and my desire to maintain a enduring patient -doctor relationship.
     Just as long lasting relationships are strongly valued by Evan, I wanted such a
     relationship with my patients. Evan's assistance during this time, his open-mindedness,
     and his ability to listen and guide, enabled me to pursue a very rewarding career as a
     pediatric ophthalmologist. Evan is always willing to share his opinion and give of
     himself. Even after his life became very complicated as a partner in a large, prestigious
     law firm with a young and loving family of his own, Evan has always made time to listen
     and help me.

     Going through this difficult legal ordeal, when one might withdraw from society and
     become entirely preoccupied with one's own problems, Evan continues to care for
     others. Evan has three children,                                 He coaches both of his


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     sons' baseball teams and participates in Cub Scout pack activities. During my frequent
     visits to his home, my brother is busy playing games with his children, helping them with
     school projects, or making his traditional family breakfast of pancakes or waffles. He
     still invites everyone over for family dinners.

     Two weeks ago, I saw                lift up    his little sister, in order to assist her in a
     children's museum. I almost started to cry. Immediately my mind flashed back to Evan
     doing the same for me. His son is growing into a person with the same strength of
     character and compassion. Kindness for others is natural for Evan and he is encouraging
     this virtue in his children. Just as         assists his younger sister, Evan continues to
     do this for me, his family, and his friends.

     Your honor, please be lenient when deciding my brother's fate. He is a loving husband,
     father, brother, and son; a true friend, a respected mentor, and a skilled coach. As a
     physician in the community in which he lives, I treat many children who know Evan and
     his family. Whenever I tell my patients that Evan is my brother, their faces light up.
     They proceed to tell me about the fun they have while learning new skills during
     baseball practice or playing games with Evan and my nephews. Their parents often
     mention that he is a wonderful father.

     Anyone who interacts with Evan knows he is a man with a warm heart and a strong
     sense of morals. He values honesty and family above all, and strives to improve the lives
     of those around him. If Evan is confined, his absence would be a disservice to his family
     and would deprive his community of a wonderful man. My brother Evan has many
     strengths and a plethora of knowledge, all of which he could harness to serve his
     community. Such service by Evan would have a far more positive impact on our society
     than any other sentence. Pleise allow him to remain with his family and perform
     community service in order to compensate those who have been wronged, need
     assistance, or are trying to succeed in society. Please consider giving him the shortest
     sentence possible.

     I sincerely appreciate the time you have taken to read my letter and the many others
     that accompany it. I realize you make difficult decisions every day and I do not
     underestimate your burden. I hope you understand that Evan is a compassionate and
     moral man who serves his community best by being a member, not an outcast. Please
     be as lenient as you can with his sentencing. Thank you for your time, understanding,
     and consideration.

     Sincerely,



     Ge nifer Greebel, MD




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                                 James and Marilyn Greebel




     July 13, 2018


     The Honorable Kiyo A. Matsumoto
     United States District Judge Eastern District of New York
     225 Cadman Plaza East
     Brooklyn, NY 11201

     Dear Judge Matsumoto:

     We write to request leniency for Evan Greebel. For the past 47 years, I have been a
     practicing accountant and know Evan in both a familial and professional manner. In
     addition to being my nephew, he has been a client for the past 20 years. My wife
     and I attended numerous days of trial because Evan is a stand-up person. He is a
     supportive and loving father, caring nephew and very ethical. When Evan was a
     young man, he always told us that he wanted to be an attorney and be part of the
     judicial system. He also said he wanted to be a judge at some point in his career.

     Evan is the oldest of his generation and there are five children between my brother
     and myself. The age difference between Evan and my daughter, the youngest, is
     nearly 13 years. Evan epitomizes the ideals of an older brother and cousin. Both of
     my children have looked to him for guidance and support throughout their lives.
     For example, we appreciate Evan helping my daugher navigate the emotional ups
     and downs of dating in New York City. While these are topics a daughter does not
     necessarily discuss with her parents, we were re -assured knowing her oldest cousin
     was there for her.

     From a professional perspective, I am always impressed with his judgment and
     approach. As a service provider and tax professional, I have encountered people
     who want to take aggressive positions or who make questionable claims. Evan is
     not one of those people and he has never even gotten close. He is always
     conservative with his approach and has never shown any interest in being close to
     any lines.

     Also, as his accountant, I have been impressed by his consistent financial
     commitment to various charities. His support is not fleeting or one-off. His

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      commitment to community began at a young age, was evident as he became an
      Eagle Scout, continued through college and law school and remains important to
      him as an adult. He clearly believes in giving back to society both financially and
      through volunteering.

      In his role as a father, we see his supportive nature first hand. Evan and Jodi, his
      wife, always include our family for holidays, birthdays and general get-togethers.
      Because family is very important to them. Despite living 45-60 minutes away from
      one another, we see him numerous times each year. It is clear from how his wife and
      children interact with him, and he them, that there is a significant amount of love
      and respect. He is an encouraging father who teaches rather than tells his kids how
      to behave.

      It has been our belief that non-violent criminals should not be sent away from their
      families as it does not help the family or society. Instead, the person should do a
      certain amount of hours of community service to help improve the community. They
      should also be required to give monies to various charities that help families in time
      of need. For example, Ronald McDonald House, St. Jude's Hospital, Schreiners
      Hospital. These charities are there for the family and the community.

      We can only hope that your honor is as lenient as possible with his sentence so his
      young children continue growing -up with their father at home and the community
      continues benefiting from his efforts.

      Thank you for your time and consideration.

      Respectfully


      James and Marilyn Gree




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    The Honorable Kiyo A. Matsumoto
    United States District Judge
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, NY 11201

    Dear Judge Matsumoto:


    My husband, Evan, and I met over 13 years ago. From the time I met Evan, there were two
    things that always stood out - his love and dedication to his family and his belief in being an
    ethical, moral person. Evan is a very hard worker and took great pride in being an attorney. He
    comes from a long line of attorneys and knew from a young age that he also wanted to pursue a
    career in law. Evan took his oath as a lawyer very seriously; he has always held himself to a
    higher standard of morality and integrity because of it. Being a good, honest person is innate for
    Evan and from the many stories I learned of him growing up from friends and family to the
    person I know, he has continuously demonstrated always doing the right thing.

    No matter how hard Evan worked, he always prioritized his family. At our wedding, the rabbi
    said to us that he knew our marriage would last because Evan and I had the same values and
    had very strong ties to our families, always putting our families first.

    Evan is an Eagle Scout, a fact in which he takes great pride. Evan believes that no matter how
    busy you are, you should always give back to the community. This is something he has
    demonstrated over the course of his life and made a priority to teach our children. Whether
    through religious organizations, schools or the town, Evan has always made it a priority to use
    his time (however limited) to help others and has encouraged me to always make time to do that
    as well. Before we had children, Evan made it clear that he thought being a cub scout and
    working to become an Eagle Scout was a priority that he wanted our children to experience. He
    felt that learning to give back from a young age helped embed it in you for life and helped build
    your character. With all of our three children, he has made giving back an essential part of their
    lives. When our children were young, Evan and I started a tradition where they had to select one
    birthday gift to donate to a child less fortunate. We teach them about taking some of their money
    that they receive from chores or gifts to give to others. Evan has encouraged our children to
    participate in events throughout the community such as visiting old age homes, making challah
    for others, collecting food to donate and more. With each event, Evan makes sure the children
    are active participants, but also helps the children understand why they are doing these things.
     No matter how hard Evan worked to support our family, he never complained. Whatever small
    amount of free time he had was always dedicated to our family or the community. Evan rarely
    takes time to do something just for himself. He can almost always be found surrounded by our
    immediate or extended family.

    When Evan and I were dating a short period of time, my brother Mark was in college in Atlanta.
    Evan encouraged me to visit him because he believed it was important for siblings to maintain a
    close relationship regardless of the age difference or distance between them. My brother was
    almost 10 years younger than I am and I was often like another mother for him. Even though
    Evan and I were only dating at the time, Evan was the one who insisted that we go to Atlanta
    and Evan came with me to visit Mark. Evan knew that my sister, who was single at the time,
    wouldn't go by herself, so he suggested we invite her to join us for the weekend. It was also
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        Evan who suggested we take my brother out to dinner with a bunch of his friends so that we
        could get to know them better and ensure that we could be active participants in his life.

        While we were dating, Evan thought it was important that all of our siblings spend time together
        and get to know each other better. We already spent a lot of time with both of our parents and
        our siblings separately, but not all of our siblings together. About a year into dating, Evan
        created a ritual where every Sunday, all of our siblings (and their significant others as time
        progressed) came over and had dinner at our apartment. Needless to say, I got very
        accustomed to cooking for a lot of people. My brother was in college at the time, but always
        came on the weekends that he was at home.

        Evan makes it a point that we never miss any important event for any family member or friend.
        No matter how busy we were or how much I might have objected, Evan made sure we attended
        every baby naming, bris, wedding as well as every funeral, wake or condolence call for all our
        friends, their families and of course our own families no matter how far it was or what other
        obligations we had. Being there for others is incredibly important to Evan. Evan encouraged me
        to visit my grandmother with our oldest child frequently (our only child while she was alive). No
        matter how long it took to get to her at her assisted living facility, Evan felt it important that
                  visit her. He felt it a blessing that she should have a great-grandchild and again, no
        matter what it meant for our schedules, we were frequently driving out to visit her so that she
        could have time with               . Sadly, she did not have the opportunity to meet our other
        children, but I am so thankful Evan encouraged frequent visits with her while she was alive.

        Almost any time Evan has, he is found with our children. He is outside throwing a ball with them,
~       teaching them to ride a bike, coaching a sports team, creating a project for them or helping with
        homework and learning to read. Evan has somehow found that perfect balance as a parent,
        where you teach your children but also make time for fun. To not be polite, help others or be
        kind to your family are just not behaviors that are acceptable to Evan as both an individual and a
        parent. Evan, however, does not get angry nor ever yell. I can think of only one time where I
        heard Evan raise his voice at anyone. Evan was coaching one of our son's baseball team. The
        other team had terrible sportsmanship and was calling out names and other terrible things about
        which their coach did not object. Evan would not allow his team to say anything in return, which
        was a challenge for 7 year old boys. When one child on his team did yell something
        inappropriate, Evan very sternly told him that it was not ok. This is the only time I have ever
        heard him do that. He let the child know, that no matter what others said, we do not say bad
        things back.

        In the many years that I have known Evan, he has never cursed, lied, cheated, gossiped or said
        a bad word about anyone. It is not that he is trying not to do those things. They are just not part
        of his character. Evan is not selfish, greedy or jealous. I look up to him and admire how these
        things just come so naturally to him where most of us have to work hard at them and often for
        most of us, still are not successful.

        While Evan has been a true partner throughout our relationship, he became so much more in
        the summer of 2015. A few weeks after our daughter was born, my brother passed away
        unexpectedly at the age of 27. I was devastated (and am still trying to cope) and did not know
        how I was going to survive. Getting out of bed to take care of three children, one of whom was
        just a baby, seemed too much to bare. Evan was my lifeline and helped me get up and put one
        foot in front of the other each day. In true Evan form, he offered for my parents (and their dog
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   who he is highly allergic to) to come live with us as he thought that it would be better for their
   mental state to be around all of us all the time. Not once did he think of himself and the impact
   this would have on him.



   Just a few short months after my brother's death, Evan was arrested. I was still trying to come to
   terms with my brother's death -I once again did not know how to face life. And, even though
   Evan was suffering tremendously, he continued to be my rock and strength helping me cope
   with each day.

   It is Evan who always makes sure no family member or friend is without a place to go for any
   holiday. We have had extended family, family friends and local families for every holiday
   throughout each year since Evan and I were dating. Evan has made sure our door is always
   open to anyone without a home.

   The last 2 and a half years have been something I wouldn't wish on my worst enemy. The pain
   of losing my young, smart, funny and wonderful brother unexpectedly followed a few months
   later by having my honest, hard-working, incredibly moral husband arrested (without knowing he
   was being investigated) and later convicted of a crime that has shattered the career he loved
   has left a gaping hole in my heart. Without Evan by my side, I am sure I would not have
   survived my brother's death and fear for what heavy burdens I would have placed on my young
   children. Evan has made sure I get up each day and keep our children's lives as normal as
   possible given what we have experienced. He has helped my children cope with my brother's
   death in ways I am not capable. Evan is more than my partner and my best friend. He is
   someone my children and I look up to, who participates in their lives to the fullest extent
   possible. Evan attends every conference, performance, event and game no matter how trivial it
   may seem to others. Our family, both the 5 of us, and our extended families would suffer
   tremendously without him around. I beg of you to be lenient in your sentencing.

   Please allow Evan to continue to contribute to society through all of his volunteer efforts.
   Please ensure that Evan and I can raise three children who will be good, contributing members
   to our society. I know you will not regret it.

    Thank you for your time and consideration.
    Very truly yours,

   ~ Gt~
     .)
    Jodi Greebel




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                                                  (516) 248-7008
Lawrence M. Greebel *                                                                        Telecopier
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Marvin Salenger
   OfCounsel

• Admitted New York & Florida                                                 May 15, 2018
oAdmitted New York & New Jersey



           AElliott@GibsonDunn.com

           The Honorable Kiyo A. Matsumoto
           United States District Judge
           Eastern District of New York
           225 Cadman Plaza East
           Brooklyn, NY 11201


            Dear Judge Matusomoto:

            I know that you are reaching a determination of how to deal
            with my cousin Evan Greebel, so he can get on with his
            life.  I write to you as both his cousin and as a fellow
            member of the bar.  From the perspective of a family
            member, Evan is an empathetic and caring family member who
            belongs with his young children. As an attorney practicing
            in Long Island for over 50 years, I am troubled by the
            precedence this case sets and it is clear Evan had no
            intent to commit a crime.

            Evan's father and I are first cousins and we grew up in a
            close knit family, much like Evan's.  I remember when he
            was born, attended his bris, bar mitzvah, wedding and the
            bris of his sons'. While I would not see him very often,
            especially over the past years, he was always welcoming and
            interested in my side of the family.  It was particularly
            touching when he attended my wife's funeral and then made a
            return trip from Manhattan to Long Island the following
            night to pay a condolence call.  In my time of need he
            offered his support and it was greatly appreciated and
            unexpected.

            As an attorney with a general practice covering corporate
            and litigation matters, I know how important it is to rely
            on the representations of one's clients. Our
            responsibility is not to second guess their decisions or
            usurp their judgment.  Rather, we are tasked with providing
            advice and guidance while taking directions and respecting
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Greebel & Greebel
       The Honorable Kiyo A. Matsumoto                          May 15, 2018
       United States District Judge                             Page Two



       their decisions.  Corporate officers are our liaisons and
       their interactions with their own board members happen both
       within and outside our presence.  Imposing a burden on an
       attorney to independently determine the path a company
       should take is far outside the norms of modern corporate
       practice.  In the case at bar, directors are effectively
       permitted to ignore what is sent to them for review,
       selectively remember what is discussed at board meetings,
       and refrain from disclosing when they have concerns about
       the officers they have entrusted to run and manage a
       company while blaming an outside advisor for not exercising
       the oversight the board member was obligated to perform and
       paid to perform. This sets up an unsustainable dynamic that
       actually pits lawyers against their client.  I struggle to
       see how this is a just and rational result.

       I ask that you demonstrate as much compassion and leniency
       as possible when you consider Evans sentence. My wife and
       I raised one son and two daughters and anyone who has
       raised children know it is no easy task.  Evan's children
       need him at home as does his wife.  Justice would not be
       served by imprisoning him.  Please impose probation and/or
       community service.

       Thank you for your time and attention.
                                             --    Sincere 1 y, / {' ,.:
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       GreebelEvan.GibsonLTR
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  United States District Judge
  Fa.,;1e-n1 District of New York
  225 Cadman Plaza
  Ea.st llrooklyn, NY 11201

  4/ 17/ 1S

  De~11: Judge MaL..::rnnoto:

  Evan <i~ehel is my hu$hand,$ flf$t cousin \Vho,n I have known for 15 years (since 2003). He has
  ahvays been like un older brolh<..-r IV m.y husl'Amd Rory, offorin.g ~dvice and support lhroug.hout
  life ·s ups and dO\\.TIS. I was inlroduccd lo Evan when Rory und I wcri: dc1ting in collt:gt:. U:vao and
  his brother Rob had traveled from New York down to Atlanta to visit their cousin. I had a lovely
  limt: gi::uiog iv know Ev<m th(il. \\ c:t:kc11d. I k 10<.>k u:s ou~ 10 t-e$taunmts for di,rne.r~which \\la$ St)
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  genero\L<; being that we were.only srudcnts. ,ve laughed a lot and talked about fun times, but Evan
  also 1old us ahouL liftt a,; a.n adult and being a y<nmg lawyer. I le ac1ed a.') a Slr()rlg mentor figure for
  both of us. Tcould tdl from lha.( vish hov.: close Roxy was with bis older cousin Evan.

  My husband Rory wcm on to become a ta,vyer to follow in I:var1's foot~te.ps. Si1lce Eva., had nlOre.
  ~xperience--~he guided Rory thn)ugh the. procci;:; vf lhe LSATS, Law School. ilnd the .iob market.
  Rory went through a difficult period when he was laid off from his job when I was 8 rnooths
  preg.o:un. I~van wa.,; a tme ::.:upport for him. He met with him cvery morning al 8am for ::i week to
  stratcgize his next steps and get him back on his feet. Mosr importa1nJy, th..e-se. mee1i11gs helped rny
  husb..md to stay positive and keep working towards ge.ning a new job. which he found within a.
  few wee.ks.

  Evan and Jodi have been so closely cor111ee1c::J lo us lhroughou1 I.be yctirs. They got marrii.:d the
  month before we did ~wd had children at the same time. All of our children have a strong
  re-laLionship. Evan'$ oldest son will he goio,g io ::;kt!p <•way Qirnp lhi$ $Ummer ,v:ilh my wn who i~
  the. same ag.c:. I~van i::. v~y involv~<l in hi:; c;hildrt:n's Jivt.~ ru,d is u g:r~11 folhcr. He nlwnys invilcs
  us over (o lhcir house for holidays and loves to sec his fa.tnily all toget her. for Evan, family
  always comes first. Even during all of the turmoil 1)f hi$ court ca.;;e-, he managed to show up and
  pay hii; rt:'$pcCts Lo my family when my grandfather passed. away rccc:udy.

  Since Evan'sam::st and nowconvictio~ the family has been heartbroken. Your honor, I
  respectfully ask that your sentencing for Evan be lenient. His family, especially his throe young
  children and "vife tJ'uty 11eied him at home-.


  Sincerely,

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      June 20, 2018

      The Honorable Kiyo A. Matsumoto
      United States District Judge Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, NY 11201

      Dear Judge Matsumoto:

      My name is Robert Greebel and I am Evan Greebel's younger brother. You may have
      noticed me sitting in the front row of your courtroom every day of the trial and for
      each hearing. Evan is my older brother by three years and my closet friend. I
      appreciate you taking the time to read this letter. My hope is that it gives you a
      better understanding of Evan and our forty-two years together. I only ask that you
      show him as much leniency and compassion as possible during sentencing as he is
      an important member of our community and very much needed by his wife and
      three children.

      I consider our family to be very lucky. Our caring parents instilled in us the
      importance of community, family, hard work and integrity. Evan embodies these
      values and is actively teaching them to his children.

      Evan has been contributing to society since a young age. As a Cub Scout and then
      Boy Scout, Evan regularly volunteered around town and was a leader in the Troop.
      In college, he served as a Vice-President of the lnterfraternity Council working with
      all of the fraternities on campus. He also developed a program to help the Ann
      Arbor, Ml homeless population. Evan continued volunteering while in law school
      and then in Manhattan as a member of the UJA Commission for Jewish People and
      was the Chair of the Loan Fund Task Force with a multi-million-dollar budget to
      provide low and no interest loans to Israeli women, Israeli Arabs and Ethiopian
      Israelis to start businesses of any kind. Despite all this, what stands out is his desire
      to help people on an individual level too. He is always offering support to friends
      and acquaintances. Notably, it turns out, quite a few of my friends have turned to
      him for advice and guidance over the years.

      As the oldest child, he set a great example of how his siblings should support our
      loved ones. When our Grandfather passed away, he slept at our Grandmother
      Lucille's house often to help her cope with her grief and transition from a SO-year
      marriage to living alone for the first time in her life. Then, almost a decade later,
      when Grandma Lucille became ill, he visited her every morning in the hospital
      before work. While her predicament was grave, Evan thought his presence could
      help lift her spirits. After she passed away, Evan delayed his move into New York
      City and instead commuted each day from Westchester so he could help support our
      Mom during her period of grief. This was particularly notable because he was a
      first-year law firm associate working extreme hours and elected to live in the
      suburbs to help his family.
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      Equally impressive was his financial support of our parents early on in his career
      when they needed assistance for several years and helping pay for our sister's
      medical school education.

      As one could imagine, 1always enjoyed visiting him in college and then followed him
      to The University of Michigan. We overlapped my Freshman year when he was a
      Senior. He welcomed me into his circle of friends, introduced me to his fraternity
      brothers and always looked out for me. His support did not end when he graduated
      college. Notably, when I graduated law school, he welcomed me to live in the living
      room of his one-bedroom apartment so I could save money at the beginning my
      career. This was an incredible act of generosity that lasted four years.

      His connection to family was re-enforced by Jodi, his wife of over ten years. For the
      seven years they lived in Manhattan, they hosted family dinners nearly every
      Sunday night This gave us an opportunity to connect with one another, play with
      our nephews (our niece was not born yet) and develop relationships with each
      other's siblings. These bonds were particularly important when tragedy struck
      Jodi's family in 2015. Jodi's brother Mark passed away in his late 20s. His sudden
      death was very hard on all of us and Evan was a constant source of support for Jodi,
      their children and her extended family.

      Evan has a natural gift for working with children. It has been obvious since his days
      as a swim instructor teaching children from 3-15 years of age how to swim. Maybe
      he learned it from our Dad who coached nearly every sport we played during our
      childhood. No matter where he learned it, he has it and it is evident now in the way
      he interacts with                               . He is patient, loving and
      encouraging. I'll share one story with you. For the past few years           , Evan's
      oldest son, has been trying to learn how to ride a bike. Evan was always willing to
      work with him and each time             had a set-back, Evan would figure out
      another method of teaching him. Evan did not give up or let frustration overtake the
      experience. Rather, he adjusted his approach to fit the needs of his son. They
      recently sent-me a video of            first successful ride and you could see the joy
      in both of their faces. There are numerous examples like this one and many do not
      even involve his children.

      Evan serves many as a professional role model. For over fifteen years he showed
      tremendous dedication to his work and clients. I realized this during my first year
      of law school when he was a first-year associate. During finals, when I left the law
      library at 2am, he was the person I would talk to, except he was still in the office.
      After this happened several nights, it dawned on me that he had been working from
      the time he woke-up, through the day, through all the meals I had with friends,
      through the time I went to the gym and then into the early hours of the next
      morning. He loved practicing law and showed me what it takes to be successful.




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      As part of his love for practicing law, he always demonstrated exceptional judgment
      and integrity. Often times friends would ask my opinion on a variety of legal topics.
      Most often this occurred when they encountered a complex problem or sticky
      situation. While I felt qualified to answer, I often referred them to Evan. In addition
      to him being generous with his time, he would help them work through their
      problem and any nuances. He preferred a conservative approach to solving
      problems and valued doing the right thing over the quick or easy solution. This is a
      trait I know well in my brother and have benefited from it for many years. It is why
      so many people respect him and explains the outpouring of support he received
      throughout the trial.

      I think it is amazing how Evan has responded to his arrest. No one is prepared to
      lose their livelihood overnight or face the challenge of a lifetime. As un-prepared as
      he was for these events, he has shown incredible resolve. While preparing his
      defense, he helped his wife try to create a business so they can provide for their
      family. He is also working on a non-profit designed to aid those suffering from
      substance abuse. I do not know how he has the strength to do all this and continue
      to coach various sports for the kids. Again, he is still helping others.

      Your Honor, I hope you can see from my letter that Evan is deserving of as much
      leniency as possible. Since ttie age of five, all he wanted to do was follow in the
      footsteps of our Father and Grandfather and become an attorney. He dedicated his
      life to the practice of law and with his free time elected to help others and build a
      family. Ideally you will not incarcerate Evan, rather please allow him to remain with
      his family because he has a lot to offer society and we need him.


      Thank you,

      !/'de~~
      Robert A. Greebel, Esq.




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                                          Rory G. Greebel




  April 30, 2018

  The Honorable Kiyo A. Matsumoto
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

  Dear Judge Matsumoto:

  I write on behalf of my cousin Evan Greebel and ask that you show him leniency when he is
  sentenced. I am a 2007 graduate of Fordham University School of Law and have been practicing
  law as a commercial litigator for more than a decade. Without question, Evan is one of the most
  important people in my life. He is someone I have looked to for advice since I was a young boy
  and that will never change.

  There are countless examples when Evan has been a bastion of suppmi during my childhood and
  adulthood, and especially my legal career. These include helping me with homework, cheering
  me on during my athletic endeavors, and even visiting me at college. However, despite the
  litany of options, two stories stand out which I think most accurately depict Evan's character.

  No one was more proud of me when I was accepted into law school than Evan. The Greebel
  family has its fair share of lawyers and Evan always thought I would be successful following that
  path. I recall that the weeks leading up to my going off to school were nerve wracking for
  me. I was going to leave behind my girlfriend (now wife) and I did not know anyone else
  attending law school at Syracuse University College of Law (where my Uncle/Evan's father also
  attended). Evan made it his business to stay in contact with me during those last few nights to
  make sure I was okay and that I remained mentally focused on the journey ahead. The coup de
  grace of his attentiveness was his taking me out for dinner. The meal included his sage advice,
  his providing law school horn books, and most importantly demonstrating an overwhelming
  display of caring for my future. Even though Evan has a younger brother, he made me feel like
  one too. That evening was a calming force on my nerves, provided me a roadmap for my 1L
  year, and also motivated me to do well at school. His suppmi was a constant presence
  throughout that first year of law school. Nothing gave me greater pleasure than calling Evan to
  tell him when I received a good grade on a law school exam, was selected to moot comi team,
  and wrote onto a journal. Furthermore, despite his busy schedule, Evan always made time for
  me if something was amiss and I needed some guidance. His influence on my life cannot be
  understated and he played a pivotal role in my success that year including my transferring from
  Syracuse to Fordham to complete my legal studies.
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  Within 18 months of graduating law school, I encountered my first set back. It was the
  beginning of the Great Recession and my law firm was cutting back. I was last one in and so I
  became first one out. Evan was the first person I called; not my parents, not my wife (who was
  pregnant at the time), but Evan. At that point in 2009, Evan's tireless work ethic resulted in his
  being named one of the youngest partners in the history of Katten Muchin. I knew that if there
  was anyone who could help me, it was Evan. When I told him what was going on, he offered to
  drop everything and meet me in person. We instead decided to have breakfast the following
  morning to go over strategy. We would meet and chat several more times that week to discuss
  and finalize my job search plans and to make sure they were rock solid. Evan helped me develop
  a logical and organized plan and he followed-up with me regularly. This is one of Evan's notable
  traits ... he does not cut corners. Funny enough, that is why Evan earned the rank of Eagle Scout
  as a teenager. He told me to cast a wide net, call everyone I knew and to not be afraid to call in a
  favor. I attribute my getting a new job within five weeks (and not having a lag in my resume) to
  Evan. His advice was spot on and something I will never forget.

  Just as important as the stories I have recounted is the fact that Evan is someone who cherishes
  his family. He is the first to call to congratulate, the first to call when something is wrong, and
  the first to call to see what is going on in your life. Evan is my cousin, my older brother, and one
  of my closest friends. You cannot ask for anything more in a person. The only people who look
  at him with more adoration are his wife and three beautiful children. Evan's family and my
  family lived in the same apartment building in Manhattan for almost four years and I have
  witnessed first hand how important he is to them. They need him and he needs them. He and his
  wife Jodi are a team and because of that teamwork their children are growing into wonderful
  people. Evan's number one job in life is as the head of his family and taking that job away from
  him would be absolutely devastating to all involved.

  Your Honor, I once again ask for leniency for Evan Greebel and that he be afforded the
  opportunity to remain with his family. It is in his best interest and more importantly their best
  interest as well.

  Thank you for consideration of this letter.

  Yours Truly,




  Rory G. Greebel, Esq.




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          May 2, 2018

          The Honorable Kiyo A Matsumoto
          United States District Judge Eastern District of New York
          225 Cadman Plaza East
          Brooklyn, NY 11201


          Dear Judge Matsumoto,

          I am Evan Greebel's sister-in-law, married to his brother Robert, and I have known
          him for the past seven years. I attended almost the entire trial and most hearings to
          show my support of an honest man. I am writing to respectfully request as much
          leniency as possible with regards to Evan's sentencing.

          Evan has been a brother to me ever since [ joined the Greebel family. Evan and my
          husband are brothers and best friends. I got to know Evan and his wonderful wife,
          Jodi, pretty early on in my relationship with Robert They hosted Sunday night
          family dinners for their siblings which often included their significant others. It was
          a relaxed way to spend time with each other catching up on the past week and
          playing with Evan and Jodi's young son,            (a few years later           arrived
          and joined the fun).

          It was clear from the beginning that family was paramount to everything else for
          Evan. He is a phenomenal father - loving, caring, gentle, supportive, involved,
          engaged, playful and present During Hurricane Sandy, Robert and I were dating and
          both of our apartments lost power. Without hesitation Evan welcomed us into their
          home where we stayed for a week Despite having just brought their second son,
                     home from the hospital only 6 weeks earlier, Evan and Jodi could not have
          been more hospitable. I remember fondly arriving at their apartment and seeing
          Evan and                         wearing matching super hero capes playing red
          light, green light You could see the pure joy on both          and Evan's faces as
          they ran down the hall.

          To those who know Evan, he really is a super hero. The last two and half years have
          been excruciating and Evan has handled everything with such dignity. Family has
          continued to be his most important focus, with his role as father his number one
          priority. Despite everything going on during the time from indictment to trial,
          during the trial and post, Evan has not only been there for his wife, children and
          family, as he always had, he continues to be the husband and father they need and
          deserve. Coaching their sporting events, taking them to birthday parties, helping
          with homework, and leading by example, Evan and Jodi are raising three kind,
          caring, inquisitive, giving and loving children.

          This past summer I gave birth to our daughter,           . Born 7 weeks prematurely
          she spent a month in the NICU. Since this is our first child, we had absolutely
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         nothing for a baby, as we thought we still had almost two months to prepare. With
         her early arrival and extensive NlCU stay we were overwhelmed in every sense of
         the word. Evan and Jodi were at the hospital within hours of             delivery to
         support us. They had already put together all the necessities we would need for the
         baby, brought food to nourish and sustain us and most importantly they put
         everything else on hold to be with us - lifting us up and providing love and comfort
         during our most uncertain and stressful time.

         Since visitors beyond parents were extremely limited in the NICU, as soon as we
         were able to bring          home from the hospital, Evan, Jodi and their children
         were the first to come meet their new niece/cousin. As             g-d-father, Uncle
         Evan and           have a special connection. In the early days not long after
         was discharged from the NICU and we were exhausted, sleep deprived parents, Evan
         would step in to help comfort her. Despite all he had going on this past summer and
         fall and without any expectation, Evan always made time for his niece. He would
         rock her, hold her, make her smile and play with her. He gave us time to catch our
         breath and relax.

         Your honor, I hope that this can help you see what a caring. dependable, loyal and
         devoted man Evan Greebel ls to his family. He means everything to his family and
         imaging our world without him seems impossible. He is also a religious and pious
         man. He needs access to kosher food and a Torah. I respectfully request as much
         leniency as absolutely possible with regards to his sentence. If you have to punish
         him, please grant probation and at worst community service.

          Evan's family, his incredible wife, Jodi, children,                        , his
          extended family, friends and community need him. He means a lot to so many
          people and our community is a better one with Evan Greebel in it.

         Thank you for your time and consideration.

          Sincerely,

         ~ lnvl~t
          Shelley Greebel
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   The Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201



   Dear Judge Matsumoto,


   We thought it might be helpful for the court to get a better sense of Evan Greebel, the father,
   husband, son, brother and close friend, from those who have known him so well for the past
   many years.

   My wife and I have known Evan for over a decade and see and know a very different Evan than
   whom the government portrayed in court. We have only ever witnessed the Evan Greebel that
   spends every weekend on various sports fields cheering on his three children or teaching them
   to swim in the local pool. We have only ever witnessed the Evan Greebel that just recently
   taught his youngest daughter to roller skate, with his wife on roller skates by his side, at our
   son’s birthday party and perhaps most importantly, the Evan Greebel, notwithstanding the
   ordeal of the past two years, that was at all times primarily focused on the well-being of his
   children and on shielding them from the circumstances around them.

   Having each attended court on many occasions, we were as awestruck, as I am sure your honor
   was, by the outpouring of support from friends, family and colleagues who came to court each
   day during the trial. An entire community does not rally, for months on end, behind a man
   unworthy of such support.

   We humbly thank your honor for her time.

   Respectfully submitted,

   Matthew J. Greenberger                      Jessica D. Greenberger
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                                            www.bernsockner.com

                                                                                             April30,2018

   The Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

           Re:      Letter in support of Evan Greebel

   Dear Judge Matsumoto:

           I will have failed to achieve my objective if, by the end of this missive, I have not been
   able to adequately explain to the Court Evan Greebel's positive qualities, and why those qualities
   should weigh heavily in favor of leniency.

           I begin by admitting that I'm clearly out of my element. Way out! Unlike the civil matters
   I have addressed on a day-to-day basis for the past 43 years, at stake here is the continuation of a
   friend's liberty and the implications of his possible unavailability on the lives of his wife and three
   small children. This makes this letter the most important "brief' of my career.

           Over the past 5 or so years, I have come to know Evan on a personal level. He, his wife
   and their three young children are close with my son and my son's nuclear family. A good number
   of my interactions with Evan have been while each of us was watching our charges with one eye,
   (he, 3 small children; I, 2 small grandkids), while with the other eye, each of us was doing legal
   work for clients. We talked often about law and lawyering. That is how I came to know Evan as
   an attorney. From our first professional discussions, and at all times thereafter, Evan has
   exemplified what I believe were all the qualities of a competent and ethical attorney. My
   impression of Evan has not changed despite the unfortunate verdict.

           I digress, momentarily, to give the Court insight as to where I'm coming from. To be clear,
   I have high standards for judging attorneys. I ascribe that to my full-time employment during law
   school (GWU) with the US Dept. of Justice, Criminal Division, during Watergate. As a law clerk
   (72-75) I was at the DOJ for the so-called "Saturday night massacre." I was also fmiunate to
   interact multiple times on a daily basis with the immediate office staff of the Attorney General. I
   even spent time in the living room of the Attorney General at 4:30 a.m. I've kept Edward H. Levi's
   autographed photo on my wall for 43 years to keep me pointed in the right direction.
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   The Honorable Kiyo A. Matsumoto
   United States District Judge
   Page-2-
   April 30, 2018



            That said, I am fully aware of the verdict in Evan's case. But, despite that result I can state
   to thi's Court unequivocally and without reservation that in each and every discussion I had with
   Evan - and there were many - the only impression I took away was that he could represent me any
   time. If the Court is looking for a rationalization between my impression of Evan and the verdict,
   only one word comes to mind, namely: anomaly.

            Simpler yet, is my impression of Evan as a husband, father and friend. As to the latter, I
   know that my son thinks enough of Evan to have tried to attend his trial at least once a week. My
   son has stated his intention to continue to stand by Evan and his family throughout. It should
   suffice to say that in every one of my numerous encounters Evan is an attentive, loving, and almost
   doting father and husband.

         Your Honor, what I'm trying to convey here is that whatever the purpose of sentencing
   may be, Evan is deserving of whatever leniency and grace your discretion might allow. The
   community at large will benefit from allowing Evan to remain a productive member.

           Of course, his wife and those very young children ...

          I thank you for whatever consideration you deem appropriate.




   PMG:rls
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                                         Brooke A. Greenthal




                                             April 26, 2018


   The Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

   Dear Judge Matsumoto:

   My name is Brooke Greenthal, and I am one of Evan Greebel's friends. I first met Evan nearly
   14 years ago when he started dating his now wife, Jodi Greebel, who is one of my dearest
   friends from college. Initially I was struck by Evan's love and respect for Jodi, close connection
   to his family and friends, sense of humor, and passion for his work and clients. After seeing
   Evan and Jodi's relationship grow, I was honored to serve as a bridesmaid in their wedding in
   2007.

   Since then, I have seen Evan become a proud father to                                   while
   taking on bigger responsibilities in his career. As a full-time working mom to two young
   children, I respect how he has prioritized being an active, hands-on dad in addition to pursuing
   his professional ambitions. Beyond his family and work, Evan recognizes the importance of
   giving back to his community. I think all of this stems from Evan's deep sense of responsibility
   and loyalty, which I admire.

   Over the years, I have spent a lot of time with Evan from getting together for everyday
   occasions to celebrating important milestones in life. I appreciate his commitment to our
   group of friends, always treating everyone like family. I also value that Evan is a wealth of
   knowledge, and has been willing to share that with me such as providing a tutorial on Bitcoin or
   giving me tips on how to approach a renovation project.

   I respectfully request that you show Evan leniency at his upcoming sentencing. You will not
   regret this decision because Evan has much more to give to his family, friends, and community.
   I know he will continue to put his intelligence and drive to good use.

   Sincerely,

   Brooke A. Greenthal
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   April 27, 2018



   The Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201



   Dear Judge Matsumoto:



   Carly and I are writing to you on behalf of Evan Greebel. We are local friends with the Greebels
   here in Scarsdale and have gotten to know them and their kids over the past three years. The
   Greebels are an active family in our community and have conducted themselves impeccably
   during what must be a very difficult time. Along with coaching his kids' teams, Evan is great
   with all of the neighborhood kids and has a knack for pulling them away from their TVs to the
   outdoors for sports and games.

   You will always find Evan stepping up to help others, whether its lending a ride, hosting a
   playdate, or running the bake sale table for a charity. In a community where egos can create
   elitism, Evan is always the guy to say hello, welcome with a hug, make introductions and be a
   good friend. He's close to his friends and family. His kids are always in tow, along with his
   parents.

   We can only speak to what we know of Evan, and we know him as a wonderful husband, father,
   son, and a Joyal friend. Carly and I would like to ask you to consider being lenient in his
   sentencing. Evan is a good man who has been put in a difficult position. Please consider his
   amazing wife and three outstanding kids and what he brings to our community when making
   your decision.



   Best,



  ~(!~,~~
   Doug and Carly Grossberg
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   The Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201


   Dear Judge Matsumoto:

   Good Afternoon, my name is Suzanne Grosso and I am the eldest first cousin to Jodi Greebel.
   Evan Greebel has been a part of our close knit family for over 11 years now and I consider him
   my cousin as well. The purpose of this letter is to show my support for Evan and more
   importantly request that he be granted leniency.

   I am a Speech-Language Pathologist, specializing in children, by trade. However, I decided to
   dedicate myself to being a Full Time mother once my children were born. Through my
   educational training and personal experience, I consider myself a tough critic when it comes to
   how others are parenting and raising their children.

   On March 11, 2009, Jodi and Evan welcomed their first child. The entire family celebrated the
   new addition. We gathered on multiple occasions and holidays. Evan appeared proud, loving,
   and very involved with his son's care. Through my observations, Evan was proving to be a
   wonderful dad. It was great to see Evan being so involved with his son. On one particular
   holiday, as we all gathered around the table, I specifically remember being impressed with Evan
   as he patiently took the time to teach his son the meaning of the holiday. He age appropriately
   explained the importance of the holiday and encouraged his son to participate in the family's
   traditions. His son's face was beaming with pride as he participated. A moment that has
   remained with me.

   Jodi and Evan have added 2 more children to their happy family unit. With three little ones now
   in their home, Evan continues to provide attention and support to all three kids. On many family
   occasions, Evan is seen playing and teaching his children. He provides a safe and structured
   home which research proves is critical in the development of happy, well rounded children. It
   appears that Evan is taking his role as father very seriously. The parenting teamwork of Evan
   and Jodi is evident in their well mannered, enthusiastic kids. It is so apparent to anyone who
   meets the Greebel children that they are thriving. I would only wish for all children to be as
   lucky, as the Greebel children, to have both parents present and hands-on during these critical
   years of their development. Having their father participate in their daily nurturing, educational
   support and activities is crucial during these critical years.

   I kindly ask you Judge, to please take into consideration the importance of having a father
   present during this crucial time of childhood development. In addition, to consider all the
   wonderful qualities behind the man, Evan Greebel.

   I am confident that the court will not regret the decision to grant Evan leniency.
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   Thank you for your time.


   Respectfully,


   Suzanne Grosso




                                         2
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                                                   Dara Gruenberg




     The Honorable Kiyo A. Matsumoto
     United States District Judge Eastern District of New York
     225 Cadman Plaza fast
     Brooklyn, NY 11201

     Dear Judge Matsumoto:

     I have known Jodi and Evan Greebel for several years. We were introduced through mutual friends prior
     to the family's move to Westchester. I was thrilled when I heard that Jodi and Evan were moving to
     Scarsdale and would 'oe sena·rng t'ne·rr youngest son,            to                               for
                     . Our sons are the same age and when they were put in class together became instant
     friends.           , like his two siblings, is a happy child who benefits from a loving family environment.
     Jodi and Evan are hands on parents who were regulars in the hallways of the               school.

     At the time, in addition to being a parent at the school, I was also in charge of the Parents Association
     for several years. We held myriad family events throughout the school year, and the Greebels were
     always in attendance with a smite on their faces and we re warm and welcoming to new families. it is
     hard to make friends and feel comfortable in a new community, and Jodi and Evan understand that and
     go out of their way to make people felt at ease. Furthermore, Jodi led our "Dish in in the
     Kitchen"program which gathered parents to cook meals for the hungry. It was an opportunity for new
     parents to get to know one another while performing community service . Jodi was also a class parent,
     which is a time consuming labor of love . Evan was extremely supportive of all of Jodi's volunteer work
     at the         and pitched in whenever he could .

     When Jodi suffered an unspeakable tragedy and lost her brother, Evan was a pillar of strength and
     comfort for her. Whether it was taking the kids to school or spending as much time with Jodi and the
     family as possible, he was a loving and supportive husband. When I attended shiva, Jodi was nursing her
     daughter, a newborn at the time and coping with the shock of her loss. Evan did not leave her side
     tending to her every need.

     Respectfully, I ask that you consider Evan's wife, Jodi, and their three young children ,
                           when deciding on fvan "s sentencing .

    Thank you for your consideration.




    Dara Gruenberg
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                                                                                                              April 30, 2018

The Honorable Kiyo A. Matsumoto
United States District Judge
F.astcm District of New Yoric
225 ('.adman Plaza Bag
Brooklyn, NY 11201

Dear Judge Matsumoto:

        My name is Alexander Harrison. I grew up in the same town as Evan and my brother attended elementary school
through high school with Evan. I knew Evan during this time as my older brother's friend. I also knew Evan's pan..-nts and
siblings during this time. Over the years. I have celebrated many of life's milestones with Evan and his family. Evan's
family was then, and continues to be, well-known. upstanding members oftbe community and they all have excelled
academically, as professionals, and as volunteers, coaches and respected citizens. As a kid, I remember looking up to
Evan's accomplishment of becoming an Eagle Scout.

        About four years ago, I moved to the same town as Evan and reconnected. Two of my children are now in the
same elementary school class as two of Evan's children and my wife and I have spent a significant amount of time with
Evan and his family.

        In my interactions with Evan, he has proven to be an amazing person, a good friend, a great husband and doting
father. He and his wife have created a beautiful, loving family. It is obvious Evan cares deeply about his wife, Jodi~ they
are a good team and always helping one another. Their children are a clear reflection of Evan' s value system- always
polite, honest, engaging, intelligent and personable. Evan also is a father who works tirelessly to make sure his kids are
well taken care of and happy. I always have full faith and trust leaving my children under Evan's supervision and know
that they will have fun and be safe.

        I have co-coached several kids' sports teams with Evan and found that he teaches the kids all the right things by
focusing on learning, trying their best. respecting their opponents and most importantly, having fun.

        Evan's family l.'Iljoys celebrating many holidays and family gatherings at their home. Evan always is a gracious
host, whether it's Friday night Shabbat teaching the children important Jewish traditions, a Sunday family brunch with a
lively game of hide and go seek in the backyard. or a group of his son's friends playing basketball and eating pizza in their
backyard. 'lbese events have created many great memories over the years which have made a positive impact on myself
and my family.

        I hope that you can show whatever leniency is possible on F.van and his family. 'Ibey have endured hardship over
the last few years that I would not ·wish upon anyone. I cannot imagine them living separately but only growing older as a
family over time.
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                                                                                     April 30. 2018

   The Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

   Dear Judge Matsumoto:

          I had the pleasure of meeting Evan Greebel when I moved to Scarsdale in the fall of
   2014. Having both grown up in Westchester, my husband, Alex, and I were thrilled to return and
   build our own roots in the community that my husband grew up in (and next to the town that I
   had called home for the first eighteen years of my life).

          I had heard about Jodi and Evan through many people, the first being Alex's parents.
   Alex's older brother and Evan graduated from the same high school class. Evan's parents were
  at my wedding and Alex's parents were at Jodi and Evan's wedding. So when we moved back,
  my mother in law eagerly told me about the Greebels who aJso had just moved to Scarsdale,
  since their two kids were the same ages as our two kids. Between that connection and several
  others, I first met Jodi at a playdate for our sons who were just entering Kindergarten. Not long
  after that, Jodi and Evan graciously invited our family over for a barbeque, and we all became
  quick and easy friends. Our kids would happily play in their backyard while Evan would
  organize races and games while somehow simultaneously, he would be grilling hamburgers and
  telling us stories.

          Now, almost four year laters, our friendship with the Greebels has grown. Evan has
  reinforced the reason we moved back to Scarsdale and the importance of community as we raise
  our families together. Brunches where Evan makes special pancakes for         because he knows
  that      won ·teat the chocolate chip ones that most kids love. Family barbecues where Evan
  stays up late with the boys organizing Olympic style games. Sporting games where Evan coaches
  or watches patiently on the sidelines in all types of weather. Carpools where     comes running
  home to tell us about the new game that Evan taught them in the car. Running into each other at
  the diner or bagel shop on a Swiday morning. These small rnoments are what make up our lives.
  Having my son foe1 just as comfortable going home with Evan after a lacrosse practice as he
  does with me makes me so grateful for our friendship.

         Evan knows my kids. He knows what spons teams       follows and what his favorite
  foods are. He knows what extracurricular classes takes and who her friends are. Aml ht:
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   always shows a genuine interest in what is going on in our daily lives, whether at work or at
   home. He has had us as a guest in his home more times than I can count. Whether it be for a
   playdatc, birthday party or holiday dinner, he always makes us feel welcome. These small
   gestures speak volumes as to the type of person that Evan is.

            The past several years have been trying on the Greebel family, if not us all, to say the
   least. I have watched Jodi and Evan try as hard as they can to try to maintain some sense of
   normalcy for their young children. They have done so with dignity, poise and heart.
   Understanding what has gone on in the courtroom somehow seems completely incongruous with
   the person I see raising his beautiful family with his incredibly loving and su(>portive wife. I
   know Evan to be a cari ng and patient dad, a doting and loyal husband. and an honest and
   dedicated friend and member of the community. I cannot imagine his children growing up in
   this community that he helped build without him by their side.                                    all
   deserve to have their Dad there as they approach their most critical childhood years. And Evan
   deserves to be there.

           Your Honor, I ask that you please be lenient in your sentencing of Evan. Whatever
   discretion you have I beg that you use it. Not just for Evan, but for his incredible family and for
   our community.

          Thank you for your consideration of this request.

                                                  RespectfuJly.

                                               ~ ·e.~
                                                 Lori E. Harrison
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   April 23, 2018

    The Honorable Kiyo A. Matusumoto
    United States District Judge
    Eastern District of New York
    225 Cadman Plaza, East
    Brooklyn, NY 11201

   Re:    Evan Greebel

   Dear Judge Matsumoto:

   I have practiced law in Minnesota since 2002. My primary practice area is business litigation. I
   have never appeared in your courtroom, but I have in the past been privileged to appear pro hac
   vice before the Honorable Timothy J. Walker of the New York State Supreme Court. I am also a
   son, father, brother, and husband.

   Evan Greebel is my friend. Please show Evan leniency at sentencing.

   I knew Evan best during my first 2 years of college at the University of Michigan in Ann Arbor, Ml.
   Evan was a part of the leadership team for a fellowship organization I joined during my first year.
   Though I did not appreciate it at the time, Evan was a steady, paternal figure for me in my first
   years away from home. More than 20 years later I cannot quote a particular thing Evan said or
   point to a single momentous event that illustrates this part of his character.

   I can say that I saw Evan several times per week for 2 (academic) years. When our group held
   a social event, Evan was there. Social events were the easy part. When our group held a charity
   function, Evan was there. When our group went to the library for communal study time, Evan was
   there. If something went wrong at the house, Evan helped solve the problem. Evan was always
   there-to help and to lead. I do not believe that Evan gave so much of his time so that he could
   check a 'leadership' box on his resume. He gave too much of his time for me to reach that
   conclusion. I believe it was because he genuinely cared for all of us.

   I last saw Evan in person in Ann Arbor about 3 years ago. It would have been easy, I suppose,
   to make small talk about the practice of law. Instead we talked about kids and family. From that
   conversation I have no doubt that Evan gives to his family just has he gave to me so many years
   ago.

   We are all better off when people like Evan are given the chance to use their most productive
   years in service of others. This is Evan's gift. I hope your decision about his future will give him
   the opportunity to use it. Thank you for considering this request for leniency.
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   Hon. Kiyo A. Matsumoto
   April 23, 2018
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   Please do not hesitate to contact me if you have any questions about Evan or this request for
   leniency in Evan's sentencing.




   Aaron . Hartman
   Attorney at Law

   ARH/arh
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   The Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

   May 7, 2018

   Dear Judge Matsumoto:

   My name is Susan Hendler. I am a                                                   in Scarsdale, New York.
   I have known Mr. Greebel for the past 4 years. I taught his oldest son,
   and I am                         teacher now. (           is Mr. Greebel's middle child.)

   Mr. Greebel has been active in our school community by coming into the classroom for parent teacher
   conferences. He always showed an interest in the boy's well-being socially and academically. I remember
   this past March he asked me about            enrichment activities at school in math. He told me he
   loved challenging         at home with mental math problems.

   Mr. Greebel came into our classroom for both boys as our Mystery Reader. He spent one morning in our
   class. He let the class interview him. The children asked questions like: what is your favorite color; sports
   team and/or your age. Mr. Greebel was very comfortable with the                    s and enjoyed answering
   their questions. He also read a sports book to the class. He told the children he picked that book, because
   he loved playing sports with           .

   Mr. Greebel joined all the dad's for our Father's Day celebration when I had            . I know he will be
   joining us in June for our Father's Day party this year.

   Mr. Greebel participates in school activities for his children. He cares what goes on in class for the boys.
   He is also concerned with their academics.
   One more note,            is a bright                            who writes about his dad. I wanted to include
   some of his notes here. On Mondays we write about our weekends,                  writes about what he has
   done with his dad on his IPAD. Likewise, when we wrote persuasive letters to our parents,                wrote
   one to his dad.

   Thank you for giving me the opportunity to write to you about Mr. Greebel.

   If you have any further questions, feel free to call me at              .

  CJ ~
   Susan Hendler
                       1w.
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               ROPES & GRAY LLP
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 May 1, 2018                                                            David B. Hennes
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                                                                        david.hennes@ropesgray.com




 The Honorable Kiyo A. Matsumoto, U.S.D.J.
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

                          Re:      Sentencing of Evan Greebel

 Dear Judge Matsumoto:

         I write in connection with the sentencing of Evan Greebel, who is scheduled to be sentenced
 by your Honor in the near future. I am a partner at Ropes & Gray LLP in New York and head of the
 firm's corporate and shareholder litigation practice.

        I have never written a letter such as this. I do so now only because I have known Evan for
 over 25 years and have always known him to be a decent, honorable, kind, and warm human being.
 I have also always known Evan to be a person of integrity, who is community minded, and who
 always acted with compassion and thoughtfulness toward others. I have been able to form that
 judgment because I have known Evan in every stage of his adult life - during college, as young
 lawyers practicing at the same law firm, and later in the community. I respectfully request that the
 Court show mercy on Evan, and allow him to begin the process of rebuilding his life.

         When Evan and I met at the University of Michigan in the fall of 1991, Evan was in the process
 of joining my fraternity. Although I was several years older than Evan, Evan and I became friends
 and, at that time, I came to appreciate that he was a kind and warm-hearted young man. We kept in
 touch after I graduated and went to law school. After clerking for a federal judge, I became a litigation
 associate at Fried, Frank, Harris, Shriver & Jacobson LLP.

        After graduating from Michigan, Evan went to Georgetown Law School. I helped recruit him
 to come to Fried Frank, first as a summer associate in the summer of 1997 and then as a full time
 corporate associate in the fall of 1998. Although we did not work in the same department (he was a
 corporate lawyer; I was a litigator), Evan was always well liked and respected at Fried Frank both
 personally and professionally and those who worked with him believed him to be decent and
 honorable, in addition to being a hard working and thoughtful young lawyer.
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 The Honorable Kiyo A. Matsumoto, U.S.D.J.                       -2-                    May 1, 2018


         After Evan left Fried Frank, we stayed in touch. I met his lovely wife and young children at
 Michigan events and at events at our Synagogue. I was not surprised to see the success that he was
 having with his career given that I had seen him grow from college to law school to young
 professional. It was also clear that his family was of the utmost importance to him.

         To put it mildly, I was shocked when I heard of Evan's indictment and saddened by his
 conviction. This was not the Evan that I know. I always knew Evan to be a straight shooter, who
 wanted to succeed but was not driven by money, and who was, at his core, a good and kind person
 and, most fundamentally, an ethical lawyer. I do not know the detailed facts of the case that was tried
 before the Court and the Court will properly make its own judgment in that regard, but I cannot help
 but share my view that I find it difficult to believe that Evan would knowingly do anything dishonest.

         I certainly appreciate and understand from my years of practice how difficult sentencing can
 be. I respectfully request that Your Honor temper justice with mercy, and ask that the Court impose
 a non-custodial sentence given the circumstances, which undoubtedly include the permanent damage
 to Evan's career and reputation that he has already suffered.

        Thank you very much for your consideration of this letter.




                                        David B. Hennes
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April 23, 2018

The Honorable Kiyo A. Matsumoto
United States District Judge Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Dear Judge Matsumoto:

My name is Adam Hertzog and I have known Evan Greebel dating back
to elementary school, when we competed against each other in youth
sports, most notably basketball, where neither of our games was
particularly notable. Our relationship \1vhich now spans nearly four
                                         1

decades, continued throughout middle school, high school, and now
most recently in the last decade as friends at a golf club in Connecticut.

 Even though I understand his legal situation, I ask you show leniency
 towards Evan in his upcoming sentencing. While I don't work
 professionally in the same field as Evan, ever since I have known him, he
 has been a compassionate friend and now, in more recent years, I have
 seen his finest qualities as it relates to his own wife, Jodi, and children. I
 personally have seen how devoted he is as a father and husband. Evan
 and I have had many conversations about his life and the many plans he
 and Jodi have for the_ir children. They, without question, are first and
 foremost priority in his life. I've seen them all interact during the
 summer months, when I'm up in the New York area since I live in
  Florida right now. I've seen Evan take his sons out to play sports like
  golf and tennis - he's definitely an active father. Each time I see them
  over the summer - which is fairly frequently - we always laugh, catch
  up, and talk about the things going on in our family's lives, and
  reminisce about our glory days back in grade school.

 Evan happens to have a terrific sense of humor and he is warm and
 friendly- he's the kind of person others gravitate to as I saw first-hand
 when he joined our country club about a decade ago. Even though I was
 one of the only people he knew when he joined, I basically had to do
 nothing out of the ordinary for him. Very quickly upon joining, Evan had
 a group of close friends and within the first year of joining, it felt as if
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   Evan had been there for two decades, a pretty special situation since
   these kinds of places can be somewhat difficult to break into.

   I hope that some of my experiences with Evan have shed some light on
   the kind of person he is as someone I have known on and off for nearly
   40 years. °Thank you for your time.
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                                      David B. Hertzog




                                                                            May 3, 2018
                                        Evan Greebel

      Dear Judge Matsumoto:

          I am writing on behalf of Evan Greebel to request that, if sentencing is to
      occur, you recognize that Evan is an honest and truly decent person who has,
      throughout my dealings with him, exhibited a high degree of professionalism and
      integrity. I have known Evan since his high school days when he and my son
      were in the same class, and have worked with Evan in 2007-2009, at the time I
      was a partner at Katten Muchin Rosenman LLP ("Katten").

          During all the times that I have known him, I can attest that Evan has always
      acted ethically and competently, demonstrating a work regimen that fostered his
      quality legal practice. Evan worked with me on various corporate matters,
      including matters involving a public biotech company (not related to Shkreli or
      Retrophin). His work was of the highest caliber, and all my clients liked working
      with him. He painstakingly spent hours reviewing the honesty and forthrightness
      of his work, including the public disclosures of the biotech company.

          I am finding it extremely difficult to reckon with the jury's verdict in Evan's
      case given my experience with him. In this light, I sincerely hope and request
      that you will act favorably and leniently in any sentencing of Evan. In this
      instance, I believe that justice and the rest of us would best be served with, at
      most, a probation requiring community service.

         By way of background, I am an attorney who started with Cravath before
      founding my own firm (Hertzog, Calamari & Gleason) of which I was managing
      partner. One of my partners is currently chief judge of the Southern District (NY),
      and one other partner is or was chief judge of the Bankruptcy Court (Eastern
      District). I also served as a senior partner at Winston & Strawn and Katten.
      Additionally, I served as general counsel to a public utility, Allegheny Energy.
      Currently, lam President of Sprague Group, Inc., a legal and financial consulting
      company.
          If you require anything further, please do not hesitate to contact me at

                             . Thank you very much.


                                              Sincerely yours,
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      The Honorable Kiyo A. Matsumoto
      United States District Judge
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, NY 11201
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       To The Honorable Kiyo A. Matsumoto.

       My name Is Kenny Herzog and I am writing this letter on behalf of my friend Evan
       GreebeL I have a wife and three children. We live in Greenwich CT. Evan and I have
       known each other for about 10 years now. And I consider him to be a good man and
       a good friend.

       ~pite having no commonality in careers (I am a 1V commercial director and
       children's book author), we have a lot in common outside of work. We golf together,
       hang out and watch football, and our wives are friends as well, so we spend time
       together as families.

       1·ve come to know Evan very well, and think of him first and foremost as a family
       man. He loves his wife and kids very much, and from what I've witnessed puts them
       above all else.

       I wish there was one monumental event I could tell you that could help my friend's
       cause. But really it's been the little things about him that make him a good person
       and a solid citizeJL

       Best,


      ~
                                Case 1:15-cr-00637-KAM Document 666-2 Filed 08/08/18 Page 138 of 149 PageID #: 21452




The H onorable Ki yo A. Matsumoto
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201


Dear Judge Matsumoto:


Evan Greebel is a dear friend. I have known Evan for over ten years, and we were first
introduced by mutual friends, because we were both new fathers living a few blocks from each
other in New York City. Our early friendship developed during countless weekend mornings,
sitting together on benches in various Central Park playgrounds, often just after sunrise. When
Evan and Jodi had their first son,          , my wife, Eva and I had a just given birth to our
second son. Each weekend, our baby boys would often wake in the early hours, and we would
email to meet, grab coffee and bagels and push our strollers to the park. We would regularly talk
 and play with the kids until lunch time, nursing extra-large Dunkin' Donuts coffees.


Over the years, our families grew increasingly close, as my wife and Jodi became warm friends.
We have two older boys and a daughter, just like Evan and Jodi, and our kids have played for
years with                                 . From our earliest days meeting in the park to more
recent BBQs in his backyard, the memories that stand out most are of Evan's care and focus on
his family. He is a doting father that showers                        with affection, teaches them
proper table manners, and role-plays with          when she hands Evan a doll. Evan is also so
clearly in love with Jodi and is effusively proud of her as a mother and entrepreneur.


 When Evan, Jodi and the kids moved to Westchester, we were sad to see them leave the
 neighborhood; however, we continue to visit with the family regularly, and every Thanksgiving,
 Evan drives the kids into the city to meet me and my boys to watch the parade. He walks across
 the park with           on his shoulders, helping         ride his scooter, and carrying breakfast
 for everyone. Evan brings so much hot chocolate, bagels and Dunkin' Donuts munchkins that he
 ends up sharing with strangers in the crowd along Central Park West. This is emblematic of his
 generous nature. He loves seeing the kids smile as he pours hot chocolate on a frigid November
       •
  morning.


 In addition to being a caring and attentive father and husband during the good times, he is the
 family's rock during the challenging times. When Jodi's brother committed suicide recently,
 Evan's strength and sensitivity sustained Jodi when she was most vulnerable, and supported the
 kids through a confusing and scary time. Over the many years, I have cherished our relationship,
 his counsel, and his honestly, but I was most proud to be Evan's friend during that period.


  Today, I am watching Evan and Jodi confront the most frightening time in their lives, and I am
  very aware of the legal issues driving this situation. In fact, my wife and I attended a number of
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court hearings to provide our support to Evan, Jodi and their families. It is surreal to see my
friend, who is such a positive force in his family's life and to all that are fortunate enough to
know him, in this predicament. I know Evan as a caring father and husband, an honest and
supportive friend, and as a generous neighbor, and I beseech you to show Evan and his family
leniency. If shown this leniency, I am certain that Evan would lead a productive and positive life,
and you would not regret such a decision.




Thank   OU,
    ,~
Dou as He     an
                            Case 1:15-cr-00637-KAM Document 666-2 Filed 08/08/18 Page 140 of 149 PageID #: 21454




The Honorable Kiyo A. Matsumoto
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201


Dear Judge Matsumoto,

I am writing this letter in support of Evan Greebel, whom I have known for over a decade.

My husband and I met Evan and his wife, Jodi, before we had children. Since then, we have both
grown our families and coincidentally have similar family dynamics (two sons and a youngest
daughter). We feel incredibly lucky to have found the Greebels and be able to share this special
stage of life with them.

As family friends, I've been able to observe first-hand the love and devotion Evan has for Jodi
and their three children. He is a loving, committed partner to Jodi and a present, hands-on father.
For example, at meals I am always struck by Evan's attentiveness to the children, helping them
make healthy choices and reinforcing the importance of table manners. This is a small example,
but it speaks to Evan's involvement and dedication as a parent.

Evan is a very generous, caring friend. A few years ago, I was transitioning to a new job and had
some legal questions. Evan was more than happy to take the time to look over my employment
contract. He provided sage advice, and was also honest about which areas he did not have
experience to comment. Evan acted with professionalism and humility, and his counsel proved
helpful.

I know you will be sentencing Evan shortly. I write this letter to convey to you the Evan I know:
a decent, caring person; a loving, devoted husband and father; a principled lawyer; and a loyal,
generous friend. It's heartbreaking to imagine Jodi and the kids without Evan. I'm praying that
you show leniency and compassion.

Thank you for your kind consideration. Please don't hesitate to reach out if you need anything
else or have questions. I can be reached at              .
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Seth Hirschel
4 Ambler Farm Rd
Bedford, NY 10506

May 6, 2018

The Honorable Kiyo A. Matsumoto
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201


Dear Judge Matsumoto:

Firstly, thank you for your service and for your dedication to the Justice System. I can only image the challenge, pressure
and responsibility that this role must demand from you and your colleagues. I’m a proud American and deeply respect
and value our constitution and anyone who works to enforce its tenets.

I understand that you are presiding over the trial which involves Evan Greebel. I’m familiar with the case and even
attended some sessions of the trial. I’m also familiar with the Martin Shkreli case and can appreciate the business and
societal issues surrounding both. Evan’s case includes some complicated and nuanced business and legal details which I
found interesting - and I think it’s a reflection of how business and law can both get complicated at times.

I live in Bedford, New York, I’m a business owner of over a dozen customer facing businesses and a local fire fighter
(Captain, Bedford FD). I am also a long-time friend of Evan’s, going back some 20 years. Additionally, Evan has served as
counsel to several of my businesses over the years. I have always regarded Evan as an Intelligent, Understanding,
Ethical and Fair person. Whether he is advising me about a business dealing or helping with a ruling on the golf course,
he was always honest and acted with integrity. He is proud of his job, proud of his family and is a great friend and
trusted attorney for me. Evan has helped me strategically consider legal concepts and has also reviewed specific
documents that were central to my business dealings. His opinion was always relevant and often very valuable to me.
There were even times that Evan told me things I could not do – and I valued his input even more in those cases. His
interest was always in helping me first and foremost.

With regard to Evan’s trial and sentencing to come, I am honored to write this letter of support. I believe Evan was
acting in good faith for his client when he made decisions and gave legal advice. I know it can very complicated and I
know his client wove a web of deception on purpose. I’m sorry Evan was associated with it. However, I believe Evan
was acting on the information he had at the time. In the end, I trust what I know – the part that’s not complicated -
which is Evan’s character, his set of values and his integrity. I know Evan would not compromise his career or family for
the sake of conspiring with a client. That’s not what he worked so hard for, it’s not what defines him and it’s not logical
or possible that he would knowingly do something so out of character.

I respectfully request that you consider leniency in sentencing Evan. He is not a threat to society, he has a family who
loves him and friends who cherish him. He is an honorable man, a loving father, a good husband and a trusted friend.


Sincerely,


Seth Hirschel
Case 1:15-cr-00637-KAM Document 666-2 Filed 08/08/18 Page 142 of 149 PageID #: 21456
                                                                                                    Street Address:

'{fu THOMAS, THOMAS & HAFERLLP                  Atrorneys Ar Law
                                                                       305 North Front Street, Harrisburg, PA 17101
                                                                                                    Mailing Address:
                                                                                P.O. Box 999, Harrisburg, PA 17108
                                                                           Phone: 717.237.7100 Fax: 717.237.7105


                                                                                               Arthur K. Hoffman
                                                                                                  (717) 441-7069
                                                                                      ahoffman@tthlaw.com



                                              April 20, 2018


 The Honorable Kiyo A. Matsumoto
 United States District Judge
 Eastern District ofNew York
 225 Cadman Plaza East
 Brooklyn, NY 11201

        RE:     Evan Greebel, Esquire

 Dear Judge Matsumoto:

         I have practiced law as an attorney in central Pennsylvania for nearly four decades, first as a
 prosecuting attorney for the Pennsylvania State Board of Medicine, and for the balance ofmy career in
 private practice concentrating in civil and administrative litigation. My daughter is married to Evan
 Greebel's younger brother, and I have known Evan since the two began dating about seven years ago.

         The purpose of this letter is to request that Your Honor consider to the greatest extent possible,
 imposing a lenient sanction on Evan for the jury's decision on the charges brought in his case. I
 attended several days of the trial, including most of the attorneys' concluding remarks, and the
 government's portrait of Evan sinlply does not fit with the person I have come to know personally, and
 respect, even admire, as a fellow private practice attorney.

         From my interactions with him directly, and observing him interact and converse with others, I
 see Evan as the epitome of a diligent, hardworking, well-intended attorney, who was not blessed with
 easily managed clients. Quite the contrary, from my own experiences in private practice, I recognize
 the challenges posed by the "difficult" client, with a "colorful" personality and outsized ego, in which
 the attorney attempts to advance his client's interests despite limited access to information and
 knowledge of the client's overall activities.

         From my observations, Evan is a loving and dutiful son, husband, and father, devoted to his
 family and community, and by history, strove mightily to build a career in an honorable and ethical
 fashion. I have engaged in a number of conversations with him over the years, on a wide range of
 topics, and never once detected any hint of an individual who would sacrifice codes of proper conduct
 to achieve an objective, or speak ill or harshly of others, or demonstrate an exploitative mindset or
 orientation.




                                             www.tthlaw.com
        PENNSYLVANIA               MARYLAND                    NEW JERSEY              WASHINGTON, DC
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THOMAS, THOMAS & HAFER LLP
Page 2


         I would characterize Evan as a person of integrity and honesty, responsive to the concerns of
 others, and one who scrupulously avoids the use of expletives or derogatory language about others.

        In my view, when looking at Evan's overall conduct as a professional, a family man, and a
 person in the community over the years, a harsh, punitive sentence would serve no one's interests and
 only add to the extraordinary pain, both personally and professionally, and humiliation he has already
 experienced throughout his prosecution.

         Thank you for your kind consideration of these thoughts.

                                              Very truly yours,

                                              Thomas, Thomas & Hafer, LLP




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                                                                              May 6, 2018




  The Honorable Kiyo A. Matsumoto

  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

  Dear Judge Matsumoto:

    I am writing to you to ask you for leniency in your sentencing of Evan Greebel. I have known
  Evan Greebel for about 8 years. My daughter is married to Evan's brother, Robert Greebel. I
  have found Evan to be a caring, considerate and compassionate person. When my daughter
  and son in law had some serious medical issues that proved to be very challenging, Evan could
  be counted on to provide help and guidance. Even though he had his own young family to take
  care of, Evan found the time in his very busy schedule to be there for his brother and sister in
  law.

    I have seen Evan with his wife, Jodi and his three young children many times. He has always
  put them first. He is a hands on dad whether it be baseball games, school functions, family
  outings, etc. Evan values family and knows the importance of spending quality time with them.

    Please consider how important it is for him to remain a vital part of their lives in their
  formidable growing years. Putting him in jail would remove him from the home where he along
  with Jodi need to be in order to raise caring, responsible children who can actively participate in
  society.

    I appreciate your concern in this matter and hope you will take my letter under advisement
  when you consider Evan's sentence.




                                                                              Mr
                                                         Very truly yours,

                                                          Q,ar,iJJ L.
                                                          Carol L. Hoffman
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                                                                          Kerry Hsu
                                                                          4 Keswick Commons
                                                                          New Albany, OH 43054

   The Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

   May 1, 2018

   Dear Judge Matsumoto,

   I am writing on behalf of Evan Greebel, whom I have known personally for nearly 15 years. I am
   aware of his conviction and I am deeply saddened by this news. Evan has always exhibited qualities
   of a high moral compass. Evan is driven, intelligent and extremely hard working. Despite his success
   he has always helped others excel at their careers. Additionally, Evan is dedicated to his family. Not
   only his wife and children but also his parents, siblings and his extended family. I ask for your
   leniency in his sentencing.

   I currently live in Columbus, OH and I am a Vice President at an investment firm, Rockbridge,
   focused on hospitality investments. I recently moved from New York. My husband, Chris Dietrich, is
   a self-employed finance consultant. I first met Evan in 2004 through his then girlfriend (and now
   wife), Jodi, one of my dearest friends. Jodi and I were investment banking analysts in New York
   from 2000-2002. For two years, Jodi and I worked rigorous hours together that naturally formed a
   lasting bond. Chris and I became friends with both Evan and Jodi and have spent considerable time
   with them over the years. In all our interactions, Evan has always taken an interest in both Chris and
   my work, asking thoughtful questions and providing guiding advice. It is natural for Evan to be a
   mentor. When Chris thought about starting his own business, Evan spent time with him to help him
   think through the matrix of decisions and made introductions for Chris to help kickstart Chris' new
   venture. He had a genuine interest in seeing him succeed. Evan extended the same always to me as
   well. He has always been curious about my career and offering advice or his own insights. I have so
   many memories of having dinner with Jodi at her apartment after her first son was born. Evan
   would inevitably come home late evening from work. Even with a long day behind him, he would
   always take the time to sit down with me and ask me how I am doing.

   Despite his busy lifestyle and commitment to his career, Evan always had time for his family. This
   included not only his immediate family but his parents, siblings and Jodi's family as well. I have been
   fortunate to be a part of key milestones in Evan and Jodi's life, including attending their wedding
   and their children's birthday parties. I have had the opportunity to watch their beautiful family
   grow. With each new baby, Evan would always send a proud dad email announcing the birth of
   their child. The excitement of announcing the newest member of the Gree be! family always
   bounced off the email. Both Evan and Jodi are the oldest of three siblings and having a big family
   was important to them. They have a lot of love to share.
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   Being the oldest in their respective families, Evan and Jodi felt their duty to look after their siblings.
   When they first married, they had a Sunday night tradition of having all their siblings over their
   small New York apartment, Evan and Jodi cooking a home cooked meal. They were grateful to have
   everyone in the same city and made sure their siblings stayed connected and felt a sense of home
   with them. Evan continues to be a guiding force in the family and these events have been
   heartbreaking to all. Evan has always been a champion for others and is now in need of that love
   and support.

   Sadly, the Gree be I family has had its share of tragedy. In the summer of 2015, approximately a
   month after the birth of the Evan and Jodi's third child,         and three months prior to the
   indictment, Jodi's youngest brother died suddenly and tragically. This death has been so hard to
   comprehend the family continues to grieve. The emotional toll of all these events has been
   extremely difficult on the entire family including my dear friend Jodi.




                              She calls her mother every day, encouraging her to get up and face the
   day. She is one the most positive and hard-working people I know and always present for the
   people she loves. I don't know how she is coping with all the stresses in her life. We often talk about
   taking each day at a time and not look so far in the future. Both Jodi and Evan eagerly await the day
   that they can move forward and put the past behind them.

   Life will never be the way it was prior to 2015, yet the family needs to continue to heal. Evan and
   Jodi are wonderful parents. They are so loving and so concerned about providing their children all
   they can. If Evan spends considerable time away from his family it would have a significant impact
   on the lives of so many, most importantly Evan's young family. Both Evan and Jodi have done
   everything in their control to shield their children from these events which unfortunately have been
   very public.

   Judge Matsumoto, I ask for your leniency in sentencing Evan. Evan being away from his family
   would not only be a severe hardship for Jodi, their parents, and their siblings who have suffered so
   much already, but it would be heartbreaking to the young innocent children involved,
                      .

   Thank you for your time in reading my letter.

   Best regards,




   Kerry Hsu
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                                                 Max Jacob
                                                 93 David Dr.
                                              Moraga, CA 94556



   The Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201


   May 1, 2018


   Dear Judge Matsumoto:

   I am writing to share with you my relationship with Evan Greebel. I met Evan in 2000 at the University of
   Michigan when I was in business school getting my MBA with his brother Robert and have known him for
   almost 20 Years. Over the last two decades, I have kept in touch with Evan and consider him a personal
   friend.

   As a first year MBA student in Ann Arbor, Evan went out of his way to introduce me to the city and help
   show me around. Even though I had just met Evan, I was treated like family because I was a friend of his
   brother.

   Over the years, Evan's generosity and kind spirit has continued. When his brother Robert moved to New
   York City, Evan opened up his home to his brother and his brother's friends. I keenly remember Evan
   kindly hosting 5 of Robert's friends at his apartment in NYC. Evan has always treated everyone that he
   knows as family.

   When Evan's son was born, I sent both him and his wife a baby gift.

   I hope that you will show leniency on Evan in his sentencing. I do not see a need to incarcerate him. I can
   assure you that Evan is an upstanding citizen and will continue to make a positive impact on society.
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  May 13, 2018

  Dear Judge Matsumoto:

  My name is Dana Jacobson (nee Greebel) and I am Evan's first cousin-our fathers are brothers-and I
  have been lucky to know him my whole life and request leniency for him right away. I work in the
  education management field by providing operational support to school districts implementing a Grade
  6-12 Math and English Language Arts curriculum my company creates and sells.

  I am the youngest of my immediate family and first cousins and ever since I can remember Evan has
  always referred to me as 'Cousin Baby.' It is a name I have grown to appreciate as Evan has always
  looked out for me while growing up.

  While I was a sophomore in college I wasn't sure of my career path, so I reached out to Evan to see if he
  had any advice for me. Instead of just giving words of wisdom and pointers on how to write a resume,
  network and interview, Evan went three steps beyond what I had expected. He reached out to one of
  his friends, who at the time worked for NBC, and secured me a summer internship. Evan going above
  and beyond is emblematic of the person he is; he is caring, well intentioned and always wants to help
  others. Evan helped my professional career start on a positive track. I will be forever grateful to Evan for
  showing how much he believed in me and wanted his baby cousin to be successful.

  Evan has always opened his home to me. There were countless times when I was in college that I would
  come into Manhattan for the evening and would sleep on Evan's couch-he would rather that I come
  back late, wake him up to get in, and have a place to sleep versus taking the train to Long Island at such
  a late hour. He wanted to make sure I was safe. Evan's protective instinct was on display well before he
  became a father and since that time I see first-hand on a regular basis how dutifully and lovingly he
  takes care of his wife and three children.

  Evan continuously wants the best for me and I knew that when it came time to introducing someone to
  him he would be ve·r y diligent at making sure this person was worthy of me. My husband knew how
  important it was to meet Evan and my cousins. Evan asked my husband the same types questions that
  my father had asked-what his intentions were, what he does for a living, how much he cares about me,
  what his background is, etc. Evan's interest in my wellbeing was on full display as he wanted to make
  sure I met someone who could provide and take care of me the way he does for his family. He has
  wanted to see me happy and has been there along the way by being open, honest and providing
  guidance.

  1am well-aware of Evan's situation and will continue to support him the way he has been there for me
  during my life. I will continue to be there for him and again ask for leniency.

  Thank you so much for your time.




~ Dana Jacobson
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                                                Chris J ahrmarkt
                                               84 Walworth Ave
                                              Scarsdale, NY 10583

   July IL 2018

   The Honorable Kiyo A. Matsumoto
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 1120 I

   Dear Judge Masumoto:

   My name is Chris Jahrmarkt and I have known Evan Greebel for nearly 9 years, both professionally and
   socially and based on my interactions with him respectfully urge you to be as lenient as possible in
   sentencing him.

   I have dealt with Evan in many ways through the years and believe he is a wonderful, truthful and trusting
   person. Evan is an amazing father and loving husband which I have experienced firsthand in our
   hometown in Scarsdale, NY. As a member of the community I have seen him build friendships, help
   others and participate as a coach for various children sports teams. I have sat with him on the sidelines at
   lacrosse games (through al I types of weather) and coached against him in Little League. I always noticed
   his positive interaction with the kids (whether as spectator or coach) and applaud his efforts to make sure
   the kids on his teams learn to play the "right way". He focuses less on winning or losing any particular
   game, and more on ensuring that all of the kids enjoy what they are doing, get better and develop an
   appreciation of the sport.

   In my capacity as a Member of North light Financial, l have also had the pleasure of retaining Evan and
   his firm as outside counsel lawyer while he was a partner at Katten Much in Rosenman LLP and later as a
   partner at Kaye Scholer LLP (now Arnold & Porter Kaye Scholer LLP). In this capacity I have always
   seen him to be careful and steadfastly diligent in his representation and in the service of the law, including
   when appropriate advising us not to proceed with proposed transactions if not in his opinion in our best
   interest. Evan was always focused on our best interests despite its potential ramification on his firm
   revenue.

   In addition to exemplary legal advice, Evan would always ask what types of transactions we would like to
   invest in and seek them out. Neither Evan nor his law firms ever sought compensation for these
   origination activities. Rather he tried to help grow our business because that is who he is as a person.

   I am aware of the legal situation Evan finds himself. Notwithstanding this situation, I continue to trust
   Evan's advice and would work with him in the future. Because of these facts I believe he is deserving of
   the utmost leniency in sentencing you might consider for Evan.
